Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 1 of 106 Page ID
                                  #:10231




                              EXHIBIT 54




                                                                Def. Exhibit 54
                                                                 Page 001840
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 2 of 106 Page ID
                                  #:10232


  1   ROB BONTA
      Attorney General of California
  2   P. PATTY LI
      Supervising Deputy Attorney General
  3   ANNA FERRARI
      Deputy Attorney General
  4   JOHN D. ECHEVERRIA
      Deputy Attorney General
  5   State Bar No. 268843
       455 Golden Gate Avenue, Suite 11000
  6    San Francisco, CA 94102-7004
       Telephone: (415) 510-3479
  7    Fax: (415) 703-1234
       E-mail: John.Echeverria@doj.ca.gov
  8   Attorneys for Defendant    Rob Bonta,
      in his official capacity 1
  9
 10                      IN THE UNITED STATES DISTRICT COURT
 11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
 12                                  WESTERN DIVISION
 13
 14
      STEVEN RUPP; STEVEN                          8:17-cv-00746-JLS-JDE
 15   DEMBER; CHERYL JOHNSON;
      MICHAEL JONES;                               SUPPLEMENTAL EXPERT
 16   CHRISTOPHER SEIFERT;                         REPORT AND DECLARATION
      ALFONSO VALENCIA; TROY                       OF LOUIS KLAREVAS
 17   WILLIS; and CALIFORNIA RIFLE
      & PISTOL ASSOCIATION,
 18   INCORPORATED,
                                                 Courtroom:     8A
 19                                  Plaintiffs, Judge:         The Honorable Josephine
                                                                L. Staton
 20                v.
 21                                                Action Filed: April 24, 2017
      ROB BONTA, in his official capacity
 22   as Attorney General of the State of
      California; and DOES 1-10,
 23
                                   Defendants.
 24
 25
 26         1
              Rob Bonta has succeeded former Attorney General Xavier Becerra as the
 27   Attorney General of the State of California. Pursuant to Federal Rule of Civil
      Procedure 25(d), Attorney General Bonta, in his official capacity, is substituted as
 28   the defendant in this case.

                                               1
                                                                       Def. Exhibit 54
                                                                        Page 001841
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 3 of 106 Page ID
                                  #:10233


  1    SUPPLEMENTAL EXPERT REPORT AND DECLARATION OF LOUIS
                            KLAREVAS
  2
  3   I, Louis Klarevas, declare:
  4         1.      I have been asked by the Office of the Attorney General for the State
  5   of California to prepare an expert report and declaration addressing the relationship
  6   between assault weapons and mass shootings, including how restrictions on assault
  7   weapons impact mass shooting violence. This supplemental expert report and
  8   declaration is based on my own personal knowledge and experience, and, if I am
  9   called as a witness, I could and would testify competently to the truth of the matters
 10   discussed in this supplemental expert report and declaration (“Report” hereinafter).
 11                         PROFESSIONAL QUALIFICATIONS
 12         2.      I am a security policy analyst and, currently, research professor at
 13   Teachers College, Columbia University, in New York. I am also the author of the
 14   book Rampage Nation, one of the most comprehensive studies on gun massacres in
 15   the United States.2
 16         3.      I am a political scientist by training, with a B.A. from the University of
 17   Pennsylvania and a Ph.D from American University. My current research examines
 18   the nexus between American public safety and gun violence.
 19         4.      During the course of my 20-year career as an academic, I have served
 20   on the faculties of the George Washington University, the City University of New
 21   York, New York University, and the University of Massachusetts. I have also
 22   served as a Defense Analysis Research Fellow at the London School of Economics
 23   and Political Science and as United States Senior Fulbright Scholar in Security
 24   Studies at the University of Macedonia.
 25         5.      In addition to having made well over 100 media and public-speaking
 26   appearances, I am the author or co-author of more than 20 scholarly articles and
 27         2
                Louis Klarevas, Rampage Nation: Securing America from Mass Shootings
 28   (2016).

                                                2
                                                                         Def. Exhibit 54
                                                                          Page 001842
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 4 of 106 Page ID
                                  #:10234


  1   over 70 commentary pieces. In 2019, my peer-reviewed article on the effectiveness
  2   of restrictions on large-capacity magazines (LCMs)—ammunition-feeding devices
  3   holding more than 10 rounds of ammunition—in reducing high-fatality mass
  4   shooting resulting in six or more victims killed was published in the American
  5   Journal of Public Health.3 This study found that jurisdictions with LCM bans
  6   experienced substantially lower gun massacre incidence and fatality rates when
  7   compared to jurisdictions not subject to similar bans. Despite being over 3 years
  8   old now, this study continues to be one of the highest impact studies in all of
  9   academia. It was recently referred to as “the perfect gun policy study,” in part due
 10   to the study’s “robustness and quality.”4
 11         6.     Besides the present case, I have been retained by the California
 12   Attorney General’s Office in the following cases: Duncan v. Bonta, Case No. 17-
 13   cv-1017-BEN-JLB, Southern District of California; Wiese v. Bonta, Case No. 2:17-
 14   cv-00903-WBS-KJN, Eastern District of California; Miller v. Bonta, Case No.
 15   3:19-cv-1537-BEN-JBS, Southern District of California; Jones v. Bonta, Case No.
 16   3:19-cv-01226-L-AHG, Southern District of California; and Nguyen v. Bonta, Case
 17   No. 3:20-cv-02470-WQH-MDD, Southern District of California. Duncan and
 18   Wiese both involve challenges to California’s regulation of LCMs, and Miller
 19   concerns a challenge to California’s restrictions on assault weapons. Jones
 20   involves a challenge to California’s regulation of firearm sales to individuals 18 to
 21         3
               Louis Klarevas, et al., The Effect of Large-Capacity Magazine Bans on
      High-Fatality Mass Shootings, 109 American Journal of Public Health 1754 (2019),
 22   available at https://ajph.aphapublications.org/doi/full/10.2105/AJPH.2019.305311
      (last accessed December 27, 2022).
 23          4
               Lori Ann Post and Maryann Mason, The Perfect Gun Policy Study in a Not
 24   So Perfect Storm, 112 American Journal of Public Health 1707 (2022), available at
      https://ajph.aphapublications.org/doi/full/10.2105/AJPH.2022.307120 (last
 25   accessed December 27, 2022). According to Post and Mason, “Klarevas et al.
      employed a sophisticated modeling and research design that was more rigorous than
 26   designs used in observational studies. Also, they illustrated the analytic steps they
      took to rule out alternative interpretations and triangulate their findings, for
 27   example examining both state bans and federal bans. They helped build the
      foundation for future studies while overcoming the limitations of previous
 28   research.” Ibid.

                                                  3
                                                                       Def. Exhibit 54
                                                                        Page 001843
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 5 of 106 Page ID
                                  #:10235


  1   20 years old. Nguyen involves a challenge to California’s regulation limiting the
  2   sale of certain firearms to one purchase per month.
  3         7.     In 2017, I served as an expert for the State of Colorado, as it defended
  4   a legal challenge to its restrictions on large-capacity magazines in Rocky Mountain
  5   Gun Owners, et al. v. Hickenlooper, Case No. 2013CV33879, District Court, City
  6   and County of Denver, Colorado.
  7         8.     While I was never deposed in Wiese, Jones, or Miller, I was deposed
  8   in Duncan, Nguyen, and Rocky Mountain Gun Owners. I also testified in court in
  9   Rocky Mountain Gun Owners and Miller.
 10         9.     In 2021, I was retained by the Government of Canada in the following
 11   cases which involved challenges to Canada’s regulation of certain categories of
 12   firearms: Parker and K.K.S. Tactical Supplies Ltd. v. Attorney General of Canada,
 13   Federal Court, Court File No.: T-569-20; Canadian Coalition for Firearm Rights, et
 14   al. v. Attorney General of Canada, Federal Court, Court File No.: T-577-20;
 15   Hipwell v. Attorney General of Canada, Federal Court, Court File No.: T-581-20;
 16   Doherty, et al. v. Attorney General of Canada, Federal Court, Court File No.: T-
 17   677-20; Generoux, et al. v. Attorney General of Canada, Federal Court, Court File
 18   No.: T-735-20; and Eichenberg, et al. v. Attorney General of Canada, Federal
 19   Court, Court File No.: T-905-20. I testified under oath in a consolidated court
 20   proceeding involving all six cases in the Federal Court of Canada.
 21         10.    A true and correct copy of my current curriculum vitae is attached as
 22   Exhibit A to this Report.
 23         11.    I have been retained by the California Department of Justice to render
 24   expert opinions in this case. I am being compensated at a rate of $600 per hour for
 25   testimony (in deposition and in court) and $480 per hour for all other services.
 26
 27
 28
                                               4
                                                                       Def. Exhibit 54
                                                                        Page 001844
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 6 of 106 Page ID
                                  #:10236


  1                                         OPINIONS
  2         12.    It is my professional opinion, based upon my extensive review and
  3   analysis of the last 50 years of data, that (1) in terms of individual acts of
  4   intentional criminal violence, mass shootings presently pose the deadliest threat to
  5   the safety of American society in the post-9/11 era, and the problem is growing
  6   nationwide; (2) mass shootings involving assault weapons, on average, have
  7   resulted in a substantially larger loss of life than similar incidents that did not
  8   involve assault weapons; (3) mass shootings resulting in double-digit fatalities are
  9   relatively modern phenomena in American history, largely related to the use of
 10   large-capacity magazines and assault weapons; (4) assault weapons are used by
 11   private citizens with a far greater frequency to perpetrate mass shootings than to
 12   stop mass shootings; and (5) jurisdictions that restrict the possession of assault
 13   weapons experience fewer mass shooting incidents and fatalities, per capita, than
 14   jurisdictions that do not restrict assault weapons. Based on these findings, it is my
 15   opinion that restrictions on assault weapons have the potential to save lives by
 16   reducing the frequency and lethality of mass shootings. 5
 17         5
               For purposes of this Report, I employ two prominent definitions of mass
      shootings from the field of firearm violence research. “High-fatality mass
 18   shootings” (also referred to as “gun massacres”) are shootings resulting in 6 or
      more fatalities, not including the perpetrator(s), regardless of location or underlying
 19   motive. “Mass public shootings” are shootings resulting in 4 or more fatalities, not
      including the perpetrator(s), occurring largely in a public setting and not undertaken
 20   in pursuit of an underlying criminal objective (e.g., robbery, illicit trafficking,
      organized crime, gang violence, or domestic violence). Unfortunately, long-term,
 21   publicly-available, exhaustive data on all mass shootings resulting in 4 or more
      fatalities, not including the perpetrator(s), regardless of location or underlying
 22   motive, are presently not available. This limits comprehensive scholarly analyses
      over a long period of time to the above two types of mass shooting violence: high-
 23   fatality mass shootings and mass public shootings. The data on high-fatality mass
      shootings is from a data set that I maintain and continuously update. This data set
 24   is reproduced in Exhibit B. The data set of mass public shootings that I analyzed is
      publicly available from The Violence Project. The creation of this data set was
 25   funded by the National Institute of Justice, which is part of the U.S. Department of
      Justice. In addition to basic variables, such as incident dates and locations, casualty
 26   counts, and information on offenders, The Violence Project data set also identifies
      whether an assault weapon was used to perpetrate a mass public shooting. The
 27   Violence Project data set is available at https://www.theviolenceproject.org/mass-
      shooter-database (last accessed December 27, 2022). The Violence Project data set
 28
                                                 5
                                                                          Def. Exhibit 54
                                                                           Page 001845
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 7 of 106 Page ID
                                  #:10237


  1   I.       MASS SHOOTINGS ARE A GROWING THREAT TO PUBLIC SAFETY
  2            13.      Examining mass-casualty acts of violence in the United States points
  3   to two disturbing patterns. First, as demonstrated in Table 1, the deadliest
  4   individual acts of intentional criminal violence in the United States since the
  5   terrorist attack of September 11, 2001, have all been mass shootings. Second, as
  6   displayed in Figures 1-4, the problem of mass shooting violence is on the rise. To
  7   put the increase over the last 50 years into perspective, between the ten-year-period
  8   of 1973-1982 and the ten-year-period of 2013-2022, the average population of the
  9   United States increased approximately 47%. However, the number of people killed
 10   in high-fatality mass shootings and mass public shootings between these two ten-
 11   year-periods, respectively, reflect 178% and 523% increases. In other words, the
 12   rise in mass shooting violence has far outpaced the rise in national population. The
 13   obvious takeaway from these patterns and trends is that mass shootings pose a
 14   significant—and growing—threat to American public safety.
 15
 16   Table 1. The Deadliest Acts of Intentional Criminal Violence in the U.S. since
      9/11
 17
               Deaths           Date                    Location           Type of Violence
 18
           1     60        October 1, 2017           Las Vegas, NV          Mass Shooting
 19        2     49         June 12, 2016             Orlando, FL           Mass Shooting
           3     32         April 16, 2007          Blacksburg, VA          Mass Shooting
 20
           4     27       December 14, 2012          Newtown, CT            Mass Shooting
 21        5     25       November 5, 2017       Sutherland Springs, TX     Mass Shooting
           6     23        August 3, 2019             El Paso, TX           Mass Shooting
 22
           7     21         May 24, 2022              Uvalde, TX            Mass Shooting
 23
 24
 25
 26
 27   is reproduced in Exhibit C. Unless stated otherwise, all of the data used to perform
      original analyses and to construct tables and figures in this Report are drawn from
 28   Exhibits B and C.

                                                   6
                                                                          Def. Exhibit 54
                                                                           Page 001846
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 8 of 106 Page ID
                                  #:10238


  1   Figure 1. Annual Trends in High-Fatality Mass Shooting Incidents, 1973-2022
  2
                8
  3
                7
  4
                6
  5             5

  6             4

  7             3

  8             2

  9             1

                0
 10
 11
 12
 13   Figure 2. Annual Trends in High-Fatality Mass Shooting Fatalities, 1973-2022

 14             120

 15
                100
 16
                 80
 17
 18              60


 19              40

 20              20

 21
                    0
 22
 23
 24
 25
 26
 27
 28
                                           7
                                                                Def. Exhibit 54
                                                                 Page 001847
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 9 of 106 Page ID
                                  #:10239


  1   Figure 3. Annual Trends in Mass Public Shooting Incidents, 1973-2022
  2
                10
  3              9

  4              8
                 7
  5
                 6
  6              5

  7              4
                 3
  8              2
  9              1
                 0
 10
 11
 12
 13   Figure 4. Annual Trends in Mass Public Shooting Fatalities, 1973-2022

 14             120

 15
                100
 16
                 80
 17
 18              60


 19              40

 20              20

 21
                     0
 22
 23
 24
 25
 26
 27
 28
                                           8
                                                                Def. Exhibit 54
                                                                 Page 001848
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 10 of 106 Page ID
                                   #:10240


  1   II.   THE USE OF ASSAULT WEAPONS IS A MAJOR FACTOR IN THE RISE OF MASS
  2         SHOOTING VIOLENCE

  3         14.    In addition to showing that the frequency and lethality of mass
  4   shootings are on the rise nationally, the data also point to another striking pattern:
  5   the use of assault weapons in the commission of mass shootings has grown in vast
  6   proportions. In both high-fatality mass shootings and mass public shootings,
  7   assault weapons have been used with increased frequency. As shown in Figures 5
  8   and 6, the pattern is particularly marked of late, with at least half of high-fatality
  9   mass shootings as well as mass public shootings in the last five years involving
 10   assault weapons. A similar, albeit more pronounced, pattern is found when
 11   examining fatalities in the last five years, with approximately 6-in-10 high-fatality
 12   mass shooting deaths as well as mass public shooting deaths resulting from
 13   incidents involving assault weapons, as shown in Figures 7 and 8. These trends
 14   clearly demonstrate that, among mass shooters, there is a growing preference for
 15   using assault weapons to perpetrate their attacks.
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                                 9
                                                                          Def. Exhibit 54
                                                                           Page 001849
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 11 of 106 Page ID
                                   #:10241


  1   Figure 5. Share of High-Fatality Mass Shootings Involving Assault Weapons
  2
  3
                 Last 5 Years                                                                  52%
  4
  5             Last 10 Years                                                      45%
  6
  7             Last 25 Years                                         35%

  8
  9             Last 50 Years                              28%

 10
                                0%    10%     20%         30%          40%              50%          60%
 11
 12   Note: The calculations in Fig. 5 exclude two high-fatality mass shootings
      (3/15/2020, Moncure, NC, 6 deaths; and 9/7/2020, Aguanga, CA, 7 deaths) in
 13   which the firearms used are unknown.
 14
      Figure 6. Share of Mass Public Shootings Involving Assault Weapons
 15
 16
 17              Last 5 Years                                                     50%

 18
 19             Last 10 Years                                               45%


 20
                Last 25 Years                             31%
 21
 22
                Last 50 Years                        28%
 23
 24                             0%   10%    20%     30%         40%          50%         60%         70%

 25
      Note: The calculations in Fig. 6 exclude one mass public shooting (2/6/17, Yazoo
 26   City, MS, 4 deaths) in which the firearms used are unknown.
 27
 28
                                                    10
                                                                                          Def. Exhibit 54
                                                                                           Page 001850
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 12 of 106 Page ID
                                   #:10242


  1   Figure 7. Share of High-Fatality Mass Shooting Deaths Resulting from
  2   Incidents Involving Assault Weapons

  3
  4              Last 5 Years                                                61%

  5
  6             Last 10 Years                                                 63%

  7
  8             Last 25 Years                                    49%


  9
                Last 50 Years                            40%
 10
 11                             0%   10%   20%   30%   40%      50%    60%         70%

 12
      Note: The calculations in Fig. 7 exclude two high-fatality mass shootings
 13   (3/15/2020, Moncure, NC, 6 deaths; and 9/7/2020, Aguanga, CA, 7 deaths) in
 14   which the firearms used are unknown.
 15
      Figure 8. Share of Mass Public Shooting Deaths Resulting from Incidents
 16   Involving Assault Weapons
 17
 18              Last 5 Years                                           59%
 19
 20             Last 10 Years                                                 63%

 21
 22             Last 25 Years                                  45%

 23
 24             Last 50 Years                            40%

 25
                                0%   10%   20%   30%   40%      50%    60%         70%
 26
 27   Note: The calculations in Fig. 8 exclude one mass public shooting (2/6/17, Yazoo
      City, MS, 4 deaths) in which the firearms used are unknown.
 28
                                                 11
                                                                        Def. Exhibit 54
                                                                         Page 001851
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 13 of 106 Page ID
                                   #:10243


  1         15.    The growing use of assault weapons to carry out mass shootings is an
  2   obvious theme reflected in the data. The disproportionate resort to assault weapons
  3   by perpetrators of mass shootings is another clear theme. According to National
  4   Sport Shooting Foundation (NSSF) and federal government data, “modern sporting
  5   rifles”—which is a firearm industry term for AR-15-platform and AK-47-platform
  6   rifles—make up approximately 5% of all firearms in circulation in American
  7   society, according to the most recent publicly-available data (24.4 million out of an
  8   estimated 461.9 million firearms).6 If assault weapons were used in proportion to
  9   the percentage of modern sporting rifles in circulation, approximately 5% of all
 10   mass shootings would involve assault weapons. However, as seen in Figures 5-6
 11   above, civilian ownership rates and mass-shooter use rates are not similar. Indeed,
 12   the difference is approximately ten-fold, with the rate at which assault weapons are
 13   now used to commit mass murder far outpacing the rate at which modern sporting
 14   rifles circulate amongst civilians in the United States.
 15         6
               The 5.6% ownership rate for modern sporting rifles was calculated using
 16   NSSF and Bureau of Alcohol, Tobacco, Firearms, and Explosives (ATF) data. The
      NSSF estimates that there are approximately 24.4 million modern sporting rifles in
 17   civilian hands as of the end of 2020 (when the most recent data is available).
      NSSF, “Commonly Owned: NSSF Announces over 24 Million MSRs in
 18   Circulation,” July 20, 2022, available at https://www.nssf.org/articles/commonly-
      owned-nssf-announces-over-24-million-msrs-in-circulation (last accessed January
 19   3, 2023). In a 2020 report that captured data through the end of 2018, the NSSF
      estimated that there were 433.9 million total firearms in civilian circulation. NSSF,
 20   Industry Intelligence Reports: Firearm Production in the United States with Firearm
      Import and Export Data, 2020, at 18, available at https://www.nssf.org/wp-
 21   content/uploads/2020/11/IIR-2020-Firearms-Production-v14.pdf (last accessed
      January 3, 2023). According to ATF data, in 2019 and 2020, an additional 28.0
 22   million firearms entered the civilian stock nationwide. ATF, National Firearms
      Commerce and Trafficking Assessment: Firearms in Commerce, 2022, at 181, 188,
 23   193, available at https://www.atf.gov/firearms/docs/report/national-firearms-
      commerce-and-trafficking-assessment-firearms-commerce-volume/download (last
 24   accessed January 3, 2023). Assuming the figures in the NSSF’s 2020 report are
      accurate, this brings the estimated number of firearms in civilian circulation
 25   through the end of 2020 to approximately 461.9 million. The ownership rate is
      calculated as follows: 24.4 million modern sporting rifles divided by 461.9 million
 26   total firearms equals 5.3%, which rounds down to 5%. Because it appears that the
      ATF data that NSSF relies upon to form its own estimates also include firearms in
 27   the possession of domestic law enforcement agencies, NSSF estimates of modern
      sporting rifles owned by civilians are likely over-estimates. Ibid., at 12; NSSF,
 28   Industry Intelligence Reports, 2020, at 2-3.

                                                12
                                                                       Def. Exhibit 54
                                                                        Page 001852
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 14 of 106 Page ID
                                   #:10244


  1         16.    Another pattern that stands out when examining the relationship
  2   between assault weapons use and mass shooting violence reflects the
  3   disproportionately greater lethality associated with the use of assault weapons. For
  4   instance, returning to the list of the 7 deadliest individual acts of intentional
  5   criminal violence in the United States since the coordinated terrorist attack of
  6   September 11, 2001, besides all seven of the incidents being mass shootings,
  7   another prominent trait is that 6 of the 7 incidents (86%) involved assault weapons,
  8   as shown in Table 2. When mass shooting fatalities are examined exponentially,
  9   the relationship between assault weapons use and higher death tolls is striking. In
 10   the past 50 years, assault weapons have been used in 28% of all high-fatality mass
 11   shootings and mass public shootings. However, as the fatality thresholds of such
 12   incidents increase, so too does the share of incidents involving assault weapons.
 13   For instance, assault weapons were used in 80% of all mass public shootings
 14   resulting in more than 24 deaths and 100% of all high-fatality mass shootings
 15   resulting in more than 40 deaths (Figures 9-10). As the data show, there is an
 16   association between assault weapons use and mass shooting lethality.
 17
 18   Table 2. The Use of Assault Weapons in the Deadliest Acts of Intentional
 19   Criminal Violence in the U.S. since 9/11
 20                                                                      Involved Assault
 21    Deaths       Date                         Location                   Weapon(s)
         60    October 1, 2017                Las Vegas, NV                  (AR-15)
 22      49     June 12, 2016                  Orlando, FL                   (AR-15)
 23      32     April 16, 2007               Blacksburg, VA
         27   December 14, 2012               Newtown, CT                    (AR-15)
 24      25   November 5, 2017            Sutherland Springs, TX             (AR-15)
 25      23    August 3, 2019                  El Paso, TX                   (AK-47)
         21     May 24, 2022                   Uvalde, TX                    (AR-15)
 26
 27
 28
                                                 13
                                                                          Def. Exhibit 54
                                                                           Page 001853
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 15 of 106 Page ID
                                   #:10245


  1   Figure 9. Percentage of High-Fatality Mass Shootings Involving Assault
  2   Weapons by Fatality Threshold, 1973-2022

  3
  4             More Than 40 Deaths                                                    100%

  5
  6             More Than 20 Deaths                                            78%

  7
  8             More Than 10 Deaths                                57%

  9
 10              More Than 5 Deaths              28%


 11                                   0%   20%        40%         60%      80%       100%
 12
 13   Note: The calculations in Fig. 9 exclude two high-fatality mass shootings
      (3/15/2020, Moncure, NC, 6 deaths; and 9/7/2020, Aguanga, CA, 7 deaths) in
 14   which the firearms used are unknown.
 15
      Figure 10. Percentage of Mass Public Shootings Involving Assault Weapons
 16   by Fatality Threshold, 1973-2022
 17
 18
                More Than 24 Deaths                                            80%
 19
 20
                More Than 12 Deaths                                      67%
 21
 22
                 More Than 6 Deaths                         42%
 23
 24              More Than 3 Deaths              28%

 25
                                      0%   20%        40%         60%      80%       100%
 26
 27   Note: The calculations in Fig. 10 exclude one mass public shooting (2/6/17, Yazoo
 28   City, MS, 4 deaths) in which the firearms used are unknown.

                                                 14
                                                                                 Def. Exhibit 54
                                                                                  Page 001854
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 16 of 106 Page ID
                                   #:10246


  1         17.    Of the 134 high-fatality mass shootings in that last 50 years in which
  2   the type of firearm used is known, 38 involved assault weapons, resulting in 491
  3   deaths. The average death toll for these 38 incidents is 12.9 fatalities per shooting.
  4   By contrast, the average death toll for the 96 incidents in which it is known assault
  5   weapons were not used (which resulted in 749 fatalities) is 7.8 fatalities per
  6   shooting (Table 3). Of the 174 mass public shootings in that last 50 years in which
  7   the type of firearm used is known, 48 involved assault weapons, resulting in 496
  8   deaths. The average death toll for these 48 incidents is 10.3 fatalities per shooting.
  9   By contrast, the average death toll for the 126 incidents in which it is known assault
 10   weapons were not used (which resulted in 759 fatalities) is 6.0 fatalities per
 11   shooting (Table 4). In other words, in the last 50 years, the use of assault weapons
 12   in high-fatality mass shootings and mass public shootings has resulted, respectively,
 13   in 65% and 72% increases in average fatalities per incident (Tables 3 and 4). In the
 14   last 10 years, the differences in average fatality rates per incident are even more
 15   pronounced—more than double: 8.0 versus 16.7 deaths per high-fatality mass
 16   shooting and 6.2 versus 12.8 deaths per mass public shooting. These amount,
 17   respectively, to 109% and 106% increases in the average death tolls, associated
 18   with the use of assault weapons (Tables 3 and 4).
 19         18.    This review of the data supports an obvious takeaway: assault weapons
 20   are dangerous force multipliers when used to perpetrate mass shootings.
 21
 22
 23
 24
 25
 26
 27
 28
                                               15
                                                                        Def. Exhibit 54
                                                                         Page 001855
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 17 of 106 Page ID
                                   #:10247


  1
  2   Table 3. The Average Death Tolls Associated with the Use of Assault Weapons
  3   in High-Fatality Mass Shootings in the U.S., 1973-2022

  4                    Average Death Toll                          Percent Increase in
  5                    for Incidents That    Average Death Toll    Average Death Toll
                       Did Not Involve the   for Incidents That    Associated with the
  6                    Use of Assault        Did Involve the Use   Use of Assault
  7                    Weapons               of Assault Weapons    Weapons

  8    Last 50 Years       7.8 Deaths             12.9 Deaths              65%
  9
       Last 10 Years       8.0 Deaths             16.7 Deaths             109%
 10
 11   Note: The calculations in Table 3 exclude two high-fatality mass shootings
      (3/15/2020, Moncure, NC, 6 deaths; and 9/7/2020, Aguanga, CA, 7 deaths) in
 12   which the types of firearms used are unknown.
 13
 14   Table 4. The Average Death Tolls Associated with the Use of Assault Weapons
 15   in Mass Public Shootings in the U.S., 1973-2022
 16                    Average Death Toll                          Percent Increase in
 17                    for Incidents That    Average Death Toll    Average Death
                       Did Not Involve the   for Incidents That    Toll Associated
 18                    Use of Assault        Did Involve the Use   with the Use of
 19                    Weapons               of Assault Weapons    Assault Weapons
 20    Last 50 Years       6.0 Deaths             10.3 Deaths              72%
 21
       Last 10 Years       6.2 Deaths             12.8 Deaths             106%
 22
 23   Note: The calculations in Table 4 exclude one mass public shooting (2/6/17, Yazoo
      City, MS, 4 deaths) in which the types of firearms used are unknown.
 24
 25
 26
 27
 28
                                             16
                                                                    Def. Exhibit 54
                                                                     Page 001856
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 18 of 106 Page ID
                                   #:10248


  1   III.   DOUBLE-DIGIT-FATALITY MASS SHOOTINGS ARE A POST-WORLD
  2          WAR II PHENOMENON IN AMERICAN HISTORY AND THEY OFTEN
             INVOLVE ASSAULT WEAPONS
  3
  4          19.   I have also examined the historical occurrence and distribution of mass
  5   shootings resulting in 10 or more victims killed since 1776 (Table 5 and Figure 11).
  6   A lengthy search uncovered several informative findings.7 In terms of the origins
  7   of this form of extreme gun violence, there is no known occurrence of a mass
  8   shooting resulting in double-digit fatalities at any point in time during the 173-year
  9   period between the nation’s founding in 1776 and 1948. The first known mass
 10   shooting resulting in 10 or more deaths occurs in 1949. In other words, for 70
 11   percent of its 247-year existence as a nation, the United States did not experience a
 12   mass shooting resulting in double-digit fatalities, making them a relatively modern
 13   phenomena in American history. 8
 14          20.   After the first such incident in 1949, 17 years pass until a similar mass
 15   shooting occurs in 1966. The third such mass shooting then occurs 9 years later, in
 16   1975. And the fourth such incident occurs 7 years after, in 1982. Basically, the
 17   first few mass shootings resulting in 10 or more deaths did not occur until the post-
 18   World War II era. Furthermore, these first few double-digit-fatality incidents
 19   occurred with relative infrequency, although the temporal gap between these first
 20   four incidents shrank with each event (Table 5 and Figure 12).9
 21
 22
             7
               I searched for firearm-related “murders,” using variations of the term,
      setting a minimum fatality threshold of 10 in the Newspaper Archive online
 23   newspaper repository, available at www.newspaperarchive.com (last accessed
      October 2, 2022). The Newspaper Archive contains local and major metropolitan
 24   newspapers dating back to 1607. Consistent with other analyses on mass murder,
      incidents of large-scale, inter-group violence such as mob violence, rioting, combat
 25   or battle skirmishes, and attacks initiated by authorities acting in their official
      capacity were excluded.
 26          8
               Using the Constitution’s effective date of 1789 as the starting point would
      lead to the conclusion that, for 68 percent of its 234-year existence as a nation, the
 27   United States did not experience a mass shooting resulting in double-digit fatalities.
 28
             9
               Figures 11-12 are reproduced in larger form as Exhibit D of this Report.

                                               17
                                                                        Def. Exhibit 54
                                                                         Page 001857
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 19 of 106 Page ID
                                   #:10249


  1   Table 5. Mass Shootings Resulting in Double-Digit Fatalities in American
  2   History, 1776-2022

  3                                                                   Involved
                                                           Involved    Large-
  4                                                         Assault   Capacity
             Date               Location            Deaths Weapon(s) Magazine(s)
  5     1   9/6/1949          Camden, NE              13      N          N
        2   8/1/1966           Austin, TX             14      N          Y
  6
        3 3/30/1975          Hamilton, OH             11      N          N
  7     4 9/25/1982        Wilkes-Barre, PA           13      Y          Y
        5 2/18/1983           Seattle, WA             13      N          N
  8     6 4/15/1984          Brooklyn, NY             10      N          N
  9     7 7/18/1984         San Ysidro, CA            21      Y          Y
        8 8/20/1986           Edmond, OK              14      N          N
 10     9 10/16/1991          Killeen, TX             23      N          Y
       10 4/20/1999           Littleton, CO           13      Y          Y
 11    11 4/16/2007         Blacksburg, VA            32      N          Y
       12 3/10/2009       Geneva County, AL           10      Y          Y
 12         4/3/2009        Binghamton, NY            13      N          Y
       13
 13    14 11/5/2009          Fort Hood, TX            13      N          Y
       15 7/20/2012           Aurora, CO              12      Y          Y
 14    16 12/14/2012         Newtown, CT              27      Y          Y
       17 9/16/2013         Washington, DC            12      N          N
 15    18 12/2/2015       San Bernardino, CA          14      Y          Y
 16    19 6/12/2016           Orlando, FL             49      Y          Y
       20 10/1/2017          Las Vegas, NV            60      Y          Y
 17    21 11/5/2017      Sutherland Springs, TX       25      Y          Y
       22 2/14/2018           Parkland, FL            17      Y          Y
 18    23 5/18/2018             Santa Fe              10      N          N
       24 10/27/2018         Pittsburgh, PA           11      Y          Y
 19    25 11/7/2018       Thousand Oaks, CA           12      N          Y
       26 5/31/2019       Virginia Beach, VA          12      N          Y
 20    27   8/3/2019          El Paso, TX             23      Y          Y
       28 3/22/2021           Boulder, CO             10      Y          Y
 21    29 5/14/2022           Buffalo, NY             10      Y          Y
       30 5/24/2022           Uvalde, TX              21      Y          Y
 22
      Note: Death tolls do not include perpetrators. An incident was coded as involving
 23
      an assault weapon if at least one of the firearms discharged was defined as an
 24   assault weapon in (1) the 1994 federal Assault Weapons Ban; (2) the statutes of the
      state where the gun massacre occurred; or (3) a legal or judicial declaration issued
 25
      by a state official. An incident was coded as involving a large-capacity magazine if
 26   at least one of the firearms discharged was armed with a detachable ammunition-
 27   feeding device holding more than 10 bullets.

 28
                                              18
                                                                      Def. Exhibit 54
                                                                       Page 001858
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 20 of 106 Page ID
                                   #:10250


  1   Figure 11. Mass Shootings Resulting in Double-Digit Fatalities in American
      History (1776-2022)
  2
  3
  4
  5
  6
  7
  8
  9
 10
 11
 12   Figure 12. Mass Shootings Resulting in Double-Digit Fatalities in American
      History (1949-2022)
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                           19
                                                                Def. Exhibit 54
                                                                 Page 001859
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 21 of 106 Page ID
                                   #:10251


  1         21.    The distribution of double-digit-fatality mass shootings changes in the
  2   early 1980s, when five such events take place in a span of just five years. (Table 5
  3   and Figure 12). This timeframe also reflects the first time that assault weapons are
  4   used to perpetrate mass shootings resulting in 10 or more deaths: the 1982 Wilkes-
  5   Barre, PA, massacre (involving an AR-15 rifle and resulting in 13 deaths) and the
  6   1984 San Ysidro, CA, massacre (involving an Uzi pistol and resulting in 21 deaths).
  7   But this cluster of incidents is followed by a 20-year period in which only 2 double-
  8   digit-fatality mass shootings occur (Figure 12). This period of time from 1987-
  9   2007 correlates with two important pieces of federal firearms legislation: the 1986
 10   Firearm Owners Protection Act and the 1994 Federal Assault Weapons Ban.
 11         22.    It is well-documented in the academic literature that, after the Assault
 12   Weapons Ban expired in 2004, mass shooting violence increased substantially. 10
 13   Mass shootings that resulted in 10 or more deaths were no exception, following the
 14   same pattern. In the 56 years from 1949 through 2004, there were a total of 10
 15   mass shootings resulting in double-digit fatalities. In the 18 years since 2004, there
 16   have been 20 double-digit-fatality mass shootings. In other words, the average rate
 17   of occurrence has increased over six-fold since the Federal Assault Weapons Ban
 18   expired (Table 5 and Figure 12). (The 1994 Federal Assault Weapons Ban and its
 19   impact on mass shooting violence is discussed in further detail in Section V of this
 20   Report.)
 21
 22         10
               See, for example, Louis Klarevas, Rampage Nation, supra note 2 (Relevant
      Excerpt Attached as Exhibit E); Louis Klarevas, et al., The Effect of Large-
 23   Capacity Magazine Bans on High-Fatality Mass Shootings, supra note 3 (Attached
 24   as Exhibit F); Charles DiMaggio, et al., Changes in US Mass Shooting Deaths
      Associated with the 1994-2004 Federal Assault Weapons Ban: Analysis of Open-
 25   Source Data, 86 Journal of Trauma and Acute Care Surgery 11 (2019) (Attached as
      Exhibit G); Lori Post, et al., Impact of Firearm Surveillance on Gun Control
 26   Policy: Regression Discontinuity Analysis, 7 JMIR Public Health and Surveillance
      (2021) (Attached as Exhibit H); and Philip J. Cook and John J. Donohue,
 27   Regulating Assault Weapons and Large-Capacity Magazines for Ammunition, 328
 28   JAMA, September 27, 2022 (Attached as Exhibit I).

                                               20
                                                                       Def. Exhibit 54
                                                                        Page 001860
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 22 of 106 Page ID
                                   #:10252


  1         23.    As with the analyses of mass shootings discussed above in Section II,
  2   death tolls in double-digit-fatality mass shootings are largely related to the use of
  3   large-capacity magazines and assault weapons—firearms technologies that, in terms
  4   of mass shootings, serve as force multipliers (Table 5 and Figure 12).
  5   IV.   ASSAULT WEAPONS ARE ALMOST NEVER USED BY PRIVATE CITIZENS
  6         IN SELF-DEFENSE DURING ACTIVE SHOOTINGS

  7         24.    An important question that, until now, has gone unanswered is: Are
  8   assault weapons used as frequently to stop mass shootings as they are to perpetrate
  9   them? As shown above in Section II, assault weapons have been used to perpetrate
 10   approximately one-third of mass shootings in the past 25 years (Figures 5-6). And
 11   in the past 5 years, the share of mass shootings that have been perpetrated with
 12   assault weapons has risen to approximately half (Figures 5-6).
 13         25.    The Federal Bureau of Investigation (FBI) has been documenting
 14   active shooter incidents since 2000.11 According to the FBI, active shooter
 15   incidents are violent attacks that involve “one or more individuals actively engaged
 16   in killing or attempting to kill people in a populated area.”12 A simple way to
 17   conceptualize active shooter events is to think of them as attempted mass shootings.
 18   As part of its analysis of attempted mass shootings, the FBI identifies incidents that
 19   involved armed civilians using their personal firearms to intervene, regardless of
 20   whether or not the interventions were successful in stopping the attacks and/or
 21   neutralizing the perpetrator(s).
 22         11
               All of the information in this section, including definitions and data, are
      publicly available from the FBI. See FBI, “Active Shooter Safety Resources,”
 23   available at https://www.fbi.gov/how-we-can-help-you/safety-resources/active-
      shooter-safety-resources (last accessed January 2, 2023). At the time that this
 24   Report was being prepared, active shooter incident data was not yet available for
      the year 2022. This data will likely be released by the FBI at some point in 2023.
 25   As such, the time parameter for the analysis in this section is 2000-2021.
 26
            12
               The FBI adds, “Implicit in this definition is the shooter’s use of one or
      more firearms. The ‘active’ aspect of the definition inherently implies the ongoing
 27   nature of the incidents, and thus the potential for the response to affect the
      outcome.” Ibid.
 28
                                                21
                                                                        Def. Exhibit 54
                                                                         Page 001861
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 23 of 106 Page ID
                                   #:10253


  1         26.    In the 22 years between January 1, 2000, and December 31, 2021, the
  2   FBI has identified 406 active shootings occurring in the United States. Out of these
  3   406 active shooter incidents, 15 incidents (3.7%) involved defensive gun uses
  4   (DGUs) by civilians, excluding law enforcement or armed security. 13 Of these 15
  5   DGUs that involved an armed private citizen intervening, 12 incidents involved
  6   handguns. The remaining 3 incidents involved long guns: 1 shotgun, 1 bolt-action
  7   rifle, and 1 assault rifle. In other words, out of the 15 incidents where an armed
  8   civilian intervened, only 1 incident (6.7%) involved an assault weapon. 14 Within
  9   the broader context of all active shooter incidents, only 1 incident out of 406 in the
 10   past 22 years (0.2%) involved an armed civilian intervening with an assault
 11   weapon. 15
 12         27.    The bottom line: assault weapons are used by civilians with a far
 13   greater frequency to perpetrate mass shootings than to stop mass shootings.
 14
 15         13
                In 14 of these 15 DGU-involved active shooter incidents, there was an
 16   exchange of gunfire. For the one incident that did not involve an exchange of
      gunfire, the gun (a handgun) was used to detain the active shooter after the shooting
 17   had ceased. Ibid.
             14
                The FBI also identifies an incident in which an armed individual (a local
 18   firefighter) subdued and detained a school shooter, but there is no evidence that the
      armed citizen drew his handgun during the incident. Moreover, local authorities
 19   have refused to comment on whether the firefighter ever drew his handgun. See
      Carla Field, “Firefighter Was Armed During Takedown of Shooting Suspect,
 20   Sheriff Says,” WYFF, October 3, 2016, available at
      https://www.wyff4.com/article/firefighter-was-armed-during-takedown-of-
 21   shooting-suspect-sheriff-says/7147424 (last accessed January 3, 2023). Adding this
      incident to the 15 DGU-involved incidents would mean that 6.3% (as opposed to
 22   6.7%) of the active shooter incidents, where an armed civilian intervened, involved
      an assault weapon.
 23          15
                FBI, supra note 11. The one DGU that involved an assault weapon was
 24   the 2017 church massacre in Sutherland Springs, Texas. In that incident, an armed
      private citizen used an AR-15-style assault rifle to wound the perpetrator as he was
 25   attempting to flee the scene. While the perpetrator was still able to flee the scene
      despite being shot, minutes later, he crashed his vehicle trying to escape and then
 26   took his life with his own firearm before law enforcement could apprehend him.
      See Adam Roberts, “Man Who Shot Texas Gunman Shares His Story,”
 27   KHBS/KHOG, November 7, 2017, available at
      https://www.4029tv.com/article/man-who-shot-texas-church-gunman-shares-his-
 28   story/13437943 (last accessed January 3, 2023).

                                               22
                                                                        Def. Exhibit 54
                                                                         Page 001862
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 24 of 106 Page ID
                                   #:10254


  1   V.    RESTRICTIONS ON ASSAULT WEAPONS REDUCE THE INCIDENCE OF GUN
  2         MASSACRES, RESULTING IN LIVES SAVED

  3         28.    In light of the growing threat posed by mass shootings, legislatures
  4   have enacted measures aimed at reducing the occurrence and lethality of such
  5   deadly acts of firearm violence. Prominent among these measures are restrictions
  6   on assault weapons. In 1989, California became the first state to enact an assault
  7   weapons ban. The Roberti-Roos Assault Weapons Control Act (AWCA) was
  8   passed by the California legislature in 1989 in response to an attack on Cleveland
  9   Elementary School in Stockton earlier that year. The gunman in the Stockton
 10   school shooting used an AK-47 to kill five children and wound another 30
 11   individuals, 29 of whom were children. In the process of enacting the AWCA, the
 12   legislature codified its findings and intent (at Cal. Penal Code § 30505(a)).
 13
            The Legislature hereby finds and declares that the proliferation and
 14         use of assault weapons poses a threat to the health, safety, and security
            of all citizens of the state. The Legislature has restricted the assault
 15         weapons specified in [California’s statutes] based upon finding that
 16         each firearm has such a high rate of fire and capacity for firepower
            that its function as a legitimate sports or recreational firearm is
 17         substantially outweighed by the danger that it can be used to kill and
            injure human beings.
 18
 19         29.    California’s statewide assault weapons ban took effect on January 1,
 20   1990. While California was the first state to restrict assault weapons, New Jersey,
 21   Hawaii, Connecticut, and Maryland soon followed suit.16
 22         30.    In the years since, the state legislature revised the law to make it more
 23   comprehensive. In the deliberations over SB 880 in 2016, which was ultimately
 24   enacted to close the so-called “bullet button” loophole, the author of that bill stated:
 25
 26         16
               Giffords Law Center to Prevent Gun Violence, “Assault Weapons,”
 27   Giffords.org, available at https://giffords.org/lawcenter/gun-laws/policy-
      areas/hardware-ammunition/assault-weapons (last accessed January 2, 2023).
 28
                                                23
                                                                         Def. Exhibit 54
                                                                          Page 001863
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 25 of 106 Page ID
                                   #:10255


  1         [Assault weapons] are designed only to facilitate the maximum
            destruction of human life. Such weapons have been used in a number
  2         of recent gun attacks, including the recent terrorist attack in San
  3         Bernardino that left 14 Californians dead and 21 injured. Too many
            Californians have died at the hands of these dangerous weapons. 17
  4
  5         31.    In considering SB 880, the Assembly Committee on Public Safety

  6   noted that the assault weapon is considered “an effective tool of mass murder.”18

  7   This sentiment was echoed in the Senate Committee on Public Safety, which, in its

  8   report on SB 880, reproduced the following rationale in support of the bill.

  9         The rapid and controlled spray of bullets associated with assault
 10         weapons is a threat to police officers, families, and communities. As
            was shown by the tragedy at Sandy Hook School and more recently in
 11         San Bernardino, an assault weapon escalates the lethality and number
            of victims in a mass shooting incident.19
 12
 13         32.    The legislative intent of California is not significantly different from
 14   that of the other states that have since restricted assault weapons. The primary
 15   objective of every assault weapons ban is reducing the frequency and lethality of
 16   mass shootings. Because, on average, the use of assault weapons results in higher
 17   death tolls in mass shootings, the rationale for imposing tight restrictions on assault
 18   weapons is to reduce the loss of life attributable to the increased kill potential of
 19   such dangerous firearms.
 20         33.    In September 1994, moved to action by several high-profile shooting
 21   rampages, the U.S. Congress enacted a ban on assault weapons that applied to all 50
 22
 23
            17
                Report of the Assembly Committee on Public Safety on SB 880 (Hall),
      June 13, 2016, available at
 24   https://leginfo.legislature.ca.gov/faces/billAnalysisClient.xhtml?bill_id=201520160
      SB880 (last accessed January 2, 2023).
 25          18
                Ibid. (emphasis added)
 26
             19
                Report of the Senate Committee on Public Safety on SB 880 (Hall), April
      19, 2016, available at
 27   https://leginfo.legislature.ca.gov/faces/billAnalysisClient.xhtml?bill_id=201520160
      SB880 (last accessed January 2, 2023) (emphasis added).
 28
                                                24
                                                                         Def. Exhibit 54
                                                                          Page 001864
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 26 of 106 Page ID
                                   #:10256


  1   states plus the District of Columbia, bringing the entire country under the ban.20
  2   Like the state assault weapons bans that were implemented before it, the federal ban
  3   was aimed primarily at reducing mass shooting violence—an objective the ban
  4   sought to achieve by prohibiting the manufacture, importation, possession, and
  5   transfer of assault weapons not legally owned by civilians prior to the date of the
  6   law’s effect (September 13, 1994).21 Congress, however, inserted a sunset
  7   provision in the law which allowed the federal ban to expire in exactly 10 years, if
  8   it was not renewed beforehand.
  9         34.     Cognizant that the federal ban might be allowed to sunset,
 10   Massachusetts and New York enacted their own state assault weapons bans while
 11   the federal ban was still in effect. As Congress ultimately chose not to renew the
 12   law, the federal ban expired on September 13, 2004. Since the federal ban’s
 13   expiration, the District of Columbia and Delaware have also enacted bans on assault
 14   weapons. 22
 15         35.     Currently, over one-quarter of the U.S. population is subject to an
 16   assault weapons ban. The following is a list of the nine state-level jurisdictions that
 17   presently ban assault weapons and the effective dates of their bans: California
 18   (January 1, 1990); New Jersey (September 1, 1990); Hawaii (July 1, 1992, assault
 19   pistols only); Connecticut (October 1, 1993); Maryland (June 1, 1994, initially
 20   assault pistols but expanded to long guns October 1, 2013); Massachusetts (July 23,
 21   1998); New York (November 1, 2000); the District of Columbia (March 31, 2009);
 22   and Delaware (June 20, 2022).
 23
 24
            20
               Pub. L. No. 103-322, tit. XI, subtit. A, 108 Stat. 1796, 1996-2010 (codified
      as former 18 U.S.C. § 922(v), (w)(1) (1994)).
 25         21
               Christopher Ingraham, “The Real Reason Congress Banned Assault
      Weapons in 1994—and Why It Worked,” Washington Post, February 22, 2018,
 26   available at https://www.washingtonpost.com/news/wonk/wp/2018/02/22/the-real-
      reason-congress-banned-assault-weapons-in-1994-and-why-it-worked (last
 27   accessed January 2, 2023).
 28
            22
               Ibid.; and Giffords, “Assault Weapons,” supra note 16.

                                               25
                                                                        Def. Exhibit 54
                                                                         Page 001865
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 27 of 106 Page ID
                                   #:10257


  1         36.    In the field of epidemiology, a common method for assessing the
  2   impact of laws and policies is to measure the rate of onset of new cases of an event,
  3   comparing the rate when and where the laws and policies were in effect against the
  4   rate when and where the laws and policies were not in effect. This measure, known
  5   as the incidence rate, allows public health experts to identify discernable
  6   differences, while accounting for variations in the population, over a set period of
  7   time. Relevant to the present case, calculating incidence rates across jurisdictions,
  8   in a manner that captures whether or not assault weapons bans were in effect during
  9   the period of observation, allows for the assessment of the effectiveness of such
 10   bans. In addition, fatality rates—the number of deaths, per population, that result
 11   from particular events across different jurisdictions—also provide insights into the
 12   impact of assault weapons bans on mass shootings. 23
 13         37.    Since January 1, 1990, when the first state ban on assault weapons
 14   took effect, through December 31, 2022, there have been 94 high-fatality mass
 15   shootings and 145 mass public shootings in the United States (Exhibits B and C).24
 16   Calculating incidence and fatality rates for this time-period, across jurisdictions
 17   with and without bans on assault weapons, reveals that states that prohibited assault
 18   weapons experienced 46% and 16% decreases, respectively, in the high-fatality
 19   mass shooting and mass public shooting incidence rates. They also experienced
 20   54% and 37% decreases, respectively, in the high-fatality mass shooting and mass
 21
 22
 23
            23
               For purposes of this Report, incidence and fatality rates are calculated
 24   using methods and principles endorsed by the Centers for Disease Control. See
      Centers for Disease Control and Prevention, Principles of Epidemiology in Public
 25   Health Practice: An Introduction to Applied Epidemiology and Biostatistics (2012),
      available at https://stacks.cdc.gov/view/cdc/13178 (last accessed January 3, 2023).
 26         24
               There were no state bans on assault weapons in effect prior to January 1,
 27   1990. Therefore, January 1, 1990, is the logical starting point for an analysis of the
      impact of assault weapons bans.
 28
                                               26
                                                                        Def. Exhibit 54
                                                                         Page 001866
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 28 of 106 Page ID
                                   #:10258


  1   public shooting fatality rates, regardless of the weaponry used by the mass
  2   murderers (Tables 6-7).25
  3         38.   When calculations go a step further and are limited to mass shootings
  4   involving assault weapons, the difference between the two jurisdictional categories
  5   (non-ban states and ban states) is even more pronounced. In the time-period
  6   between January 1, 1990, and December 31, 2022, accounting for population, states
  7   with assault weapons bans in place experienced 59% fewer high-fatality mass
  8   shootings involving the use of assault weapons and 35% fewer mass public
  9   shootings involving the use of assault weapons. Similarly, jurisdictions with bans
 10   in effect experienced 68% fewer deaths resulting from high-fatality mass shootings
 11   perpetrated with assault weapons and 58% fewer deaths resulting from mass public
 12   shootings perpetrated with assault weapons (Tables 6-7).
 13         39.   All of the above epidemiological calculations lead to the same
 14   conclusion: when assault weapons bans are in effect, per capita, fewer mass
 15   shootings occur and fewer people die in such shootings—especially incidents
 16   involving assault weapons, where the impact is most profound. To state this
 17   finding in lay terms: bans on assault weapons appear to save lives.
 18
 19
 20
 21
 22
 23
 24
 25         25
               For purposes of coding, between September 13, 1994, and September 12,
 26   2004, the federal assault weapons ban was in effect. During that 10-year period, all
      50 states and the District of Columbia were under legal conditions that prohibited
 27   assault weapons. As such, the entire country is coded as being under an assault
      weapons ban during the timeframe that the federal assault weapons ban was in
 28   effect.

                                              27
                                                                      Def. Exhibit 54
                                                                       Page 001867
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 29 of 106 Page ID
                                   #:10259


  1   Table 6. Incidence and Fatality Rates for High-Fatality Mass Shootings, by
  2   Whether or Not Assault Weapons Bans Were in Effect, 1990-2022

  3                                                  Annual               Annual
  4                             Annual               Incidents            Deaths per
                                Average              per 100              100
  5                             Population Total     Million    Total     Million
  6                             (Millions) Incidents Population Deaths    Population
       All High-Fatality Mass
  7    Shootings
  8    Non-AW Ban States            159.2        64        1.22     673         12.81
  9    AW Ban States                137.1        30        0.66     264             5.84
 10
       Percentage Decrease
 11    in Rate for AW Ban                                  46%                      54%
 12    States
       High-Fatality Mass
 13
       Shootings Involving
 14    Assault Weapons
 15    Non-AW Ban States            159.2        23        0.44     333             6.34

 16    AW Ban States                137.1         8        0.18      92             2.03
 17
       Percentage Decrease
 18    in Rate for AW Ban                                  59%                      68%
 19    States

 20   Note: Population data are from U.S. Census Bureau, “Population and Housing Unit
 21   Estimates Datasets,” available at https://www.census.gov/programs-
      surveys/popest/data/data-sets.html (last accessed January 3, 2023).
 22
 23
 24
 25
 26
 27
 28
                                            28
                                                                  Def. Exhibit 54
                                                                   Page 001868
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 30 of 106 Page ID
                                   #:10260


  1   Table 7. Incidence and Fatality Rates for Mass Public Shootings, by Whether
  2   or Not Assault Weapons Bans Were in Effect, 1990-2022

  3                                                 Annual                Annual
  4                            Annual               Incidents             Deaths per
                               Average              per 100               100
  5                            Population Total     Million    Total      Million
  6                            (Millions) Incidents Population Deaths     Population
       All Mass Public
  7    Shootings
  8    Non-AW Ban States           159.2         84        1.60     694         13.21
  9    AW Ban States               137.1         61        1.35     375             8.29
 10
       Percentage Decrease
 11    in Rate for AW Ban                                  16%                      37%
 12    States
       Mass Public Shootings
 13
       Involving Assault
 14    Weapons
 15    Non-AW Ban States           159.2         27        0.51     325             6.19

 16    AW Ban States               137.1         15        0.33     119             2.63
 17
       Percentage Decrease
 18    in Rate for AW Ban                                  35%                      58%
 19    States

 20   Note: Population data are from U.S. Census Bureau, “Population and Housing Unit
 21   Estimates Datasets,” available at https://www.census.gov/programs-
      surveys/popest/data/data-sets.html (last accessed January 3, 2023).
 22
 23
 24
 25
 26
 27
 28
                                            29
                                                                  Def. Exhibit 54
                                                                   Page 001869
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 31 of 106 Page ID
                                   #:10261


  1                                         SUMMARY
  2            40.   It is my professional opinion, based upon my extensive review and
  3   analysis of the last 50 years of data, that (1) in terms of individual acts of
  4   intentional criminal violence, mass shootings presently pose the deadliest threat to
  5   the safety of American society in the post-9/11 era, and the problem is growing
  6   nationwide; (2) mass shootings involving assault weapons, on average, have
  7   resulted in a substantially larger loss of life than similar incidents that did not
  8   involve assault weapons; (3) mass shootings resulting in double-digit fatalities are
  9   relatively modern phenomena in American history, largely related to the use of
 10   large-capacity magazines and assault weapons; (4) assault weapons are used by
 11   private citizens with a far greater frequency to perpetrate mass shootings than to
 12   stop mass shootings; and (5) jurisdictions that restrict the possession of assault
 13   weapons experience fewer mass shooting incidents and fatalities, per capita, than
 14   jurisdictions that do not restrict assault weapons. Based on these findings, it is my
 15   opinion that restrictions on assault weapons have the potential to save lives by
 16   reducing the frequency and lethality of mass shootings.
 17            41.   The main purpose of bans on assault weapons is to restrict the
 18   availability of assault weapons. The rationale is that, if there are fewer assault
 19   weapons in circulation, then potential mass shooters will either be dissuaded from
 20   attacking or they will be forced to use less-lethal firearms, resulting in fewer lives
 21   lost. The epidemiological data buttress this line of reasoning, supporting the
 22   California legislature’s determination that restricting civilian access to assault
 23   weapons will enhance public safety.
 24            42.   While imposing constraints on assault weapons will not prevent all
 25   future mass shootings, the data suggest that legislative efforts to deny gunmen
 26   access to assault weapons should result in a substantial number of lives being
 27   saved.
 28
                                                 30
                                                                          Def. Exhibit 54
                                                                           Page 001870
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 32 of 106 Page ID
                                   #:10262


  1   I declare under penalty of perjury that the foregoing is true and correct.
  2         Executed on January 6, 2023 at Nassau County, NY.
  3
  4
  5
  6
  7
                                                    Louis Klarevas
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                               31
                                                                        Def. Exhibit 54
                                                                         Page 001871
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 33 of 106 Page ID
                                   #:10263




                               EXHIBIT A




                                                                Def. Exhibit 54
                                                                 Page 001872
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 34 of 106 Page ID
                                   #:10264



                                    Louis J. Klarevas
                               Email: ljk2149@tc.columbia.edu


 Education

 Ph.D. International Relations, 1999
       School of International Service
       American University
       Washington, DC

 B.A.   Political Science, Cum Laude, 1989
        School of Arts and Sciences
        University of Pennsylvania
        Philadelphia, PA


 Author

 Rampage Nation: Securing America from Mass Shootings


 Current Positions

 Research Professor, Teachers College, Columbia University, New York, NY, 2018-Present

 Faculty Affiliate, Media and Social Change Lab (MASCLab), Teachers College, Columbia
 University, New York, NY, 2019-Present


 Professional Experience

 Academic Experience (Presented in Academic Years)
 Associate Lecturer, Department of Global Affairs, University of Massachusetts – Boston,
 Boston, MA, 2015-2020

 Senior Fulbright Scholar (Security Studies), Department of European and International Studies,
 University of Macedonia, Thessaloniki, Greece, 2011-2012

 Founder and Coordinator, Graduate Transnational Security Program, Center for Global Affairs,
 New York University, New York, NY, 2009-2011

 Faculty Affiliate, A. S. Onassis Program in Hellenic Studies, New York University, New York,
 NY, 2007-2011

 Clinical Faculty, Center for Global Affairs, New York University, New York, NY, 2006-2011



                                                1
                                                                                Def. Exhibit 54
                                                                                 Page 001873
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 35 of 106 Page ID
                                   #:10265



 Adjunct Professor, Center for Global Affairs, New York University, New York, NY, 2004-2006

 Assistant Professor of Political Science, City University of New York – College of Staten Island,
 Staten Island, NY, 2003-2006

 Associate Fellow, European Institute, London School of Economics and Political Science,
 London, England, UK, 2003-2004

 Defense Analysis Research Fellow, London School of Economics and Political Science, London,
 England, UK, 2002-2004

 Visiting Assistant Professor of Political Science and International Affairs, George Washington
 University, Washington, DC, 1999-2002

 Adjunct Professor of Political Science, George Washington University, Washington, DC, 1998-
 1999

 Adjunct Professor of International Relations, School of International Service, American
 University, Washington, DC, 1994-1995

 Dean’s Scholar, School of International Service, American University, Washington, DC, 1989-
 1992

 Professional Experience (Presented in Calendar Years)

 Expert for Cook County, Illinois, Viramontes v. County of Cook, United States District Court for
 Northern District of Illinois, Case Number 21-cv-04595, Chicago, IL, 2022-

 Expert for Government of Canada, Parker and K.K.S. Tactical Supplies Ltd. v. Attorney General
 of Canada, Federal Court, Court File No.: T-569-20, 2021-

 Expert for Government of Canada, Canadian Coalition for Firearm Rights, et al. v. Attorney
 General of Canada, Federal Court, Court File No.: T-577-20, 2021-

 Expert for Government of Canada, Hipwell v. Attorney General of Canada, Federal Court, Court
 File No.: T-581-20, 2021-

 Expert for Government of Canada, Doherty, et al. v. Attorney General of Canada, Federal Court,
 Court File No.: T-677-20, 2021-

 Expert for Government of Canada, Generoux, et al. v. Attorney General of Canada, Federal
 Court, Court File No.: T-735-20, 2021-

 Expert for Government of Canada, Eichenberg, et al. v. Attorney General of Canada, Federal
 Court, Court File No.: T-905-20, 2021-

 Expert for State of California, Nguyen v. Bonta, United States District Court for Southern
 District of California, Case Number 20-cv-02470-WQH-MDD, San Diego, CA, 2021-


                                                 2
                                                                                  Def. Exhibit 54
                                                                                   Page 001874
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 36 of 106 Page ID
                                   #:10266




 Expert for State of California, Jones v. Bonta, United States District Court for Southern District
 of California, Case Number 19-cv-01226-L-AHG, San Diego, CA, 2021-

 Expert for State of California, Miller v. Becerra, United States District Court for Southern
 District of California, Case Number 19-cv-1537-BEN-JLB, San Diego, CA, 2019-

 Expert for Plaintiffs, Ward et al. v. Academy Sports + Outdoor, District Court Bexar County,
 Texas, 224th Judicial District, Cause Number 2017CI23341, Bexar County, TX, 2019-

 Expert for State of California, Duncan v. Becerra, United States District Court for Southern
 District of California, Case Number 17-cv-1017-BEN-JLB, San Diego, CA, 2017-

 Expert for State of California, Wiese v. Becerra, United States District Court for Eastern District
 of California, Case Number 17-cv-00903-WBS-KJN, Sacramento, CA, 2017-

 Expert for State of Colorado, Rocky Mountain Gun Owners v. Hickenlooper, District Court for
 County and City of Denver, Colorado, Case Number 2013CV33879, Denver, CO, 2016-2017

 Consultant, National Joint Terrorism Task Force, Federal Bureau of Investigation, Washington,
 DC, 2015

 Writer, Prometheus Books, Amherst, NY, 2012-2015

 Consultant, United States Institute of Peace, Washington, DC, 2005, 2008-2009

 Research Associate, United States Institute of Peace, Washington, DC, 1992-1998

 Faculty Advisor, National Youth Leadership Forum, Washington, DC, 1992


 Courses Taught

  Graduate                                               Undergraduate
  Counter-Terrorism and Homeland Security                American Government and Politics
  International Political Economy                        European-Atlantic Relations
  International Politics in a Post-Cold War Era          International Political Economy
  International Security                                 International Relations
  Machinery and Politics of American Foreign Policy      Transnational Terrorism
  Role of the United States in World Affairs             United States Foreign Policy
  Security Policy
  Theories of International Politics
  Transnational Security
  Transnational Terrorism
  United States Foreign Policy




                                                  3
                                                                                    Def. Exhibit 54
                                                                                     Page 001875
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 37 of 106 Page ID
                                   #:10267



 Scholarship

 “State Firearm Laws, Gun Ownership, and K-12 School Shootings: Implications for School
 Safety,” Journal of School Violence, 2022 (co-authored with Paul M. Reeping, Sonali Rajan, et
 al.)

 “The Effect of Large-Capacity Magazine Bans on High-Fatality Mass Shootings, 1990-2017,”
 American Journal of Public Health, November 2019 (co-authored with Andrew Conner and
 David Hemenway)

 “Changes in U.S. Mass Shooting Deaths Associated with the 1994-2004 Federal Assault
 Weapons Ban,” Journal of Trauma and Acute Care Surgery, May 2019 (correspondence)

 Firearms on College Campuses: Research Evidence and Policy Implications, report prepared by
 the Johns Hopkins University Center for Gun Policy and Research for the Association of
 American Universities, October 2016 (co-authored with Daniel W. Webster, John J. Donohue, et
 al.)

 Rampage Nation: Securing America from Mass Shootings, Prometheus Books, 2016

 “No Relief in Sight: Barring Bivens Suits in Torture Cases,” Presidential Studies Quarterly, June
 2013

 Review of James Edward Miller’s The United States and the Making of Modern Greece: History
 and Power, 1950-1974, Presidential Studies Quarterly, June 2012 (book review)

 “Trends in Terrorism Since 9/11,” Georgetown Journal of International Affairs, Winter/Spring
 2011

 “The Death Penalty Should Be Decided Only Under a Specific Guideline,” in Christine Watkins,
 ed., The Ethics of Capital Punishment (Cengage/Gale Publishers, 2011)

 Saving Lives in the ‘Convoy of Joy’: Lessons for Peace-Keeping from UNPROFOR, United
 States Institute of Peace Case Study, 2009

 “Casualties, Polls and the Iraq War,” International Security, Fall 2006 (correspondence)

 “The CIA Leak Case Indicting Vice President Cheney’s Chief of Staff,” Presidential Studies
 Quarterly, June 2006

 “Were the Eagle and the Phoenix Birds of a Feather? The United States and the 1967 Greek
 Coup,” Diplomatic History, June 2006

 “Greeks Bearing Consensus: An Outline for Increasing Greece’s Soft Power in the West,”
 Mediterranean Quarterly, Summer 2005




                                                 4
                                                                                  Def. Exhibit 54
                                                                                   Page 001876
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 38 of 106 Page ID
                                   #:10268



 “W Version 2.0: Foreign Policy in the Second Bush Term,” The Fletcher Forum of World
 Affairs, Summer 2005

 “Can You Sue the White House? Opening the Door for Separation of Powers Immunity in
 Cheney v. District Court,” Presidential Studies Quarterly, December 2004

 “Political Realism: A Culprit for the 9/11 Attacks,” Harvard International Review, Fall 2004

 Greeks Bearing Consensus: An Outline for Increasing Greece’s Soft Power in the West, Hellenic
 Observatory Discussion Paper 18, London School of Economics, November 2004

 Were the Eagle and the Phoenix Birds of a Feather? The United States and the 1967 Greek
 Coup, Hellenic Observatory Discussion Paper 15, London School of Economics, February 2004

 “Not a Divorce,” Survival, Winter 2003-2004 (correspondence)

 “Media Impact,” in Mark Rozell, ed., The Media and American Politics: An Introduction
 (Lanham, MD: Rowman & Littlefield, 2003)

 “The Surrender of Alleged War Criminals to International Tribunals: Examining the
 Constitutionality of Extradition via Congressional-Executive Agreement,” UCLA Journal of
 International Law and Foreign Affairs, Fall/Winter 2003

 “The Constitutionality of Congressional-Executive Agreements: Insights from Two Recent
 Cases,” Presidential Studies Quarterly, June 2003

 “The ‘Essential Domino’ of Military Operations: American Public Opinion and the Use of
 Force,” International Studies Perspectives, November 2002

 “The Polls–Trends: The United States Peace Operation in Somalia,” Public Opinion Quarterly,
 Winter 2001

 American Public Opinion on Peace Operations: The Cases of Somalia, Rwanda, and Haiti,
 University of Michigan Dissertation Services, 1999

 “Turkey’s Right v. Might Dilemma in Cyprus: Reviewing the Implications of Loizidou v.
 Turkey,” Mediterranean Quarterly, Spring 1999

 “An Outline of a Plan Toward a Comprehensive Settlement of the Greek-Turkish Dispute,” in
 Vangelis Calotychos, ed., Cyprus and Its People: Nation, Identity, and Experience in an
 Unimaginable Community, 1955-1997, Boulder, CO: Westview Press, 1998 (co-authored with
 Theodore A. Couloumbis)

 “Prospects for Greek-Turkish Reconciliation in a Changing International Setting,” in Tozun
 Bahcheli, Theodore A. Couloumbis, and Patricia Carley, eds., Greek-Turkish Relations and U.S.
 Foreign Policy: Cyprus, the Aegean, and Regional Stability, Washington, D.C.: U.S. Institute of
 Peace, 1997 (co-authored with Theodore A. Couloumbis) [Reproduced as “Prospects for Greek-


                                                5
                                                                                 Def. Exhibit 54
                                                                                  Page 001877
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 39 of 106 Page ID
                                   #:10269



 Turkish Reconciliation in a Changing International Setting,” in Robert L. Pfaltzgraff and
 Dimitris Keridis, eds., Security in Southeastern Europe and the U.S.-Greek–Relationship,
 London: Brassey’s, 1997 (co-authored with Theodore A. Couloumbis)]

 “Structuration Theory in International Relations,” Swords & Ploughshares, Spring 1992


 Commentaries and Correspondence

 “Why Our Response to School Shootings Is All Wrong,” Los Angeles Times, May 25, 2022 (co-
 authored with Sonali Rajan and Charles Branas)

 “COVID-19 Is a Threat to National Security. Let’s Start Treating It as Such,” Just Security,
 August 6, 2020 (co-authored with Colin P. Clarke)

 “If the Assault Weapons Ban ‘Didn’t Work,’ Then Why Does the Evidence Suggest It Saved
 Lives?” Los Angeles Times, March 11, 2018 (correspondence)

 “London and the Mainstreaming of Vehicular Terrorism,” The Atlantic, June 4, 2017 (co-
 authored with Colin P. Clarke)

 “Firearms Have Killed 82 of the 86 Victims of Post-9/11 Domestic Terrorism,” The Trace, June
 30, 2015 [Reproduced as “Almost Every Fatal Terrorist Attack in America since 9/1 Has
 Involved Guns.” Vice, December 4, 2015]

 “International Law and the 2012 Presidential Elections,” Vitoria Institute, March 24, 2012

 “Al Qaeda Without Bin Laden,” CBS News Opinion, May 2, 2011

 “Fuel, But Not the Spark,” Zocalo Public Square, February 16, 2011

 “After Tucson, Emotions Run High,” New York Times, January 12, 2011 (correspondence)

 “WikiLeaks, the Web, and the Need to Rethink the Espionage Act,” The Atlantic, November 9,
 2010

 “Deprogramming Jihadis,” New York Times Magazine, November 23, 2008 (correspondence)

 “Food: An Issue of National Security,” Forbes (Forbes.com), October 25, 2008

 “An Invaluable Opportunity for Greece To Increase Its Standing and Influence on the World
 Stage,” Kathimerini (Greece), January 13, 2005

 “How Many War Deaths Can We Take?” Newsday, November 7, 2003

 “Down But Not Out,” London School of Economics Iraq War Website, April 2003



                                                 6
                                                                                  Def. Exhibit 54
                                                                                   Page 001878
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 40 of 106 Page ID
                                   #:10270



 “Four Half-Truths and a War,” American Reporter, April 6, 2003

 “The Greek Bridge between Old and New Europe,” National Herald, February 15-16, 2003

 “Debunking a Widely-Believed Greek Conspiracy Theory,” National Herald, September 21-22,
 2002

 “Debunking of Elaborate Media Conspiracies an Important Trend,” Kathimerini (Greece),
 September 21, 2002 [Not Related to September 21-22, 2002, National Herald Piece with Similar
 Title]

 “Cold Turkey,” Washington Times, March 16, 1998

 “If This Alliance Is to Survive . . .,” Washington Post, January 2, 1998 [Reproduced as “Make
 Greece and Turkey Behave,” International Herald Tribune, January 3, 1998]

 “Defuse Standoff on Cyprus,” Defense News, January 27-February 2, 1997

 “Ukraine Holds Nuclear Edge,” Defense News, August 2-8, 1993


 Commentaries Written for New York Daily News –
 https://www.nydailynews.com/authors/?author=Louis+Klarevas

 “Careful How You Talk about Suicide, Mr. President,” March 25, 2020 (co-authored with Sonali
 Rajan, Charles Branas, and Katherine Keyes)

 “Only as Strong as Our Weakest Gun Laws: The Latest Mass Shooting Makes a Powerful Case
 for Federal Action,” November 8, 2018

 “What to Worry, and not Worry, About: The Thwarted Pipe-Bomb Attacks Point to Homeland
 Security Successes and Vulnerabilities,” October 25, 2018

 “After the Santa Fe Massacre, Bury the ‘Good Guy with a Gun’ Myth: Armed Staffers Won’t
 Deter Shooters or Keep Kids Safe,” May 22, 2018

 “It’s the Guns (and Ammo), Stupid: Dissuading Killers and Hardening Targets Matter Too, But
 Access to Weapons Matters Most,” February 18, 2018

 “The Texas Shooting Again Reveals Inadequate Mental-Health Help in the U.S. Military,”
 November 7, 2017

 “Why Mass Shootings Are Getting Worse: After Vegas, We Urgently Must Fix Our Laws,”
 October 2, 2017




                                                7
                                                                                 Def. Exhibit 54
                                                                                  Page 001879
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 41 of 106 Page ID
                                   #:10271



 “N.Y. Can Lead the Nation in Fighting Child Sex Trafficking,” April 21, 2009 (co-authored with
 Ana Burdsall-Morse)

 “Crack Down on Handguns – They’re a Tool of Terror, Too,” October 25, 2007


 Commentaries Written for The Huffington Post – www.huffingtonpost.com/louis-klarevas

 “Improving the Justice System Following the Deaths of Michael Brown and Eric Garner,”
 December 4, 2014

 “American Greengemony: How the U.S. Can Help Ukraine and the E.U. Break Free from
 Russia’s Energy Stranglehold,” March 6, 2014

 “Guns Don’t Kill People, Dogs Kill People,” October 17, 2013

 “Romney the Liberal Internationalist?” October 23, 2012

 “Romney’s Unrealistic Foreign Policy Vision: National Security Funded by Money Growing
 Trees,” October 10, 2012

 “Do the Wrong Thing: Why Penn State Failed as an Institution,” November 14, 2011

 “Holding Egypt’s Military to Its Pledge of Democratic Reform,” February 11, 2011

 “The Coming Twivolutions? Social Media in the Recent Uprisings in Tunisia and Egypt,”
 January 31, 2011

 “Scholarship Slavery: Does St. John’s ‘Dean of Mean’ Represent a New Face of Human
 Trafficking?” October 6, 2010

 “Misunderstanding Terrorism, Misrepresenting Islam,” September 21, 2010

 “Bombing on the Analysis of the Times Square Bomb Plot,” May 5, 2010

 “Do the Hutaree Militia Members Pose a Terrorist Threat?” May 4, 2010

 “Addressing Mexico’s Gun Violence One Extradition at a Time,” March 29, 2010

 “Terrorism in Texas: Why the Austin Plane Crash Is an Act of Terror,” February 19, 2010

 “Securing American Primacy by Tackling Climate Change: Toward a National Strategy of
 Greengemony,” December 15, 2009

 “Traffickers Without Borders: A ‘Journey’ into the Life of a Child Victimized by Sex
 Trafficking,” November 17, 2009



                                                8
                                                                                Def. Exhibit 54
                                                                                 Page 001880
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 42 of 106 Page ID
                                   #:10272



 “Beyond a Lingering Doubt: It’s Time for a New Standard on Capital Punishment,” November 9,
 2009

 “It’s the Guns Stupid: Why Handguns Remain One of the Biggest Threats to Homeland
 Security,” November 7, 2009

 “Obama Wins the 2009 Nobel Promise Prize,” October 9, 2009


 Commentaries for Foreign Policy – www.foreignpolicy.com

 “The White House’s Benghazi Problem,” September 20, 2012

 “Greeks Don’t Want a Grexit,” June 14, 2012

 “The Earthquake in Greece,” May 7, 2012

 “The Idiot Jihadist Next Door,” December 1, 2011

 “Locked Up Abroad,” October 4, 2011


 Commentaries for The New Republic – www.tnr.com/users/louis-klarevas

 “What the U.N. Can Do To Stop Getting Attacked by Terrorists,” September 2, 2011

 “Is It Completely Nuts That the British Police Don’t Carry Guns? Maybe Not,” August 13, 2011

 “How Obama Could Have Stayed the Execution of Humberto Leal Garcia,” July 13, 2011

 “After Osama bin Laden: Will His Death Hasten Al Qaeda’s Demise?” May 2, 2011

 “Libya’s Stranger Soldiers: How To Go After Qaddafi’s Mercenaries,” February 28, 2011

 “Closing the Gap: How To Reform U.S. Gun Laws To Prevent Another Tucson,” January 13,
 2011

 “Easy Target,” June 13, 2010

 “Death Be Not Proud,” October 27, 2003 (correspondence)




                                               9
                                                                              Def. Exhibit 54
                                                                               Page 001881
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 43 of 106 Page ID
                                   #:10273



 Legal Analyses Written for Writ – writ.news.findlaw.com/contributors.html#klarevas

 “Human Trafficking and the Child Protection Compact Act of 2009,” Writ (FindLaw.com), July
 15, 2009 (co-authored with Christine Buckley)

 “Can the Justice Department Prosecute Reporters Who Publish Leaked Classified Information?
 Interpreting the Espionage Act,” Writ (FindLaw.com), June 9, 2006

 “Will the Precedent Set by the Indictment in a Pentagon Leak Case Spell Trouble for Those Who
 Leaked Valerie Plame's Identity to the Press?” Writ (FindLaw.com), August 15, 2005

 “Jailing Judith Miller: Why the Media Shouldn’t Be So Quick to Defend Her, and Why a
 Number of These Defenses Are Troubling,” Writ (FindLaw.com), July 8, 2005

 “The Supreme Court Dismisses the Controversial Consular Rights Case: A Blessing in Disguise
 for International Law Advocates?” Writ (FindLaw.com), June 6, 2005 (co-authored with Howard
 S. Schiffman)

 “The Decision Dismissing the Lawsuit against Vice President Dick Cheney,” Writ
 (FindLaw.com), May 17, 2005

 “The Supreme Court Considers the Rights of Foreign Citizens Arrested in the United States,”
 Writ (FindLaw.com), March 21, 2005 (co-authored with Howard S. Schiffman)


 Presentations and Addresses

 In addition to the presentations listed below, I have made close to one hundred media
 appearances, book events, and educational presentations (beyond lectures for my own
 classes)

 “Mass Shootings: What We Know, What We Don’t Know, and Why It All Matters,” keynote
 presentation to be delivered at the Columbia University Center for Injury Science and Prevention
 Annual Symposium, virtual meeting, May 2020

 “K-12 School Environmental Responses to Gun Violence: Gaps in the Evidence,” paper
 presented at Society for Advancement of Violence and Injury Research Annual Meeting, virtual
 meeting, April 2020 (co-authored with Sonali Rajan, Joseph Erardi, Justin Heinze, and Charles
 Branas)

 “Active School Shootings,” Post-Performance Talkback following Presentation of 17 Minutes,
 Barrow Theater, New York, January 29, 2020 (co-delivered with Sonali Rajan)

 “Addressing Mass Shootings in Public Health: Lessons from Security Studies,” Teachers
 College, Columbia University, November 25, 2019




                                               10
                                                                                 Def. Exhibit 54
                                                                                  Page 001882
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 44 of 106 Page ID
                                   #:10274



 “Rampage Nation: Securing America from Mass Shootings,” Swarthmore College, October 24,
 2019

 “Rampage Nation: Securing America from Mass Shootings,” University of Pennsylvania,
 February 9, 2018

 “Treating Mass Shootings for What They Really Are: Threats to American Security,”
 Framingham State University, October 26, 2017

 “Book Talk: Rampage Nation,” Teachers College, Columbia University, October 17, 2017

 Participant, Roundtable on Assault Weapons and Large-Capacity Magazines, Annual Conference
 on Second Amendment Litigation and Jurisprudence, Law Center to Prevent Gun Violence,
 October 16, 2017

 “Protecting the Homeland: Tracking Patterns and Trends in Domestic Terrorism,” address
 delivered to the annual meeting of the National Joint Terrorism Task Force, June 2015

 “Sovereign Accountability: Creating a Better World by Going after Bad Political Leaders,”
 address delivered to the Daniel H. Inouye Asia-Pacific Center for Security Studies, November
 2013

 “Game Theory and Political Theater,” address delivered at the School of Drama, State Theater of
 Northern Greece, May 2012

 “Holding Heads of State Accountable for Gross Human Rights Abuses and Acts of Aggression,”
 presentation delivered at the Michael and Kitty Dukakis Center for Public and Humanitarian
 Service, American College of Thessaloniki, May 2012

 Chairperson, Cultural Enrichment Seminar, Fulbright Foundation – Southern Europe, April 2012

 Participant, Roundtable on “Did the Intertubes Topple Hosni?” Zócalo Public Square, February
 2011

 Chairperson, Panel on Democracy and Terrorism, annual meeting of the International Security
 Studies Section of the International Studies Association, October 2010

 “Trends in Terrorism Within the American Homeland Since 9/11,” paper to be presented at the
 annual meeting of the International Security Studies Section of the International Studies
 Association, October 2010

 Panelist, “In and Of the World,” Panel on Global Affairs in the 21st Century, Center for Global
 Affairs, New York University, March 2010

 Moderator, “Primacy, Perils, and Players: What Does the Future Hold for American Security?”
 Panel of Faculty Symposium on Global Challenges Facing the Obama Administration, Center for
 Global Affairs, New York University, March 2009


                                                11
                                                                                  Def. Exhibit 54
                                                                                   Page 001883
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 45 of 106 Page ID
                                   #:10275




 “Europe’s Broken Border: The Problem of Illegal Immigration, Smuggling and Trafficking via
 Greece and the Implications for Western Security,” presentation delivered at the Center for
 Global Affairs, New York University, February 2009

 “The Dangers of Democratization: Implications for Southeast Europe,” address delivered at the
 University of Athens, Athens, Greece, May 2008

 Participant, “U.S. National Intelligence: The Iran National Intelligence Estimate,” Council on
 Foreign Relations, New York, April 2008

 Moderator, First Friday Lunch Series, “Intelligence in the Post-9/11 World: An Off-the-Record
 Conversation with Dr. Joseph Helman (U.S. Senior National Intelligence Service),” Center for
 Global Affairs, New York University, March 2008

 Participant, “U.S. National Intelligence: Progress and Challenges,” Council on Foreign
 Relations, New York, March 2008

 Moderator, First Friday Lunch Series, “Public Diplomacy: The Steel Backbone of America’s
 Soft Power: An Off-the-Record Conversation with Dr. Judith Baroody (U.S. Department of
 State),” Center for Global Affairs, New York University, October 2007

 “The Problems and Challenges of Democratization: Implications for Latin America,”
 presentation delivered at the Argentinean Center for the Study of Strategic and International
 Relations Third Conference on the International Relations of South America (IBERAM III),
 Buenos Aires, Argentina, September 2007

 “The Importance of Higher Education to the Hellenic-American Community,” keynote address
 to the annual Pan-Icarian Youth Convention, New York, May 2007

 Moderator, First Friday Lunch Series, Panel Spotlighting Graduate Theses and Capstone
 Projects, Center for Global Affairs, New York University, April 2007

 Convener, U.S. Department of State Foreign Officials Delegation Working Group on the Kurds
 and Turkey, March 2007

 “Soft Power and International Law in a Globalizing Latin America,” round-table presentation
 delivered at the Argentinean Center for the Study of Strategic and International Relations
 Twelfth Conference of Students and Graduates of International Relations in the Southern Cone
 (CONOSUR XII), Buenos Aires, Argentina, November 2006

 Moderator, First Friday Lunch Series, “From Berkeley to Baghdad to the Beltway: An Off-the-
 Record Conversation with Dr. Catherine Dale (U.S. Department of Defense),” Center for Global
 Affairs, New York University, November 2006

 Chairperson, Roundtable on Presidential Privilege and Power Reconsidered in a Post-9/11 Era,
 American Political Science Association Annual Meeting, September 2006


                                                12
                                                                                  Def. Exhibit 54
                                                                                   Page 001884
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 46 of 106 Page ID
                                   #:10276




 “Constitutional Controversies,” round-table presentation delivered at City University of New
 York-College of Staten Island, September 2005

 “The Future of the Cyprus Conflict,” address to be delivered at City University of New York
 College of Staten Island, April 2005

 “The 2004 Election and the Future of American Foreign Policy,” address delivered at City
 University of New York College of Staten Island, December 2004

 “One Culprit for the 9/11 Attacks: Political Realism,” address delivered at City University of
 New York-College of Staten Island, September 2004

 “Were the Eagle and the Phoenix Birds of a Feather? The United States and the 1967 Greek
 Coup,” address delivered at London School of Economics, November 2003

 “Beware of Europeans Bearing Gifts? Cypriot Accession to the EU and the Prospects for Peace,”
 address delivered at Conference on Mediterranean Stability, Security, and Cooperation, Austrian
 Defense Ministry, Vienna, Austria, October 2003

 Co-Chair, Panel on Ideational and Strategic Aspects of Greek International Relations, London
 School of Economics Symposium on Modern Greece, London, June 2003

 “Greece between Old and New Europe,” address delivered at London School of Economics, June
 2003

 Co-Chair, Panel on International Regimes and Genocide, International Association of Genocide
 Scholars Annual Meeting, Galway, Ireland, June 2003

 “American Cooperation with International Tribunals,” paper presented at the International
 Association of Genocide Scholars Annual Meeting, Galway, Ireland, June 2003

 “Is the Unipolar Moment Fading?” address delivered at London School of Economics, May 2003

 “Cyprus, Turkey, and the European Union,” address delivered at London School of Economics,
 February 2003

 “Bridging the Greek-Turkish Divide,” address delivered at Northwestern University, May 1998

 “The CNN Effect: Fact or Fiction?” address delivered at Catholic University, April 1998

 “The Current Political Situation in Cyprus,” address delivered at AMIDEAST, July 1997

 “Making the Peace Happen in Cyprus,” presentation delivered at the U.S. Institute of Peace in
 July 1997




                                                13
                                                                                   Def. Exhibit 54
                                                                                    Page 001885
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 47 of 106 Page ID
                                   #:10277



 “The CNN Effect: The Impact of the Media during Diplomatic Crises and Complex
 Emergencies,” a series of presentations delivered in Cyprus (including at Ledra Palace), May
 1997

 “Are Policy-Makers Misreading the Public? American Public Opinion on the United Nations,”
 paper presented at the International Studies Association Annual Meeting, Toronto, Canada,
 March 1997 (with Shoon Murray)

 “The Political and Diplomatic Consequences of Greece’s Recent National Elections,”
 presentation delivered at the National Foreign Affairs Training Center, Arlington, VA,
 September 1996

 “Prospects for Greek-Turkish Reconciliation,” presentation delivered at the U.S. Institute of
 Peace Conference on Greek-Turkish Relations, Washington, D.C., June, 1996 (with Theodore A.
 Couloumbis)

 “Greek-Turkish Reconciliation,” paper presented at the Karamanlis Foundation and Fletcher
 School of Diplomacy Joint Conference on The Greek-U.S. Relationship and the Future of
 Southeastern Europe, Washington, D.C., May, 1996 (with Theodore A. Couloumbis)

 “The Path toward Peace in the Eastern Mediterranean and the Balkans in the Post-Cold War
 Era,” paper presented at the International Studies Association Annual Meeting, San Diego, CA,
 March, 1996 (with Theodore A. Couloumbis)

 “Peace Operations: The View from the Public,” paper presented at the International Studies
 Association Annual Meeting, San Diego, CA, March, 1996

 Chairperson, Roundtable on Peace Operations, International Security Section of the International
 Studies Association Annual Meeting, Rosslyn, VA, October, 1995

 “Chaos and Complexity in International Politics: Epistemological Implications,” paper presented
 at the International Studies Association Annual Meeting, Washington, D.C., March, 1994

 “At What Cost? American Mass Public Opinion and the Use of Force Abroad,” paper presented
 at the International Studies Association Annual Meeting, Washington, D.C., March, 1994 (with
 Daniel B. O'Connor)

 “American Mass Public Opinion and the Use of Force Abroad,” presentation delivered at the
 United States Institute of Peace, Washington, D.C., February, 1994 (with Daniel B. O'Connor)

 “For a Good Cause: American Mass Public Opinion and the Use of Force Abroad,” paper
 presented at the Annual Meeting of the Foreign Policy Analysis/Midwest Section of the
 International Studies Association, Chicago, IL, October, 1993 (with Daniel B. O’Connor)




                                                14
                                                                                 Def. Exhibit 54
                                                                                  Page 001886
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 48 of 106 Page ID
                                   #:10278



 “American International Narcotics Control Policy: A Critical Evaluation,” presentation delivered
 at the American University Drug Policy Forum, Washington, D.C., November, 1991

 “American National Security in the Post-Cold War Era: Social Defense, the War on Drugs, and
 the Department of Justice,” paper presented at the Association of Professional Schools of
 International Affairs Conference, Denver, CO, February, 1991


 Referee for Grant Organizations, Peer-Reviewed Journals, and Book Publishers

 National Science Foundation, Division of Social and Economic Sciences

 American Journal of Public Health

 American Political Science Review

 British Medical Journal (BMJ)

 Comparative Political Studies

 Injury Epidemiology

 Journal of Public and International Affairs

 Millennium

 Political Behavior

 Presidential Studies Quarterly

 Victims & Offenders

 Violence and Victims

 Brill Publishers

 Johns Hopkins University Press

 Routledge




                                               15
                                                                                 Def. Exhibit 54
                                                                                  Page 001887
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 49 of 106 Page ID
                                   #:10279



 Service to University, Profession, and Community

 Member, Regional Gun Violence Research Consortium, Nelson A. Rockefeller Institute of
 Government, State University of New York, 2022-

 Founding Member, Scientific Union for the Reduction of Gun Violence (SURGE), Columbia
 University, 2019-

 Contributing Lecturer, Johns Hopkins University, Massive Open Online Course on Evidence-
 Based Gun Violence Research, Funded by David and Lucile Packard Foundation, 2019

 Member, Group of Gun Violence Experts, New York Times Upshot Survey, 2017

 Member, Guns on Campus Assessment Group, Johns Hopkins University and Association of
 American Universities, 2016

 Member, Fulbright Selection Committee, Fulbright Foundation, Athens, Greece, 2012

 Faculty Advisor, Global Affairs Graduate Society, New York University, 2009-2011

 Founder and Coordinator, Graduate Transnational Security Studies, Center for Global Affairs,
 New York University, 2009-2011

 Organizer, Annual Faculty Symposium, Center for Global Affairs, New York University, 2009

 Member, Faculty Search Committees, Center for Global Affairs, New York University, 2007-
 2009

 Member, Graduate Program Director Search Committee, Center for Global Affairs, New York
 University, 2008-2009

 Developer, Transnational Security Studies, Center for Global Affairs, New York University,
 2007-2009

 Participant, Council on Foreign Relations Special Series on National Intelligence, New York,
 2008

 Member, Graduate Certificate Curriculum Committee, Center for Global Affairs, New York
 University, 2008

 Member, Faculty Affairs Committee, New York University, 2006-2008

 Member, Curriculum Review Committee, Center for Global Affairs, New York University,
 2006-2008

 Member, Overseas Study Committee, Center for Global Affairs, New York University, 2006-
 2007


                                               16
                                                                                Def. Exhibit 54
                                                                                 Page 001888
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 50 of 106 Page ID
                                   #:10280




 Participant, New York Academic Delegation to Israel, Sponsored by American-Israel Friendship
 League, 2006

 Member, Science, Letters, and Society Curriculum Committee, City University of New York-
 College of Staten Island, 2006

 Member, Graduate Studies Committee, City University of New York-College of Staten Island,
 2005-2006

 Member, Summer Research Grant Selection Committee, City University of New York-College
 of Staten Island, 2005

 Director, College of Staten Island Association, 2004-2005

 Member of Investment Committee, College of Staten Island Association, 2004-2005

 Member of Insurance Committee, College of Staten Island Association, 2004-2005

 Member, International Studies Advisory Committee, City University of New York-College of
 Staten Island, 2004-2006

 Faculty Advisor, Pi Sigma Alpha National Political Science Honor Society, City University of
 New York-College of Staten Island, 2004-2006

 Participant, World on Wednesday Seminar Series, City University of New York-College of
 Staten Island, 2004-2005

 Participant, American Democracy Project, City University of New York-College of Staten
 Island, 2004

 Participant, Philosophy Forum, City University of New York-College of Staten Island, 2004

 Commencement Liaison, City University of New York-College of Staten Island, 2004

 Member of Scholarship Committee, Foundation of Pan-Icarian Brotherhood, 2003-2005, 2009

 Scholarship Chairman, Foundation of Pan-Icarian Brotherhood, 2001-2003

 Faculty Advisor to the Kosmos Hellenic Society, George Washington University, 2001-2002

 Member of University of Pennsylvania’s Alumni Application Screening Committee, 2000-2002

 Participant in U.S. Department of State’s International Speakers Program, 1997

 Participant in Yale University’s United Nations Project, 1996-1997



                                               17
                                                                                  Def. Exhibit 54
                                                                                   Page 001889
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 51 of 106 Page ID
                                   #:10281



 Member of Editorial Advisory Board, Journal of Public and International Affairs, Woodrow
 Wilson School of Public and International Affairs, Princeton University, 1991-1993

 Voting Graduate Student Member, School of International Service Rank and Tenure Committee,
 American University, 1990-1992

 Member of School of International Service Graduate Student Council, American University,
 1990-1992

 Teaching Assistant for the Several Courses (World Politics, Beyond Sovereignty, Between Peace
 and War, Soviet-American Security Relations, and Organizational Theory) at School of
 International Service Graduate Student Council, American University, 1989-1992

 Representative for American University at the Annual Meeting of the Association of
 Professional Schools of International Affairs, Denver, Colorado, 1991


 Affiliations, Associations, and Organizations (Past and Present)

 Academy of Political Science (APS)

 American Political Science Association (APSA)

 Anderson Society of American University

 Carnegie Council Global Ethics Network

 Columbia University Scientific Union for the Reduction of Gun Violence (SURGE)

 Firearm Safety among Children and Teens (FACTS)

 International Political Science Association (IPSA)

 International Studies Association (ISA)

 New York Screenwriters Collective

 Pan-Icarian Brotherhood

 Pi Sigma Alpha

 Regional Gun Violence Research Consortium

 Society for Advancement of Violence and Injury Research (SAVIR)

 United States Department of State Alumni Network



                                                18
                                                                               Def. Exhibit 54
                                                                                Page 001890
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 52 of 106 Page ID
                                   #:10282



 United States Institute of Peace Alumni Association

 University of Pennsylvania Alumni Association


 Grants, Honors, and Awards

 Co-Investigator, A Nationwide Case-Control Study of Firearm Violence Prevention Tactics and
 Policies in K-12 School, National Institutes of Health, 2021-2024 (Charles Branas and Sonali
 Rajan MPIs)

 Senior Fulbright Fellowship, 2012

 Professional Staff Congress Research Grantee, City University of New York, 2004-2005

 Research Assistance Award (Two Times), City University of New York-College of Staten
 Island, 2004

 Summer Research Fellowship, City University of New York-College of Staten Island, 2004

 European Institute Associate Fellowship, London School of Economics, 2003-2004

 Hellenic Observatory Defense Analysis Research Fellowship, London School of Economics,
 2002-2003

 United States Institute of Peace Certificate of Meritorious Service, 1996

 National Science Foundation Dissertation Research Grant, 1995 (declined)

 Alexander George Award for Best Graduate Student Paper, Runner-Up, Foreign Policy Analysis
 Section, International Studies Association, 1994

 Dean’s Scholar Fellowship, School of International Service, American University, 1989-1992

 Graduate Research and Teaching Assistantship, School of International Service, American
 University, 1989-1992

 American Hellenic Educational Progressive Association (AHEPA) College Scholarship, 1986

 Political Science Student of the Year, Wilkes-Barre Area School District, 1986




                                                 19
                                                                                  Def. Exhibit 54
                                                                                   Page 001891
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 53 of 106 Page ID
                                   #:10283




                               EXHIBIT B




                                                                Def. Exhibit 54
                                                                 Page 001892
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 54 of 106 Page ID
                                   #:10284



                                         Exhibit B
                 High-Fatality Mass Shootings in the United States, 1973-2022

                                                                                Involved
                                                                                 Assault
          Date                      City                   State    Deaths      Weapon(s)
    1     1/7/1973               New Orleans                LA        7            N
    2    4/22/1973               Los Angeles                CA        7            N
    3     6/9/1973                 Boston                   MA        6            N
    4    6/21/1973                Palos Hills               IL        7            N
    5    11/4/1973                Cleveland                 OH        7            N
    6    2/18/1974                  Fayette                 MS        7            N
    7   10/19/1974               New Britain                CT        6            N
    8   11/13/1974                Amityville                NY         6           N
    9    3/30/1975                Hamilton                  OH        11           N
   10   10/19/1975                Sutherland                NE        6            N
   11    3/12/1976                 Trevose                  PA        6            N
   12    7/12/1976                 Fullerton                CA        7            N
   13    2/14/1977               New Rochelle               NY        6            N
   14    7/23/1977               Klamath Falls              OR        6            Y
   15    8/26/1977               Hackettstown               NJ        6            N
   16    7/16/1978              Oklahoma City               OK        6            N
   17     1/3/1981                 Delmar                   IA        6            N
   18     1/7/1981                Richmond                  VA        6            N
   19     5/2/1981                  Clinton                 MD        6            N
   20    8/21/1981               Indianapolis               IN        6            N
   21    2/17/1982                 Farwell                  MI        7            N
   22     8/9/1982               Grand Prairie              TX        6            N
   23    8/20/1982                  Miami                   FL        8            N
   24     9/7/1982                   Craig                  AK        8            N
   25    9/25/1982               Wilkes-Barre               PA        13           Y
   26    2/18/1983                 Seattle                  WA        13           N
   27     3/3/1983                McCarthy                  AK         6           Y
   28   10/11/1983       College Station and Hempstead      TX        6            N
   29    4/15/1984                 Brooklyn                 NY        10           N
   30    5/19/1984            Manley Hot Springs            AK        8            N
   31    6/29/1984                  Dallas                  TX        6            N
   32    7/18/1984                San Ysidro                CA        21           Y
   33   10/18/1984                Evansville                IN        6            N
   34    8/20/1986                 Edmond                   OK        14           N
   35    12/8/1986                 Oakland                  CA        6            Y
   36     2/5/1987                   Flint                  MI        6            N


                                                   B1

                                                                             Def. Exhibit 54
                                                                              Page 001893
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 55 of 106 Page ID
                                   #:10285



                                                                     Involved
                                                                      Assault
              Date              City              State   Deaths     Weapon(s)
   37    4/23/1987            Palm Bay             FL       6           Y
   38    7/12/1987             Tacoma             WA        7            N
   39    9/25/1987             Elkland            MO        7            N
   40   12/30/1987            Algona              IA        6            N
   41    2/16/1988           Sunnyvale            CA        7            N
   42    9/14/1989            Louisville          KY        8            Y
   43    6/18/1990           Jacksonville          FL       9            N
   44    1/26/1991            Chimayo             NM        7            N
   45     8/9/1991            Waddell             AZ        9            N
   46   10/16/1991             Killeen            TX       23            N
   47    11/7/1992    Morro Bay and Paso Robles   CA        6            N
   48     1/8/1993             Palatine            IL       7            N
   49    5/16/1993             Fresno             CA        7            Y
   50     7/1/1993          San Francisco         CA        8            Y
   51    12/7/1993           Garden City          NY        6            N
   52    4/20/1999            Littleton           CO       13            Y
   53    7/12/1999             Atlanta            GA        6            N
   54    7/29/1999            Atlanta             GA        9            N
   55    9/15/1999           Fort Worth           TX        7            N
   56    11/2/1999            Honolulu             HI       7            N
   57   12/26/2000           Wakefield            MA        7            Y
   58   12/28/2000          Philadelphia          PA        7            N
   59    8/26/2002           Rutledge             AL        6            N
   60    1/15/2003            Edinburg            TX        6            Y
   61     7/8/2003            Meridian            MS        6            N
   62    8/27/2003            Chicago              IL       6            N
   63    3/12/2004             Fresno             CA        9            N
   64   11/21/2004           Birchwood            WI        6            Y
   65    3/12/2005           Brookfield           WI        7            N
   66    3/21/2005            Red Lake            MN        9            N
   67    1/30/2006             Goleta             CA        7            N
   68    3/25/2006             Seattle            WA        6            N
   69     6/1/2006           Indianapolis          IN       7            Y
   70   12/16/2006           Kansas City          KS        6            N
   71    4/16/2007           Blacksburg           VA       32            N
   72    10/7/2007            Crandon             WI        6            Y
   73    12/5/2007             Omaha              NE        8            Y
   74   12/24/2007            Carnation           WA        6            N
   75     2/7/2008            Kirkwood            MO        6            N


                                            B2

                                                                   Def. Exhibit 54
                                                                    Page 001894
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 56 of 106 Page ID
                                   #:10286



                                                                       Involved
                                                                        Assault
              Date              City                State   Deaths     Weapon(s)
   76     9/2/2008              Alger               WA        6           N
   77   12/24/2008             Covina               CA        8            N
   78    1/27/2009           Los Angeles            CA        6            N
   79    3/10/2009   Kinston, Samson, and Geneva    AL       10            Y
   80    3/29/2009             Carthage             NC        8            N
   81     4/3/2009           Binghamton             NY       13            N
   82    11/5/2009            Fort Hood             TX       13            N
   83    1/19/2010           Appomattox             VA        8            Y
   84     8/3/2010           Manchester             CT        8            N
   85     1/8/2011             Tucson               AZ        6            N
   86     7/7/2011          Grand Rapids             MI       7            N
   87     8/7/2011        Copley Township           OH        7            N
   88   10/12/2011           Seal Beach             CA        8            N
   89   12/25/2011           Grapevine              TX        6            N
   90     4/2/2012             Oakland              CA        7            N
   91    7/20/2012             Aurora               CO       12            Y
   92     8/5/2012           Oak Creek              WI        6            N
   93    9/27/2012           Minneapolis            MN        6            N
   94   12/14/2012            Newtown               CT       27            Y
   95   7/26//2013             Hialeah               FL       6            N
   96    9/16/2013           Washington             DC       12            N
   97     7/9/2014             Spring               TX        6            N
   98    9/18/2014              Bell                FL        7            N
   99    2/26/2015             Tyrone               MO        7            N
  100    5/17/2015              Waco                TX        9            N
  101    6/17/2015           Charleston              SC       9            N
  102     8/8/2015            Houston               TX        8            N
  103    10/1/2015            Roseburg              OR        9            N
  104    12/2/2015         San Bernardino           CA       14            Y
  105    2/21/2016           Kalamazoo               MI       6            N
  106    4/22/2016             Piketon              OH        8            N
  107    6/12/2016             Orlando              FL       49            Y
  108    5/27/2017           Brookhaven             MS        8            Y
  109    9/10/2017              Plano               TX        8            Y
  110    10/1/2017            Las Vegas             NV       60            Y
  111    11/5/2017        Sutherland Springs        TX       25            Y
  112    2/14/2018            Parkland               FL      17            Y
  113    5/18/2018            Santa Fe              TX       10            N
  114   10/27/2018            Pittsburgh            PA       11            Y


                                               B3

                                                                     Def. Exhibit 54
                                                                      Page 001895
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 57 of 106 Page ID
                                   #:10287



                                                                                                       Involved
                                                                                                        Assault
               Date                        City                              State       Deaths        Weapon(s)
  115     11/7/2018                    Thousand Oaks                          CA           12             N
  116     5/31/2019                     Virginia Beach                        VA           12               N
  117       8/3/2019                        El Paso                           TX           23               Y
  118      8/4/2019                       Dayton                              OH            9               Y
  119     8/31/2019                  Midland and Odessa                       TX            7               Y
  120     3/15/2020                       Moncure                             NC            6               U
  121       6/4/2020                 Valhermoso Springs                       AL            7               Y
  122       9/7/2020                       Aguanga                            CA            7               U
  123       2/2/2021                      Muskogee                            OK            6               N
  124     3/16/2021                  Acworth and Atlanta                      GA            8               N
  125     3/22/2021                        Boulder                            CO           10               Y
  126       4/7/2021                      Rock Hill                           SC            6               Y
  127     4/15/2021                     Indianapolis                          IN            8               Y
  128      5/9/2021                   Colorado Springs                        CO            6               N
  129     5/26/2021                        San Jose                           CA            9               N
  130     1/23/2022                       Milwaukee                           WI            6               N
  131       4/3/2022                     Sacramento                           CA            6               N
  132     5/14/2022                        Buffalo                            NY           10               Y
  133     5/24/2022                        Uvalde                             TX           21               Y
  134       7/4/2022                    Highland Park                         IL            7               Y
  135    10/27/2022                     Broken Arrow                          OK            7               N
  136    11/22/2022                      Chesapeake                           VA            6               N

 Note: High-fatality mass shootings are shootings resulting in 6 or more fatalities, not including the perpetrator(s),
 regardless of location or motive. For purposes of this Exhibit, a high-fatality mass shooting was coded as involving
 an assault weapon if at least one of the firearms discharged was defined as an assault weapon in (1) the 1994 federal
 Assault Weapons Ban; (2) the statutes of the state where the shooting occurred; or (3) a legal or judicial declaration
 issued by a state official. Incidents in gray shade are those incidents that occurred at a time when and in a state
 where legal prohibitions on assault weapons were in effect statewide or nationwide.

 Sources: Louis Klarevas, Rampage Nation: Securing America from Mass Shootings (2016); Louis Klarevas, et al.,
 The Effect of Large-Capacity Magazine Bans on High-Fatality Mass Shootings, 109 American Journal of Public
 Health 1754 (2019), available at https://ajph.aphapublications.org/doi/full/10.2105/AJPH.2019.305311 (last
 accessed December 27, 2022); and “Gun Violence Archive,” available at https://www.gunviolencearchive.org (last
 accessed January 3, 2023). The Gun Violence Archive was only consulted for identifying high-fatality mass
 shootings that occurred since January 1, 2018.




                                                          B4

                                                                                                    Def. Exhibit 54
                                                                                                     Page 001896
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 58 of 106 Page ID
                                   #:10288




                               EXHIBIT C




                                                                Def. Exhibit 54
                                                                 Page 001897
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 59 of 106 Page ID
                                   #:10289



                                          Exhibit C
                     Mass Public Shootings in the United States, 1973-2022

                                                                              Involved
                                                                               Assault
          Date                    City                 State     Deaths       Weapon(s)
    1     1/7/1973             New Orleans              LA         7             N
    2     3/2/1975             Smith River             CA          5              N
    3    7/12/1976              Fullerton              CA          7              N
    4    2/14/1977            New Rochelle             NY          6              N
    5    7/23/1977             Klamath Falls           OR          6              Y
    6    8/26/1977             Hackettstown             NJ         6              N
    7    6/17/1978               Warwick                RI         4              N
    8     2/3/1980               El Paso               TX          5              N
    9    6/22/1980             Daingerfield            TX          5              N
   10    7/21/1980              Coraopolis              PA         4              N
   11     5/7/1981                Salem                OR          4              N
   12   10/16/1981                Allen                KY          5              N
   13     5/3/1982              Anchorage              AK          4              N
   14     8/9/1982             Grand Prairie           TX          6              N
   15    8/20/1982                Miami                 FL         8              N
   16     2/3/1983              New York               NY          4              N
   17     3/3/1983               McCarthy              AK          6              Y
   18   10/11/1983     College Station and Hempstead   TX          6              N
   19    5/17/1984          Manley Hot Springs         AK          8              N
   20    6/29/1984                Dallas               TX          6              N
   21    7/18/1984              San Ysidro             CA          21             Y
   22    7/24/1984              Hot Springs            AR          5              N
   23    3/16/1985             Connellsville            PA         4              N
   24    8/20/1986               Edmond                OK          14             N
   25    4/23/1987               Palm Bay               FL         6              Y
   26    2/16/1988              Sunnyvale              CA          7              N
   27    7/17/1988            Winston-Salem            NC          4              N
   28    9/22/1988               Chicago                IL         4              N
   29    1/17/1989               Stockton              CA          5              Y
   30    9/14/1989              Louisville             KY          8              Y
   31    6/18/1990             Jacksonville             FL         9              N
   32   10/10/1991              Ridgewood               NJ         4              Y
   33   10/16/1991                Killeen              TX          23             N
   34    11/1/1991              Iowa City               IA         5              N
   35    11/9/1991             Harrodsburg             KY          4              N
   36   11/14/1991              Royal Oak               MI         4              N


                                                 C1

                                                                             Def. Exhibit 54
                                                                              Page 001898
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 60 of 106 Page ID
                                   #:10290



                                                                        Involved
                                                                         Assault
              Date             City                   State   Deaths    Weapon(s)
   37    3/15/1992            Phoenix                  AZ       4          N
   38     5/1/1992          Olivehurst                CA        4           N
   39   10/15/1992         Watkins Glen               NY        4           N
   40    11/8/1992   Morro Bay and Paso Robles        CA        6           N
   41     7/1/1993         San Francisco              CA        8           Y
   42     8/6/1993          Fayetteville              NC        4           N
   43   10/14/1993           El Cajon                 CA        4           N
   44    12/2/1993            Oxnard                  CA        4           N
   45    12/7/1993          Garden City               NY        6           N
   46   12/14/1993            Aurora                  CO        4           N
   47    6/20/1994    Fairchild Air Force Base        WA        4           Y
   48   12/31/1994            Raeford                 NC        5           N
   49     4/3/1995        Corpus Christi              TX        5           N
   50    7/19/1995         Los Angeles                CA        4           N
   51   12/19/1995            Bronx                   NY        5           N
   52     2/9/1996        Fort Lauderdale              FL       5           N
   53    4/24/1996            Jackson                 MS        5           Y
   54    8/19/1997          Colebrook                 NH        4           Y
   55    9/15/1997           Aiken                    SC        4           N
   56    12/3/1997            Bartow                   FL       4           N
   57   12/18/1997            Orange                  CA        4           Y
   58     3/6/1998          Rocky Hill                CT        4           N
   59    3/24/1998          Jonesboro                 AR        5           N
   60    5/20/1998          Springfield               OR        4           N
   61    3/10/1999           Gonzalez                 LA        4           N
   62    4/20/1999           Littleton                CO       13           Y
   63     6/3/1999          Las Vegas                 NV        4           N
   64    7/29/1999           Atlanta                  GA        9           N
   65    9/15/1999          Fort Worth                TX        7           N
   66    11/2/1999           Honolulu                  HI       7           N
   67   12/30/1999            Tampa                   FL        5           N
   68    3/20/2000            Irving                  TX        5           N
   69    4/28/2000          Pittsburgh                 PA       5           N
   70   12/26/2000          Wakefield                 MA        7           Y
   71     1/9/2001           Houston                  TX        4           N
   72     2/5/2001             Lisle                   IL       4           Y
   73     7/3/2001             Rifle                  CO        4           N
   74     9/8/2001          Sacramento                CA        5           Y
   75    3/22/2002          South Bend                 IN       4           N


                                                 C2

                                                                       Def. Exhibit 54
                                                                        Page 001899
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 61 of 106 Page ID
                                   #:10291



                                                                  Involved
                                                                   Assault
              Date          City              State   Deaths      Weapon(s)
   76    2/25/2003        Huntsville           AL       4            N
   77     7/8/2003        Meridian            MS        6            N
   78    8/27/2003         Chicago             IL       6            N
   79   10/24/2003        Oldtown              ID       4            N
   80     7/2/2004       Kansas City           KS       5            N
   81   11/21/2004        Birchwood            WI       6            Y
   82    12/8/2004        Columbus            OH        4            N
   83    3/11/2005         Atlanta            GA        4            N
   84    3/12/2005        Brookfield           WI       7            N
   85    3/21/2005        Red Lake            MN        9            N
   86    8/28/2005       Honey Grove          TX        4            N
   87    1/30/2006         Goleta             CA        7            N
   88    3/25/2006          Seattle           WA        6            N
   89    5/21/2006       Baton Rouge          LA        5            N
   90    10/2/2006         Paradise            PA       5            N
   91    2/12/2007      Salt Lake City        UT        5            N
   92    4/16/2007       Blacksburg           VA        32           N
   93    12/5/2007         Omaha              NE        8            Y
   94    12/9/2007         Arvada             CO        4            Y
   95     2/7/2008        Kirkwood            MO        6            N
   96    2/14/2008         DeKalb              IL       5            N
   97    3/18/2008       Santa Maria          CA        4            N
   98    6/25/2008       Henderson            KY        5            N
   99     9/2/2008          Alger             WA        6            N
  100    3/29/2009        Carthage            NC        8            N
  101     4/3/2009       Binghamton           NY        13           N
  102    11/1/2009       Mount Airy           NC        4            Y
  103    11/5/2009        Killeen             TX        13           N
  104   11/29/2009         Tacoma             WA        4            N
  105     4/3/2010     North Hollywood        CA        4            N
  106     6/6/2010        Hialeah              FL       4            N
  107     8/3/2010       Manchester            CT       8            N
  108    8/14/2010         Buffalo            NY        4            N
  109    9/11/2010         Jackson            KY        5            N
  110     1/8/2011         Tucson             AZ        6            N
  111     8/7/2011     Copley Township        OH        7            N
  112     9/6/2011       Carson City          NV        4            Y
  113   10/12/2011       Seal Beach           CA        8            N
  114     4/2/2012         Oakland            CA        7            N


                                         C3

                                                                Def. Exhibit 54
                                                                 Page 001900
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 62 of 106 Page ID
                                   #:10292



                                                                     Involved
                                                                      Assault
              Date             City                State   Deaths    Weapon(s)
  115    5/30/2012            Seattle              WA        5          N
  116    7/20/2012            Aurora               CO       12           Y
  117     8/5/2012          Oak Creek               WI       6           N
  118    9/27/2012          Minneapolis            MN       6            N
  119   12/14/2012           Newtown               CT       27           Y
  120    3/13/2013           Herkimer              NY        4           N
  121    4/21/2013          Federal Way            WA        4           N
  122     6/7/2013         Santa Monica            CA        5           Y
  123    7/26/2013            Hialeah               FL       6           N
  124    9/16/2013          Washington             DC       12           N
  125    2/20/2014            Alturas              CA        4           N
  126   10/24/2014          Marysville             WA        4           N
  127    6/17/2015           Charleston            SC        9           N
  128    7/16/2015          Chattanooga            TN        5           Y
  129    10/1/2015           Roseburg              OR        9           N
  130   11/14/2015           Palestine             TX        5           N
  131    12/2/2015        San Bernardino           CA       14           Y
  132    2/20/2016          Kalamazoo               MI       6           N
  133     3/9/2016          Wilkinsburg             PA       5           Y
  134    6/12/2016            Orlando               FL      49           Y
  135     7/7/2016             Dallas              TX        5           Y
  136    9/23/2016          Burlington             WA        5           N
  137     1/6/2017        Fort Lauderdale          FL        5           N
  138     2/6/2017          Yazoo City             MS        4           U
  139    3/22/2017          Rothschild              WI       4           N
  140     6/5/2017            Orlando               FL       5           N
  141    10/1/2017           Las Vegas             NV       60           Y
  142    11/5/2017       Sutherland Springs        TX       25           Y
  143   11/14/2017   Corning and Rancho Tehama     CA        5           Y
  144    1/28/2018           Melcroft               PA       4           Y
  145    2/14/2018           Parkland               FL      17           Y
  146    2/26/2018            Detroit               MI      4            N
  147    4/22/2018            Antioch              TN        4           Y
  148    5/18/2018           Santa Fe              TX       10           N
  149    6/28/2018           Annapolis             MD        5           N
  150    9/12/2018          Bakersfield            CA       5            N
  151   10/27/2018          Pittsburgh              PA      11           Y
  152    11/7/2018        Thousand Oaks            CA       12           N
  153    1/23/2019            Sebring               FL       5           N


                                              C4

                                                                    Def. Exhibit 54
                                                                     Page 001901
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 63 of 106 Page ID
                                   #:10293



                                                                                                       Involved
                                                                                                        Assault
                Date                      City                         State         Deaths            Weapon(s)
  154      2/15/2019                     Aurora                         IL             5                  N
  155      5/31/2019                 Virginia Beach                     VA             12                   N
  156       8/3/2019                     El Paso                        TX             23                   Y
  157       8/4/2019                   Dayton                           OH              9                   Y
  158      8/31/2019              Midland and Odessa                    TX              7                   Y
  159    12/10/2019                    Jersey City                      NJ              4                   Y
  160      2/26/2020                   Milwaukee                        WI              5                   N
  161      3/15/2020                   Springfield                      MO              4                   Y
  162       1/9/2021             Chicago and Evanston                    IL             5                   N
  163      3/16/2021                     Atlanta                        GA              8                   N
  164      3/22/2021                     Boulder                        CO             10                   Y
  165      3/31/2021                     Orange                         CA              4                   N
  166      4/15/2021                   Indianapolis                     IN              8                   Y
  167      5/26/2021                     San Jose                       CA              9                   N
  168    11/30/2021                      Oxford                         MI              4                   N
  169      5/14/2022                     Buffalo                        NY             10                   Y
  170      5/24/2022                     Uvalde                         TX             21                   Y
  171       6/1/2022                      Tulsa                         OK              4                   Y
  172       7/4/2022                  Highland Park                     IL              7                   Y
  173    10/13/2022                      Raleigh                        NC              5                   N
  174    11/19/2022                 Colorado Springs                    CO              5                   Y
  175    11/22/2022                    Chesapeake                       VA              6                   N


 Notes: Mass public shootings are shootings resulting in 4 or more fatalities, not including the perpetrator(s), so long
 as the act of violence occurred largely in a public setting and was not undertaken in pursuit of an underlying
 criminal objective. For purposes of this Exhibit, a high-fatality mass shooting was coded as involving an assault
 weapon if at least one of the firearms discharged was defined as an assault weapon in (1) the 1994 federal Assault
 Weapons Ban; (2) the statutes of the state where the shooting occurred; or (3) a legal or judicial declaration issued
 by a state official. Incidents in gray shade are those incidents that occurred at a time when and in a state where legal
 prohibitions on assault weapons were in effect statewide or nationwide.

 Source: The Violence Project. The source for the comprehensive data set is: The Violence Project, “Mass Shooter
 Database,” 2023, available at https://www.theviolenceproject.org/mass-shooter-database (last accessed January 3,
 2023).




                                                           C5

                                                                                                     Def. Exhibit 54
                                                                                                      Page 001902
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 64 of 106 Page ID
                                   #:10294




                               EXHIBIT D




                                                                Def. Exhibit 54
                                                                 Page 001903
                 Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 65 of 106 Page ID
                                                    #:10295



                           Mass Shootings Resulting in Double-Digit Fatalities in American History (1776-2022>


     60


     50



c 40
■§
'S
 c
t 30
Q.
BB




Q 20


     10                                                                                                                    1

      o
          1776   1801      1825         1850         1875         1899         1924          1949         1973   1998       2022
                                                                  Year




                                                                                                                   Def. Exhibit 54
                                                                                                                    Page 001904
                      Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 66 of 106 Page ID
                                                         #:10296



                                       Mass Shootings Resulting in Double-Digit Fatalities in American History (1949-2022)

     60


     50


■£ 40
■§
CJ



 t 30
 a.
Jzi
n
Q 20

                                                                                                                                    ••     • •
     10                                                                               •-                                                                 :•   •—•


      0
          1949        1955          1962           1969          1975          1982        1989         1996         2002          2009           2016         2022



                 • Assault Weapons and Large-Capacity Magazines Involved                    • No Large-Capacity Magazines or Assault Weapons Involved
                 • Large Capacity Magazine Involved (But Not Assault Weapon Involved)




                                                                                                                                                 Def. Exhibit 54
                                                                                                                                                  Page 001905
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 67 of 106 Page ID
                                   #:10297




                               EXHIBIT E




                                                                Def. Exhibit 54
                                                                 Page 001906
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 68 of 106 Page ID
                                   #:10298




                                   LOUIS KLAREVAS

                      RAMPAGE NATION
                          SECURING AMERICA FROM MASS SHOOTINGS




                                      Prometheus Books
                                          59 John Glenn Drive
                                        Amherst, New York 14228




      Rampage Nation.indd 3                                        6/14/16 12:37 PM



                                                                  Def. Exhibit 54
                                                                   Page 001907
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 69 of 106 Page ID
                                   #:10299




                                                                  BREAKING THE TRINITY   239


                   in a class all by itself. No other advanced. Western democracy experi-
                   ences the magnitude of gun violence that presently afflicts American
                   society.28 This is particularly true when it comes to mass shootings.29

                                                          ★

                   The United States does little to regulate firearms, especially at the
                   federal level.30 While it goes to great lengths to restrict access to
                   WMDs and TEDs, the same can’t be said for its efforts to keep fire-
                   arms out of the hands of high-risk individuals. Indeed, the American
                   experience with gun control nationwide is so limited that it can actu-
                   ally be chronicled in a few bullet points:

                         • The National Firearms Act of 1934: Heavily regulated machine
                           guns, short-barrel rifles and shotguns, and silencers.
                         • The Federal Firearms Act of 1938: Established a federal
                           licensing system to regulate manufacturers, importers, and
                           dealers of firearms.
                         • The Omnibus Crime Control and Safe Streets Act of 1968: Pro-
                           hibited anyone under twenty-one years of age from purchasing
                           a handgun.
                         • The Gun Control Act of 1968: Required that all interstate fire-
                           arms transfers or sales be made through a federally licensed
                           firearms dealer and prohibited certain categories of people—
                           felons (indicted or convicted), fugitives, drug abusers, mentally
                           ill persons (as determined by adjudication), illegal aliens, dis-
                           honorably discharged servicemen, US-citizenship renouncers,
                           and domestic abusers—from possessing firearms.31
                         • The Firearm Owners Protection Act of 1986: Barred the pur-
                           chase or transfer of automatic weapons without government
                           approval.
                         • The Undetectable Firearms Act of 1988: Required that all fire-
                           arms have at least 3.7 oz. of metal that can be detected by a
                           metal detector.
                         • The Gun-Free School Zones Act of 1990: Criminalized posses-
                           sion or discharge of a firearm in a school zone.
                         • The Brady Handgun Violence Prevention Act of 1993: Required




      Rampage Nation.indd 239                                                                  6/14/16 12:38 PM



                                                                                          Def. Exhibit 54
                                                                                           Page 001908
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 70 of 106 Page ID
                                   #:10300




                   240          PART 3: PRESCRIPTION


                           that anyone attempting to purchase a firearm from a federally
                           licensed dealer pass a background check.32
                         • The Federal Assault Weapons Ban of 1994: Banned the sale and
                           possession of semiautomatic assault weapons and extended-
                           capacity magazines not grandfathered prior to the enactment
                           of the law.33

                       Of all of these measures, the National Firearms Act of 1934 and
                   the Assault Weapons Ban of 1994 (AWB) were the only ones insti-
                   tuted primarily in an effort to reduce the carnage of mass shootings.
                   The former was passed in response to a series of bloody gangland
                   executions, including the infamous 1929 St. Valentine’s Day mas-
                   sacre in Chicago.34 While there are still machine guns in circulation,
                   the National Firearm Act, in conjunction with the Firearm Owners
                   Protection Act of 1986, sharply cut the availability of machine guns,
                   which likely explains the complete elimination of massacres perpe-
                   trated with such automatic-fire weapons.
                       Like the National Firearms Act, the AWB was introduced fol-
                   lowing several high-profile mass shootings in the early 1990s: the
                   Luby’s restaurant, 101 California Street office complex, and Long
                   Island Railroad train car massacres.35 Signed into law by President
                   Bill Clinton, the AWB went into effect on September 13, 1994. At
                   the insistence of the gun-rights lobby, however, the bill contained
                   a ten-year sunset provision. As Congress never renewed the ban, it
                   automatically expired on September 13, 2004.
                       The decade the law was in effect nonetheless resulted in a unique
                   experiment, allowing us to discern what impact, if any, the ban had
                   on gun violence in general and mass shootings in particular. As to
                   the former, the academic consensus seems to be that the AWB had
                   a minimal impact on reducing violent crime.36 This hardly comes
                   as a surprise. After all, most crimes don’t involve assault weapons.
                   The real test should be: Did it succeed in its intended purpose of
                   reducing rampage violence? The answer is a resounding yes.
                       Let’s take a closer look.
                       The best way to assess the impact of something is to conduct
                   what, in social science, we commonly refer to as a time-series analysis.
                   Basically, that’s a fancy name for a before-and-after test. Figures 7.1




      Rampage Nation.indd 240                                                             6/14/16 12:38 PM



                                                                                         Def. Exhibit 54
                                                                                          Page 001909
                  3
                  1
                  ■a

                  <D
                  z
                  a
                  o
                  S'
                  a
                  £



                             50



                             40



                             30



                             20



                             10
                                                ll nil
                                                                                                                                                                                                                                             #:10301




                                                                                                                                                                                                     00
                              o4J  Pre   Pre   Pre   Pre   Pre   Pre   Pre   Pre   Pre   Pre   Ban   Ban Ban   Ban   Ban   Ban Ban Ban   Ban Ban Post Post Post Post Post Post Post Post Post Post   SO
                                   -10   -9    -8    -7    -6    -5    -4    -3    -2    -1     1     2   3     4     5     6   7   8     9   10 +1 +2      +3   +4   +5   +6 +7 +8       +9 +10     m
                       ■ Incidents 1      1     4    3      0     2     2     1     4     1     0     0   0     0     3     2   2   1     3    1  3    3     2    5    5    3   3    5     3   2
                       ■ Deaths     6    14    25    20    0     17    16    23    28    6      0    0    0     0    28    14   14   6   18   9    22   20   38   32   45   29   20   39   39   18   CO

                                                                                                                                                                                                     m

                                            Fig. 7.1. Gun Massacres Before, During, and After the Assault Weapons Ban of 1994.                                                                       so

                             Note: The lines in the graph demarcate the start and end points of the Assault Weapons Ban, which was in effect
                                                                                                                                                                                                     =5
                                       from September 13, 1994, through September 12, 2004. The data are drawn from Table 3.2.
                                                                                                                                                                                                     NS

                  §
                  I
                  1
                  TJ




 Page 001910
Def. Exhibit 54
                                                                                                                                                                                                          Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 71 of 106 Page ID
                  3
                  1
                  CD
                  z
                  a
                  §                                                                                                                      hS
                                                                                                                                         ht»>
                  I                                                                                                                      NS
                  l\3        350


                             300                                                                                                         w
                                                                                                                                         ■o

                                                                                                                                         s
                                                                                                                                         bO
                             250
                                                                                                                                         2
                                                                                                                                         5
                             200



                              150


                              100
                                                                                                                                                                                   #:10302




                               50


                                0
                                             Decade Before AWB               Decade During AWB                Decade After AWB
                        ■ Incidents                 19                              12                              34
                        ■ Deaths                    155                             89                              302




                                         Fig. 7.2. Gun Massacres by Decade Before, During, and After the Assault Weapons Ban of 1994.
                                      Note: The Assault Weapons Ban was in effect from September 13, 1994, through September 12, 2004.
                                                                     The data are drawn from Table 3.2.
                  §
                  *
                  o

                  r?
                  03
                  CD




 Page 001911
Def. Exhibit 54
                                                                                                                                                Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 72 of 106 Page ID
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 73 of 106 Page ID
                                   #:10303




                                                                  BREAKING THE TRINITY    243


                   and 7.2 provide a look at the before-and-after pictures. In the decade
                   prior to the enactment of the AWB, the United States experienced
                   nineteen gun massacres that resulted in 155 cumulative deaths, for
                   an average death toll of 8.2 fatalities per incident. During the ten-
                   year period that the AWB was in effect, the numbers declined sub-
                   stantially, with only twelve gun massacres, resulting in eighth-nine
                   deaths, for an average of 7.4 fatalities per incident.37 What’s particu-
                   larly astounding about this time period is that during the first four
                   and a half years of the ban, there wasn’t a single gun massacre in the
                   United States. Not one. This is unprecedented in modern American
                   history.38 Since 1966, the longest streaks without a gun massacre prior
                   to era of the AWB were two instances of consecutive years (1969-1970
                   and 1979-1980).39 Then, all of a sudden, from September 1994 to
                   April 1999, the country experienced a long calm. As further evidence
                   of the AWB’s effectiveness, once it expired, rampages returned with a
                   vengeance. In the ten years after the ban, the number of gun massa-
                   cres nearly tripled to thirty-four incidents, sending the total number
                   of deaths skyrocketing to 302, for an average of 8.9 fatalities per inci-
                   dent.40 These numbers paint a clear picture: America’s experiment,
                   while short-lived, was also extremely successful.41


                    ZEROING OUT GUN MASSACRES

                   The biggest takeaway from America’s experience with a ban on
                   assault weapons and extended-capacity magazines is that gun-control
                   legislation can save lives. But is there a way to get to zero? Is there a
                   way to eliminate gun massacres once and for all? For that, we have to
                   look overseas for insights.
                       One of the biggest obstacles to successful gun control is the ability
                   to transport firearms across open, contiguous borders. In the United
                   States, it’s a problem that allows guns to flow freely from states with
                   lax laws into states with strict laws. A common complaint frequently
                   leveled by elected officials in places like California, Illinois, Maryland,
                   New York, and Massachusetts is that people just need to drive across
                   a state line and they can readily obtain firearms that they can then
                   easily—if perhaps illegally—bring back into their jurisdictions.42 That




      Rampage Nation.indd 243                                                                   6/14/16 12:38 PM



                                                                                            Def. Exhibit 54
                                                                                             Page 001912
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 74 of 106 Page ID
                                   #:10304




                               EXHIBIT F




                                                                Def. Exhibit 54
                                                                 Page 001913
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 75 of 106 Page ID
                                   #:10305
 AJPH OPEN-THEMED RESEARCH




 The Effect of Large-Capacity Magazine Bans on
 High-Fatality Mass Shootings, 1990–2017
 Louis Klarevas, PhD, Andrew Conner, BS, David Hemenway, PhD


     Objectives. To evaluate the effect of large-capacity magazine (LCM) bans on the                                     on assault weapons in 1989, but LCMs
 frequency and lethality of high-fatality mass shootings in the United States.                                           remained unregulated in the state until 1994,
     Methods. We analyzed state panel data of high-fatality mass shootings from 1990 to                                  when the federal ban went into effect. In
 2017. We ﬁrst assessed the relationship between LCM bans overall, and then federal                                      2000, California’s own statewide ban on
 and state bans separately, on (1) the occurrence of high-fatality mass shootings (logit                                 LCMs took effect as a safeguard in the event
 regression) and (2) the deaths resulting from such incidents (negative binomial analysis).                              the federal ban expired, which happened in
                                                                                                                         2004.10,11
 We controlled for 10 independent variables, used state ﬁxed effects with a continuous
                                                                                                                             LCMs provide a distinct advantage to
 variable for year, and accounted for clustering.
                                                                                                                         active shooters intent on murdering numer-
     Results. Between 1990 and 2017, there were 69 high-fatality mass shootings. Attacks
                                                                                                                         ous people: they increase the number of
 involving LCMs resulted in a 62% higher mean average death toll. The incidence of
                                                                                                                         rounds that can be ﬁred at potential victims
 high-fatality mass shootings in non–LCM ban states was more than double the rate in                                     before having to pause to reload or switch
 LCM ban states; the annual number of deaths was more than 3 times higher. In mul-                                       weapons. Evidence shows that victims struck
 tivariate analyses, states without an LCM ban experienced signiﬁcantly more                                             by multiple rounds are more likely to die,
 high-fatality mass shootings and a higher death rate from such incidents.                                               with 2 studies ﬁnding that, when compared
     Conclusions. LCM bans appear to reduce both the incidence of, and number of people                                  with the fatality rates of gunshot wound
 killed in, high-fatality mass shootings. (Am J Public Health. 2019;109:1754–1761. doi:                                  victims who were hit by only a single bullet,
 10.2105/AJPH.2019.305311)                                                                                               the fatality rates of those victims hit by more
                                                                                                                         than 1 bullet were more than 60% higher.12,13
                                                                                                                         Being able to strike human targets with more

 T     he recent spate of gun massacres in the       than 10 bullets—unless the magazines were                           than 1 bullet increases shooters’ chances of
       United States has re-energized the debate     manufactured before the enactment of the                            killing their victims. Analyses of gunshot
 over how to prevent such tragedies.1 A              ban. LCM restrictions are arguably the most                         wound victims at level I trauma centers have
 common response to high-proﬁle acts of gun          important component of assault weapons                              suggested that this multiple-impact capability
 violence is the promotion of tighter gun            bans because they also apply to semiautomatic                       is often attributable to the use of LCMs.14,15
 legislation, and there is some evidence that        ﬁrearms without military-style features.8,9                             In addition, LCMs provide active shooters
 laws imposing tighter restrictions on access to         Beginning with New Jersey in 1990, some                         with extended cover.16 During an attack,
 ﬁrearms have been associated with lower             states implemented their own regulations on                         perpetrators are either ﬁring their guns or not
 levels of mass shootings.2 One proposal that        LCMs. Today, 9 states and the District of                           ﬁring their guns. While gunmen are ﬁring, it is
 has received renewed interest involves              Columbia restrict the possession of LCMs.                           extremely difﬁcult for those in the line of ﬁre
 restricting the possession of large-capacity        The bans vary along many dimensions, in-                            to take successful defensive maneuvers. But if
 magazines (LCMs).3–5 This raises an impor-          cluding maximum bullet capacity of per-                             gunmen run out of bullets, there are lulls in
 tant question: what has been the impact of          missible magazines, grandfathering of existing                      the shootings, as the perpetrators are forced
 LCM bans on high-fatality mass shootings?           LCMs, and applicable ﬁrearms. Moreover,                             to pause their attacks to reload or change
     In an attempt to arrest an uptick in            overlaps sometimes exist between assault                            weapons. These pauses provide opportunities
 mass shooting violence in the early 1990s,          weapons bans and LCM bans, but not in all                           for people to intervene and disrupt a shooting.
 Congress in 1994 enacted the federal as-            states. For example, California instituted a ban                    Alternatively, they provide individuals in
 sault weapons ban, which, among other
 things, restricted ownership of certain             ABOUT THE AUTHORS
 ammunition-feeding devices.6,7 The law,             Louis Klarevas is with the Teachers College, Columbia University, New York, NY. Andrew Conner is with the Frank H.
                                                     Netter, MD, School of Medicine, Quinnipiac University, North Haven, CT. David Hemenway is with the Harvard T. H.
 which contained a sunset provision, was             Chan School of Public Health, Harvard University, Boston, MA.
 allowed to expire a decade later. Pursuant to          Correspondence should be sent to Louis Klarevas, Research Professor, Ofﬁce of the Provost, Teachers College, Columbia University,
 that ban (18 USC §921(a) [1994]; repealed), it      525 W 120th St, New York, NY 10027 (e-mail: ljk2149@tc.columbia.edu). Reprints can be ordered at http://www.ajph.org
                                                     by clicking the “Reprints” link.
 was illegal to possess LCMs—deﬁned as any              This article was accepted July 22, 2019.
 ammunition-feeding device holding more                 doi: 10.2105/AJPH.2019.305311



 1754   Research   Peer Reviewed   Klarevas et al.                                                                                     AJPH      December 2019, Vol 109, No. 12

                                                                                                                                          Def. Exhibit 54
                                                                                                                                           Page 001914
      Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 76 of 106 Page ID
                                         #:10306
                                                                                                            AJPH OPEN-THEMED RESEARCH



harm’s way with a chance to ﬂee or hide.            the search and identiﬁcation strategy we           states. To control for this, we utilized
Legislative endeavors that restrict access to       employed.)                                         cluster-robust standard errors to account for
LCMs are implemented with the express                   The ﬁrst state to enact an LCM ban was         the clustering of observations. When the
objective of reducing an active shooter’s           New Jersey in 1990. Since then, another 8          dependent variable reﬂected deaths (count
multiple-impact capability and extended             states and the District of Columbia have           data), we used negative binomial regression;
cover.10                                            enacted LCM bans (Table A, available as a          Gius used a Poisson regression, and we used
   Although mass shootings have received            supplement to the online version of this article   that approach as a sensitivity analysis.26 We
extensive study, there has been little scholarly    at http://www.ajph.org).10 With no LCM             included state ﬁxed effects. We used a con-
analysis of LCM bans.17–24 The studies un-          bans in effect before 1990, a priori we chose      tinuous variable for year because the rate of
dertaken that have broached the subject of          that year to begin our analysis to avoid in-       high-fatality mass shootings has increased
ammunition capacity have primarily con-             ﬂating the impact of the bans. Our data set        over time. For purposes of sensitivity
centrated on the effect of LCM bans on vi-          extends 28 years, from 1990 through 2017. As       analysis, we also replaced the linear yearly
olent crimes other than mass shootings or on        a secondary analysis, we used a 13-year data       trend with a quadratic function. We per-
the impact of the assault weapons bans on           set, beginning in 2005, the ﬁrst full year after   formed multivariate statistical analyses by
mass shootings.25–27                                the federal assault weapons ban expired.           using Stata/IC version 15.1 (StataCorp LP,
   Evidence suggests that ﬁrearms equipped              Our primary outcome measures were the          College Station, TX).
with LCMs are involved in a disproportionate        incidence of high-fatality mass shootings and          Population data came from the US Census
share of mass shootings.10,20,28 Proponents of      the number of victims killed. We distin-           Bureau, unemployment data came from the
LCM bans believe that without LCMs, fewer           guished between high-fatality mass shootings       Bureau of Labor Statistics, and imprisonment
people will be killed in a mass shooting, other     occurring with and without a ban in effect.        data came from the Bureau of Justice Statistics.
things equal. In turn, fewer shootings will         Because the federal ban was in effect na-          The percentage of households with a ﬁrearm
cross the threshold required to be classiﬁed as     tionwide from September 13, 1994, through          was a validated proxy (the percentage of
what we call a “high-fatality mass shooting”        September 12, 2004, we coded every state as        suicides that are ﬁrearm suicides) derived from
(‡ 6 victims shot to death). If LCM bans are        being under an LCM ban during that 10-year         Centers for Disease Control and Prevention
effective, we should expect to ﬁnd that             timeframe.                                         National Vital Statistics Data.33
high-fatality mass shootings occur at a lower           Our interest was in the effect of LCM
incidence rate when LCM bans are in place,          bans. We ran regression analyses to determine
and fewer people are killed in such attacks.        if any relationship between LCM bans and
But have LCM bans actually saved lives in           high-fatality mass shootings can be explained      RESULTS
practice? To our knowledge, the impact of           by other factors. In our state–year panel              Between 1990 and 2017, there were 69
LCM bans has never been systematically              multivariate analyses, the outcome variables       high-fatality mass shootings (‡ 6 victims shot
assessed. This study ﬁlls that void.                were (1) whether an LCM-involved high-             to death) in the United States. Of these,
                                                    fatality mass shooting occurred, (2) whether       44 (64%) involved LCMs, 16 did not (23%),
                                                    any high-fatality mass shooting occurred, (3)      and for 9 (13%) we could not determine
                                                    the number of fatalities in an LCM-involved        whether LCMs were used (Table 1). The
METHODS                                             high-fatality mass shooting, and (4) the           mean number of victims killed in the 44
    Mass shootings have been deﬁned in a            number of fatalities in any high-fatality mass     LCM-involved high-fatality mass shootings
variety of ways, with some analyses setting the     shooting. Our analyses ﬁrst combined and           was 11.8; including the unknowns resulted in
casualty threshold as low as 2 people wounded       then separated federal and state LCM bans.         that average falling to 11.0 (not shown). The
or killed and others requiring a minimum of             Consistent with the suggestions and            mean number of victims killed in high-fatality
7 gunshot victims.18,22,29 We focused on            practices of the literature on ﬁrearm homi-        mass shootings in which the perpetrator did
high-fatality mass shootings—the deadliest          cides and mass shootings, our explanatory          not use an LCM was 7.3 (Table B, available as
and most disturbing of such incidents—which         variables are population density; proportion       a supplement to the online version of this
are deﬁned as intentional crimes of gun vi-         of population aged 19 to 24 years, aged 25 to      article at http://www.ajph.org); including
olence with 6 or more victims shot to death,        34 years, that is Black, and with a college        the unknowns resulted in that average falling
not including the perpetrators.20,30,31 After an    degree; real per-capita median income; un-         to 7.1 (not shown). When we excluded
exhaustive search, we identiﬁed 69 such in-         employment rate; and per-capita prison             unknown cases, the data indicated that uti-
cidents in the United States between 1990           population.2,26,27,32 We also added a variable     lizing LCMs in high-fatality mass shootings
and 2017. We then discerned whether each            for percentage of households with a ﬁrearm.        resulted in a 62% increase in the mean
high-fatality mass shooting involved a LCM          All regression models controlled for total state   death toll.
—unless otherwise stated, deﬁned consistent         population. When the dependent variable                Data sets of mass shooting fatalities by their
with the 1994 federal ban as a detachable           reﬂected occurrences of incidents (ordered         nature involve truncated data, with the mode
ammunition-feeding device capable of                choice data), we used logit regression; we ran     generally being the baseline number of fa-
holding more than 10 bullets. (See Table 1 for      probit regression as a sensitivity analysis. We    talities required to be included in the data
a list of incidents and for additional details on   had multiple observations for individual           set (6 fatalities in the current study). Our data


December 2019, Vol 109, No. 12   AJPH                                                                    Klarevas et al.   Peer Reviewed   Research   1755

                                                                                                                               Def. Exhibit 54
                                                                                                                                Page 001915
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 77 of 106 Page ID
                                   #:10307
 AJPH OPEN-THEMED RESEARCH




     TABLE 1—High-Fatality Mass Shootings in the United States, 1990–2017

 Incident           Date                           City           State   LCM   Deaths, No.   State LCM Ban       Federal Assault Weapons Ban
 1              Jun 18, 1990        Jacksonville                   FL      Y         9             N                          N
 2              Jan 26, 1991        Chimayo                       NM      N          7             N                          N
 3              Aug 9, 1991         Waddell                        AZ     N          9             N                          N
 4              Oct 16, 1991        Killeen                        TX      Y        23             N                          N
 5              Nov 7, 1992         Morro Bay and Paso Robles      CA     N          6             N                          N
 6              Jan 8, 1993         Palatine                       IL     N          7             N                          N
 7              May 16, 1993        Fresno                         CA      Y         7             N                          N
 8              Jul 1, 1993         San Francisco                  CA      Y         8             N                          N
 9              Dec 7, 1993         Garden City                    NY      Y         6             N                          N
 10             Apr 20, 1999        Littleton                      CO      Y        13             Y                          Y
 11             Jul 12, 1999        Atlanta                        GA     U          6             Y                          Y
 12             Jul 29, 1999        Atlanta                        GA      Y         9             Y                          Y
 13             Sep 15, 1999        Fort Worth                     TX      Y         7             Y                          Y
 14             Nov 2, 1999         Honolulu                       HI      Y         7             Y                          Y
 15             Dec 26, 2000        Wakeﬁeld                      MA       Y         7             Y                          Y
 16             Dec 28, 2000        Philadelphia                   PA      Y         7             Y                          Y
 17             Aug 26, 2002        Rutledge                       AL     N          6             Y                          Y
 18             Jan 15, 2003        Edinburg                       TX     U          6             Y                          Y
 19             Jul 8, 2003         Meridian                       MS     N          6             Y                          Y
 20             Aug 27, 2003        Chicago                        IL     N          6             Y                          Y
 21             Mar 12, 2004        Fresno                         CA     N          9             Y                          Y
 22             Nov 21, 2004        Birchwood                      WI      Y         6             N                          N
 23             Mar 12, 2005        Brookﬁeld                      WI      Y         7             N                          N
 24             Mar 21, 2005        Red Lake                      MN       Y         9             N                          N
 25             Jan 30, 2006        Goleta                         CA      Y         7             Y                          N
 26             Mar 25, 2006        Seattle                       WA       Y         6             N                          N
 27             Jun 1, 2006         Indianapolis                   IN      Y         7             N                          N
 28             Dec 16, 2006        Kansas City                    KS     N          6             N                          N
 29             Apr 16, 2007        Blacksburg                     VA      Y        32             N                          N
 30             Oct 7, 2007         Crandon                        WI      Y         6             N                          N
 31             Dec 5, 2007         Omaha                          NE      Y         8             N                          N
 32             Dec 24, 2007        Carnation                     WA      U          6             N                          N
 33             Feb 7, 2008         Kirkwood                      MO       Y         6             N                          N
 34             Sep 2, 2008         Alger                         WA      U          6             N                          N
 35             Dec 24, 2008        Covina                         CA      Y         8             Y                          N
 36             Jan 27, 2009        Los Angeles                    CA     N          6             Y                          N
 37             Mar 10, 2009        Kinston, Samson, and Geneva    AL      Y        10             N                          N
 38             Mar 29, 2009        Carthage                       NC     N          8             N                          N
 39             Apr 3, 2009         Binghamton                     NY      Y        13             Y                          N
 40             Nov 5, 2009         Fort Hood                      TX      Y        13             N                          N
 41             Jan 19, 2010        Appomattox                     VA      Y         8             N                          N

                                                                                                                                   Continued



 1756    Research   Peer Reviewed    Klarevas et al.                                                   AJPH   December 2019, Vol 109, No. 12

                                                                                                        Def. Exhibit 54
                                                                                                         Page 001916
       Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 78 of 106 Page ID
                                          #:10308
                                                                                                                   AJPH OPEN-THEMED RESEARCH




 TABLE 1—Continued

Incident           Date                          City                 State       LCM         Deaths, No.       State LCM Ban          Federal Assault Weapons Ban
42             Aug 3, 2010         Manchester                          CT           Y              8                   N                            N
43             Jan 8, 2011         Tucson                              AZ           Y              6                   N                            N
44             Jul 7, 2011         Grand Rapids                        MI           Y              7                   N                            N
45             Aug 7, 2011         Copley Township                     OH          N               7                   N                            N
46             Oct 12, 2011        Seal Beach                          CA          N               8                   Y                            N
47             Dec 25, 2011        Grapevine                           TX          N               6                   N                            N
48             Apr 2, 2012         Oakland                             CA          N               7                   Y                            N
49             Jul 20, 2012        Aurora                              CO           Y             12                   N                            N
50             Aug 5, 2012         Oak Creek                           WI           Y              6                   N                            N
51             Sep 27, 2012        Minneapolis                        MN            Y              6                   N                            N
52             Dec 14, 2012        Newtown                             CT           Y             27                   N                            N
53             Jul 26, 2013        Hialeah                             FL           Y              6                   N                            N
54             Sep 16, 2013        Washington                          DC          N              12                   Y                            N
55             Jul 9, 2014         Spring                              TX           Y              6                   N                            N
56             Sep 18, 2014        Bell                                FL          U               7                   N                            N
57             Feb 26, 2015        Tyrone                             MO           U               7                   N                            N
58             May 17, 2015        Waco                                TX           Y              9                   N                            N
59             Jun 17, 2015        Charleston                          SC           Y              9                   N                            N
60             Aug 8, 2015         Houston                             TX          U               8                   N                            N
61             Oct 1, 2015         Roseburg                            OR           Y              9                   N                            N
62             Dec 2, 2015         San Bernardino                      CA           Y             14                   Y                            N
63             Feb 21, 2016        Kalamazoo                           MI           Y              6                   N                            N
64             Apr 22, 2016        Piketon                             OH          U               8                   N                            N
65             Jun 12, 2016        Orlando                             FL           Y             49                   N                            N
66             May 27, 2017        Brookhaven                          MS          U               8                   N                            N
67             Sep 10, 2017        Plano                               TX           Y              8                   N                            N
68             Oct 1, 2017         Las Vegas                           NV           Y             58                   N                            N
69             Nov 5, 2017         Sutherland Springs                  TX           Y             25                   N                            N

Note. LCM = large-capacity magazine; N = no; U = unknown; Y = yes. From September 13, 1994, until and including September 12, 2004, each and every state,
including the District of Columbia, was subject to a ban on LCMs pursuant to the federal assault weapons ban. To collect the data in Table 1, we searched the
following news media resources for every shooting that resulted in 6 or more fatalities: America’s Historical Newspapers, EBSCO, Factiva, Gannett Newsstand,
Google News Archive, Lexis-Nexis, Newspaper Archive, Newspaper Source Plus, Newspapers.com, Newswires, ProQuest Historical Newspapers, and ProQuest
Newsstand. We also reviewed mass shooting data sets maintained by Mother Jones, the New York Times, and USA Today. In addition to news media sources, we
reviewed reports on mass shootings produced by think tank, policy advocacy, and governmental organizations, including the US Federal Bureau of Investigation
Supplementary Homicide Reports, the crowdsourced Mass Shooting Tracker, and the open-source databases maintained by the Gun Violence Archive and
the Stanford University Geospatial Center. Finally, when it was relevant, we also reviewed court records as well as police, forensic, and autopsy reports. As a
general rule, when government sources were available, they were preferred over other sources. Furthermore, when media sources conﬂicted on the
number of casualties or the weaponry involved, the later sources were privileged (as later reporting is often more accurate).



set of high-fatality mass shootings was no              average of 8 fatalities per incident compared         which the perpetrators did not use LCMs,
exception. As such, the median average                  with 7 fatalities per incident for attacks not        50% (8/16) were in nonban states (Table B,
number of fatalities for each subset of in-             involving LCMs.                                       available as a supplement to the online version
cidents—those involving and those not in-                   For the 60 incidents in which it was known        of this article at http://www.ajph.org). Stated
volving LCMs—was necessarily lower than                 if an LCM was used, in 44 the perpetrator             differently, in nonban states, 81% (34/42) of
the mean average. Nevertheless, like the                used an LCM. Of the 44 incidents in which             high-fatality mass shooting perpetrators used
mean average, the median average was higher             the perpetrators used LCMs, 77% (34/44)               LCMs; in LCM-ban states, only 55% (10/18)
when LCMs were employed—a median                        were in nonban states. In the 16 incidents in         used LCMs.


December 2019, Vol 109, No. 12   AJPH                                                                           Klarevas et al.   Peer Reviewed   Research   1757

                                                                                                                                       Def. Exhibit 54
                                                                                                                                        Page 001917
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 79 of 106 Page ID
                                   #:10309
 AJPH OPEN-THEMED RESEARCH



     The rate of high-fatality mass shootings                  127.4. In the LCM ban states, it was 41.6                      in nonban states was 8.1 per billion pop-
 increased considerably after September 2004                   (Table 2).                                                     ulation; in LCM-ban states it was 2.5 per
 (when the federal assault weapons ban ex-                        For the time period beginning with the                      billion population. The annual rate of high-
 pired). In the 10 years the federal ban was in                ﬁrst full calendar year following the expiration               fatality mass shooting deaths in the non–LCM
 effect, there were 12 high-fatality mass                      of the federal assault weapons ban (January 1,                 ban states was 102.1 per billion population; in
 shootings and 89 deaths (an average of 1.2                    2005–December 31, 2017), there were 47                         the LCM ban states it was 23.3. In terms of
 incidents and 8.9 deaths per year). Since then,               high-fatality mass shootings in the United                     LCM-involved high-fatality mass shootings,
 through 2017, there have been 48 high-                        States. Of these, 39 occurred in states where                  we also found comparable wide differences in
 fatality mass shootings and 527 deaths (an                    an LCM ban was not in effect, and 8 occurred                   incidence and fatality rates between ban and
 average of 3.6 incidents and 39.6 deaths per                  in LCM ban locations. The annual incidence                     nonban states for the post–federal assault
 year in these 13.3 years).                                    rate for high-fatality mass shootings in states                weapons ban period (2005–2017; Table 2).
     Of the 69 high-fatality mass shootings                    without an LCM ban was 13.2 per billion pop-                       We found largely similar results in the
 from 1990 to 2017, 49 occurred in states                      ulation; for states with an LCM ban, it was                    multivariate analyses (1990–2017). States that
 without an LCM ban in effect at the time and                  7.4 per billion population (Table 2). During                   did not ban LCMs were signiﬁcantly more
 20 in states with a ban in effect at the time.                this period, non–LCM ban states had not                        likely to experience LCM-involved high-
 The annual incidence rate for high-fatality                   only more incidents but also more deaths                       fatality mass shootings as well as more likely to
 mass shootings in states without an LCM ban                   per incident (11.4 vs 9.4). In terms of high-                  experience any high-fatality mass shootings
 was 11.7 per billion population; the annual                   fatality mass shooting deaths per billion                      (regardless of whether an LCM was involved).
 incidence rate for high-fatality mass shootings               population, the annual number of deaths in                     States that did not ban LCMs also experienced
 in states with an LCM ban was 5.1 per billion                 the non-LCM ban states was 150.6; in the                       signiﬁcantly more deaths from high-fatality
 population. In that 28-year period, the rate of               LCM ban states it was 69.2 (Table 2).                          mass shootings, operationalized as the abso-
 high-fatality mass shootings per capita was 2.3                  When we limited the analysis solely to                      lute number of fatalities (Table 3).
 times higher in states without an LCM ban                     high-fatality mass shootings that deﬁnitely                        When the LCM bans were separated
 (Table 2).                                                    involved LCMs, the differences between ban                     into federal and state bans, both remained
     Non–LCM ban states had not only more                      and nonban states became larger. For ex-                       signiﬁcantly related to the incidence of
 incidents but also more deaths per incident                   ample, for the entire period of 1990 to 2017,                  LCM-involved high-fatality mass shooting
 (10.9 vs 8.2). The average annual number of                   of the 44 high-fatality mass shootings that                    events and to the number of LCM-involved
 high-fatality mass shooting deaths per billion                involved LCMs, the annual incidence rate for                   high-fatality mass shooting deaths. The as-
 population in the non–LCM ban states was                      LCM-involved high-fatality mass shootings                      sociations between federal and state bans and


  TABLE 2—High-Fatality Mass Shootings (‡ 6 Victims Shot to Death) by Whether LCM Bans Were in Effect: United States, 1990–2017

                                                          Average Annual                Total        Annual Incidents per         Total         Annual Deaths per        Deaths per
                                                      Population, No. (Millions)   Incidents, No.   Billion Population, No.    Deaths, No.    Billion Population, No.   Incident, No.
 All high-fatality mass shootings, 1990–2017 (28 y)
   Non–LCM ban states                                           149.7                   49                   11.7                  534                127.4                 10.9
   LCM ban states                                               140.7                   20                    5.1                  164                  41.6                 8.2
 All high-fatality mass shootings, 2005–2017 (13 y)
   Non–LCM ban states                                           227.8                   39                   13.2                  446                150.6                 11.4
   LCM ban states                                                83.4                     8                   7.4                   75                  69.2                 9.4
 LCM-involved high-fatality mass shootings,
  1990–2017 (28 y)
   Non–LCM ban states                                           149.7                   34                    8.1                  428                102.1                 12.6
   LCM ban states                                               140.7                   10                    2.5                   92                 23.3                  9.2
 LCM-involved high-fatality mass shootings,
  2005–2017 (13 y)
   Non–LCM ban states                                           227.8                   28                    9.5                  369                124.6                 13.2
   LCM ban states                                                83.4                     4                   3.7                   42                  38.7                10.5
 Non-LCM high-fatality mass shootings,
  1990–2017 (28 y)
   Non–LCM ban states                                           149.7                     8                   1.9                   56                  13.4                 7.0
   LCM ban states                                               140.7                     8                   2.0                   60                  15.2                 7.5

 Note. LCM = large-capacity magazine.



 1758   Research      Peer Reviewed      Klarevas et al.                                                                                 AJPH     December 2019, Vol 109, No. 12

                                                                                                                                             Def. Exhibit 54
                                                                                                                                              Page 001918
       Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 80 of 106 Page ID
                                          #:10310
                                                                                                                  AJPH OPEN-THEMED RESEARCH




 TABLE 3—Multivariate Results of the Relationship Between LCM Bans and High-Fatality Mass Shootings (‡ 6 Victims Shot to Death),
 1990–2017 Combined Federal and State Large Capacity Magazine Bans: United States

                                                    LCM-Involved High-Fatality Mass Shootings, b (95% CI)          All High-Fatality Mass Shootings, b (95% CI)
                                                                    a                              b
                                                          Incidents                     No. Deaths                  Incidentsa                    No. Deathsb
All LCM bans (federal and state)                    –2.217 (–3.493, –0.940)        –5.912 (–9.261, –2.563)    –1.283 (–2.147, –0.420)        –3.660 (–5.695, –1.624)
Population density                                  –0.011 (–0.052, 0.031)          0.013 (–0.068, 0.095)      0.001 (–0.003, 0.006)          0.011 (–0.005, 0.026)
  % aged 19–24 y                                    –0.480 (–1.689, 0.730)         –2.496 (–5.893, 0.901)      0.283 (–0.599, 1.164)         –0.585 (–2.666, 1.495)
  % aged 25–34 y                                    –0.801 (–1.512, –0.089)        –2.390 (–4.391, –0.388)    –0.337 (–0.871, 0.197)         –1.114 (–2.463, 0.235)
  % Black                                           –0.227 (–1.062, 0.607)         –0.654 (–2.831, 1.522)     –0.163 (–0.703, 0.377)         –0.261 (–1.391, 0.870)
  % with a bachelor’s degree or higher              –0.009 (–0.492, 0.474)         –0.469 (–1.590, 0.652)      0.143 (–0.214, 0.501)          0.183 (–0.715, 1.081)
Percentage of households with a ﬁrearm (proxy)      –0.047 (–0.195, 0.101)         –0.147 (–0.546, 0.251)     –0.020 (–0.131, 0.091)         –0.084 (–0.368, 0.200)
Median household income                              0.000 (0.000, 0.000)           0.000 (0.000, 0.000)       0.000 (0.000, 0.000)           0.000 (0.000, 0.000)
Unemployment rate                                   –0.072 (–0.293, 0.149)         –0.476 (–1.081, 0.129)      0.041 (–0.135, 0.216)         –0.182 (–0.628, 0.263)
Imprisonment rate (per 100 000 population)          –0.006 (–0.012, 0.001)         –0.007 (–0.017, 0.004)     –0.001 (–0.006, 0.003)         –0.003 (–0.012, 0.007)
Total population                                     0.000 (0.000, 0.000)           0.000 (0.000, 0.000)       0.000 (0.000, 0.000)           0.000 (0.000, 0.000)
Pseudo R 2                                                   0.31                           0.16                       0.26                           0.11

Note. CI = conﬁdence interval; LCM = large-capacity magazine. There were a total of 1428 observations in state-years (51 jurisdictions—all 50 states plus
Washington, DC—over a 28-year period). Mean variance inﬂation factor = 3.49.
a
 Logit regression.
b
  Negative binomial regression.



the overall incidence of all high-fatality mass      since 1990, perpetrators used LCMs. (For                available. In other words, the ﬁrst explanation
shootings as well as the total number of             23%, we determined that they did not involve            is that shooters perceive LCMs to be more
victims in these events remained strongly            LCMs, and a determination could not be made             effective at killing many people; the second
negative but was only sometimes statistically        for the remaining 13%.) Previous research has           explanation is that LCMs are indeed more
signiﬁcant (Table 4).                                shown that LCM ﬁrearms are used in a high               effective at killing many people.
   In terms of sensitivity analyses, using probit    share of mass murders (typically deﬁned as ‡ 4              High-fatality mass shootings are not
instead of logit gave us similar results (not        homicides) and murders of police.9                      common, even in the United States. Between
shown). When the outcome variable was the                We could not ﬁnd reliable estimates of LCM          1990 and 2017, there has been an average
number of high-fatality mass shooting deaths,        ﬁrearms in the US gun stock. However, it                of 2.5 incidents per year, with an average of
we obtained largely similar results concerning       is likely much lower than 64%, given that               25 people killed annually in such attacks.
the association between LCM bans and the             commonly owned ﬁrearms such as revolvers,               However, the number of incidents and the
outcome variables, regardless of whether we          bolt-action riﬂes, and shotguns are not typi-           number of people killed per incident have
used Poisson or negative binominal regression        cally designed to be LCM-capable. During                been increasing since the end of the federal
(not shown). Moreover, replacing the linear          the decade the federal assault weapons ban was          assault weapons ban.
yearly trend with a quadratic function did not       in effect, no ﬁrearms were legally manufactured             In our study, we found that bans on LCMs
change the major results of the analyses (not        with LCMs for sale in the United States. In the         were associated with both lower incidence of
shown). Variance inﬂation factors for all the        postban era, semiautomatic ﬁrearms, especially          high-fatality mass shootings and lower fatality
independent variables never exceeded 10.0,           pistols, are often sold with factory-issue LCMs,        tolls per incident. The difference in incidence
with the variance inﬂation factor for LCM            but ﬁrearms that are not semiautomatic are not          and overall number of fatalities between states,
ban variables always being less than 2.0, in-        sold with such magazines.                               with and without bans, was even greater for
dicating that there were no signiﬁcant mul-              Why do we ﬁnd LCMs so prominent                     LCM-involved high-fatality mass shootings.
ticollinearity issues (Tables 3 and 4).              among high-fatality mass shootings? We                      The multivariate results are largely con-
                                                     suspect there are 2 main reasons. The ﬁrst is           sistent with these bivariate associations. When
                                                     that perpetrators probably deliberately select          we controlled for 10 independent variables
                                                     LCMs because they facilitate the ability to ﬁre         often associated with overall crime rates, as
DISCUSSION                                           many rounds without having to stop to                   well as state and year effects, states with LCM
   In the United States, LCMs are dispro-            reload. The second reason is that the ability           bans had lower rates of high-fatality mass
portionately used in high-fatality mass              of shooters to kill many victims—especially             shootings and fewer high-fatality mass
shootings (incidents in which ‡ 6 victims are        the 6 victims required to be included in our            shooting deaths. When we investigated fed-
shot to death). In at least 64% of the incidents     data set—may be reduced if LCMs are not                 eral and state bans separately in the multiple


December 2019, Vol 109, No. 12     AJPH                                                                        Klarevas et al.   Peer Reviewed   Research     1759

                                                                                                                                        Def. Exhibit 54
                                                                                                                                         Page 001919
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 81 of 106 Page ID
                                   #:10311
 AJPH OPEN-THEMED RESEARCH




  TABLE 4—Multivariate Results of the Relationship Between Large Caliber Magazine Bans and High-Fatality Mass Shootings (‡ 6 Victims Shot to
  Death), 1990–2017 Separate Federal and State Large Caliber Magazine Bans: United States

                                                        LCM-Involved High-Fatality Mass Shootings, b (95% CI)          All High-Fatality Mass Shootings, b (95% CI)
                                                                        a                              b
                                                              Incidents                     No. Deaths                  Incidentsa                    No. Deathsb
 Federal LCM ban                                        –1.434 (–2.622, –0.245)       –3.571 (–7.103, –0.038)      –0.895 (–1.806, 0.016)        –2.570 (–4.902, –0.238)
 State LCM bans                                         –2.603 (–4.895, –0.311)       –8.048 (–15.172, –0.925)     –1.277 (–2.977, 0.422)        –3.082 (–7.227, 1.064)
 Population density                                     –0.012 (–0.055, 0.030)        –0.001 (–0.085, 0.083)        0.001 (–0.003, 0.006)         0.009 (–0.007, 0.024)
   % aged 19–24 y                                       –0.311 (–1.499, 0.878)        –2.589 (–6.057, 0.879)        0.342 (–0.551, 1.236)        –0.531 (–2.759, 1.698)
   % aged 25–34 y                                       –0.812 (–1.532, –0.093)       –2.660 (–4.848, –0.471)      –0.323 (–0.864, 0.217)        –0.848 (–2.236, 0.539)
   % Black                                              –0.229 (–1.101, 0.643)        –0.770 (–3.232, 1.693)       –0.150 (–0.698, 0.398)        –0.154 (–1.321, 1.013)
   % with a bachelor’s degree or higher                 –0.031 (–0.447, 0.509)        –0.479 (–1.577, 0.618)        0.156 (–0.199, 0.511)         0.269 (–0.567, 1.106)
 Percentage of households with a ﬁrearm (proxy)         –0.055 (–0.210, 0.101)        –0.227 (–0.651, 0.196)       –0.019 (–0.133, 0.094)        –0.107 (–0.399, 0.186)
 Median household income                                 0.000 (0.000, 0.000)          0.000 (0.000, 0.000)         0.000 (0.000, 0.000)          0.000 (0.000, 0.000)
 Unemployment rate                                      –0.061 (–0.284, 0.162)        –0.420 (–1.041, 0.201)        0.046 (–0.132, 0.224)        –0.157 (–0.619, 0.305)
 Imprisonment rate (per 100 000 population)             –0.006 (–0.013, 0.000)        –0.012 (–0.026, 0.002)       –0.002 (–0.007, 0.003)        –0.003 (–0.014, 0.007)
 Total population                                        0.000 (0.000, 0.000)          0.000 (0.000, 0.000)         0.000 (0.000, 0.000)          0.000 (0.000, 0.000)
 Pseudo R 2                                                      0.30                          0.15                        0.26                           0.11

 Note. CI = conﬁdence interval; LCM = large-capacity magazine. There were a total of 1428 observations in state-years (51 jurisdictions—all 50 states plus
 Washington, DC—over a 28-year period). Mean variance inﬂation factor = 3.45.
 a
  Logit regression.
 b
   Negative binomial regression.

 regressions, both were signiﬁcantly associated             count than those states with no such bans            also increases. Indeed, of the 13 high-fatality
 with the incidence of LCM-involved high-                   in effect? Yes. In fact, the effect is more          mass shootings with 10 or more fatalities in
 fatality mass shootings as well as the number of           pronounced for high-fatality mass shoot-             our data set, 12 (92%) involved an LCM.
 victims in LCM-involved attacks. The re-                   ings involving LCMs than for those not                   Third, although many high-fatality mass
 lationship between these bans, considered                  involving LCMs.                                      shootings tend to be highly publicized, in 13%
 separately, and all high-fatality mass shooting         4. Do states with LCM bans experience                   of the incidents we reviewed, we could not
 incidence and deaths is often not statistically            high-fatality mass shootings (regardless of          determine whether an LCM was used. As a
 signiﬁcant, although this may be attributable to           whether they involve LCMs) at a lower                sensitivity analysis, we assessed the assump-
 lack of statistical power (number of observa-              rate and a lower fatality count than states          tions that all of the unknown cases ﬁrst did,
 tions) to ﬁnd a statistically signiﬁcant effect.           with no such bans in effect? Yes.                    and then did not, involve LCMs. Neither
     Our analysis provides answers to 4 im-                                                                      assumption appreciably changed our main
 portant questions:                                                                                              results (not shown).
                                                                                                                     Fourth, as a general rule, clustering stan-
 1. How often are LCMs used in high-fatality             Limitations                                             dard errors is most appropriate when there is
    mass shootings? At minimum, 64% of                       Our study had various limitations. First,           a large number of treated units. Although
    high-fatality mass shootings perpetrated             although we carefully searched for every                during the decade of the federal assault
    between 1990 and 2017 involved LCMs.                 high-fatality mass shooting, it is possible that        weapons bans all 50 states plus the District
 2. Are more people killed when LCMs are                 we might have missed some. Nevertheless,                of Columbia regulated LCMs, during the
    used? Yes, and the difference in our data            we suspect that this is unlikely, because it            remaining time periods under examination,
    set is substantial and statistically signiﬁcant      would mean that others who compiled lists               only 8 jurisdictions regulated LCMs. As a
    (11.8 vs 7.3). We should add that our                have also missed the same ones, for we                  result, there is the possibility that the standard
    results likely underestimate the difference          checked our list against multiple sources.              errors were underestimated in our analyses.34
    because we have a truncated sample (we                   Second, our deﬁnition of a high-fatality                Fifth, there were only 69 events that
    only examined incidents with at least 6              mass shooting is a shooting that results in             met our criterion for a “high-fatality mass
    victim fatalities), compounded by the fact           6 or more fatal victims. A different threshold          shooting.” Although 69 is a horriﬁc number
    that the number of homicide incidents fell           criterion (e.g., 6 or more people shot; 5 or            of incidents, for statistical purposes, it is a
    as the number of victims increased.                  more victims killed), might lead to somewhat            relatively small number and limits the power
 3. Do states with LCM bans experience                   different results. We expect that as the                to detect signiﬁcant associations. For example,
    high-fatality mass shootings involving               number of victims in a shooting increases, the          we did not have the statistical power (and thus
    LCMs at a lower rate and a lower fatality            likelihood that the perpetrator used an LCM             did not even try) to determine whether


 1760   Research      Peer Reviewed   Klarevas et al.                                                                        AJPH     December 2019, Vol 109, No. 12

                                                                                                                               Def. Exhibit 54
                                                                                                                                Page 001920
         Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 82 of 106 Page ID
                                            #:10312
                                                                                                                                        AJPH OPEN-THEMED RESEARCH



different aspects of the various LCM laws                          HUMAN PARTICIPANT PROTECTION                                   18. Krouse WJ, Richardson DJ. Mass murder with ﬁre-
                                                                   No protocol approval was needed because no human               arms: incidents and victims, 1999–2013. CRS Report
might have differential effects on the in-                                                                                        R44126. Washington, DC: Congressional Research
                                                                   participants were involved in this study.
cidence of high-fatality mass shootings.                                                                                          Service; 2015.
Moreover, because of suboptimal statistical                                                                                       19. Wilson LC. The Wiley Handbook of the Psychology of
                                                                   REFERENCES
power, there is also the possibility that the                      1. Wintemute GJ. How to stop mass shootings. N Engl            Mass Shootings. Hoboken, NJ: Wiley; 2016.
magnitude of the effects detected was                              J Med. 2018;379(13):1193–1196.                                 20. Klarevas L. Rampage Nation: Securing America From
overestimated.35                                                   2. Reeping PM, Cerda M, Kalesan B, Wiebe DJ, Galea S,          Mass Shootings. Amherst, NY: Prometheus; 2016.
                                                                   Branas CC. State gun laws, gun ownership, and mass             21. Schildkraut J, Elsass HJ. Mass Shootings: Media, Myths,
                                                                   shootings in the US: cross sectional time series. BMJ. 2019;   and Realities. Denver, CO: Praeger; 2016.
                                                                   364(8190):1542–1548.
Public Health Implications                                                                                                        22. Schildkraut J. Mass Shootings in America: Understanding
                                                                   3. Sanger-Katz M, Bui Q. How to reduce mass shooting           the Debates, Causes, and Responses. Denver, CO: ABC-
    LCMs increase the ability to ﬁre large                         deaths? Experts rank gun laws. New York Times. Octo-           CLIO; 2018.
numbers of bullets without having to pause to                      ber 5, 2017. Available at: https://www.nytimes.com/            23. Rocque M, Duwe G. Rampage shootings: an his-
reload. Any measure that can force a pause in                      interactive/2017/10/05/upshot/how-to-reduce-mass-              torical, empirical, and theoretical overview. Curr Opin
                                                                   shooting-deaths-experts-say-these-gun-laws-could-              Psychol. 2018;19(1):28–33.
an active shooting—creating opportunities                          help.html. Accessed June 10, 2019.
for those in the line of ﬁre to ﬂee, take cover,                   4. Kamerow D. Guns don’t kill crowds, people with
                                                                                                                                  24. Phaneuf SW. Mass shootings: understanding the
                                                                                                                                  complexities. In: Hilinski-Rosick CM, Lee DR, eds.
or physically confront a gunman—offers a                           semi-automatics do. BMJ. 2011;342(1):d477.                     Contemporary Issues in Victimology: Identifying Patterns and
possibility of reducing the number of vic-                         5. Barry CL, Webster DW, Stone E, Crifasi CK,                  Trends. New York, NY: Lexington; 2018.
tims in such an attack. To put it in different                     Vernick JS, McGinty EE. Public support for gun vio-            25. Moody CE, Marvell TB. Clustering and standard error
                                                                   lence prevention policies among gun owners and non–
terms, if the only ﬁrearms available were                          gun owners in 2017. Am J Public Health. 2018;108(7):
                                                                                                                                  bias in ﬁxed effects panel data regressions. J Quant Crim;
                                                                                                                                  2018:1–23.
18th-century muskets, it is doubtful that mass                     878–881.
                                                                                                                                  26. Gius M. The impact of state and federal assault
shootings would be the social problem they                         6. Lenett MG. Taking a bite out of violent crime. Univ         weapons bans on public mass shootings. Appl Econ Lett.
are today.                                                         Dayton Law Rev. 1995;20(2):573–617.                            2015;22(4):281–284.
    The impact of individual state ﬁrearm laws                     7. Muchnick JY. The assault weapons ban: saving lives.         27. Blau BM, Gorry DH, Wade C. Guns, laws and public
                                                                   Univ Dayton Law Rev. 1995;20(2):641–651.
is reduced by the fact that guns often move                                                                                       shootings in the United States. Appl Econ. 2016;48(49):
across state lines—occasionally purchased in                       8. Koper CS, Roth JA. The impact of the 1994 federal           4732–4746.
                                                                   assault weapon ban on gun violence outcomes: an as-            28. Follman M, Aronsen G, Pan D. A guide to mass
locales with more permissive laws and taken                        sessment of multiple outcome measures and some lessons         shootings in America. Mother Jones. May 31, 2019.
to states with more restrictive laws. This is                      for policy evaluation. J Quant Criminol. 2001;17(1):33–74.     Available at: https://www.motherjones.com/politics/
partly why efforts aimed at reducing the                           9. Koper CS, Johnson WD, Nicholas JL, Ayers A, Mullins         2012/07/mass-shootings-map. Accessed June 10, 2019.
frequency and lethality of mass shootings                          N. Criminal use of assault weapons and high-capacity           29. Kleck G. Large-capacity magazines and the casualty
                                                                   semiautomatic ﬁrearms: an updated examination of local         counts in mass shootings: the plausibility of linkages. Justice
must necessarily be multifaceted and multi-                        and national sources. J Urban Health. 2018;95(3):313–321.      Res Policy. 2016;17(1):28–47.
disciplinary. Legal restrictions on ﬁrearms are                    10. Giffords Law Center to Prevent Gun Violence. Large         30. Webster DW, Donohue JJ, Klarevas L, et al. Firearms
merely a part of this broader, public health                       capacity magazines. Available at: http://lawcenter.            on college campuses: research evidence and policy im-
approach. That being said, the theory behind                       giffords.org/gun-laws/policy-areas/hardware-                   plications. Report of the Johns Hopkins University
                                                                   ammunition/large-capacity-magazines. Accessed June             Center for Gun Policy and Research. Baltimore, MD:
reducing the availability of LCMs to reduce                        10, 2019.                                                      Johns Hopkins Bloomberg School of Public Health;
the number of victims in mass shootings                            11. Giffords Law Center to Prevent Gun Violence. Assault       2016.
makes sense, and our empirical results, con-                       weapons. Available at: https://lawcenter.giffords.org/         31. Kleck G. Targeting Guns: Firearms and Their Control.
sistent with much of the limited literature on                     gun-laws/policy-areas/hardware-ammunition/assault-             Hawthorne, NY: Aldine de Gruyter; 1997.
                                                                   weapons. Accessed June 10, 2019.
mass shootings, suggest that LCM bans have                                                                                        32. Hemenway D. Private Guns, Public Health. Ann Arbor,
                                                                   12. Webster DW, Champion HR, Gainer PS, Sykes L.
been effective in saving lives.                                                                                                   MI: University of Michigan Press; 2017.
                                                                   Epidemiologic changes in gunshot wounds in Wash-
                                                                   ington, DC, 1983–1990. Arch Surg. 1992;127(6):                 33. Azrael D, Cook PJ, Miller M. State and local prev-
                                                                                                                                  alence of ﬁrearms ownership: measurement, structure and
CONTRIBUTORS                                                       694–698.
                                                                                                                                  trends. J Quant Criminol. 2004;20(1):43–62.
L. Klarevas and D. Hemenway designed the study, col-               13. Koper CS, Roth JA. A priori assertions versus em-
lected the data, and contributed equally to all parts of the       pirical inquiry: a reply to Kleck. J Quant Criminol. 2001;     34. Conley TG, Taber CR. Inference with “difference in
study. A. Conner ran the statistical analyses and helped           17(1):81–88.                                                   differences” with a small number of policy changes. Rev
construct the tables that report the results of the multi-                                                                        Econ Stat. 2011;93(1):113–125.
variate analyses. All authors approved the ﬁnal article as         14. Livingston DH, Lavery RF, Lopreiato MC, Lavery
                                                                   DF, Passannante MR. Unrelenting violence: an analysis of       35. Button KS, Ioannidis JPA, Mokrysz C, et al. Power
submitted.                                                                                                                        failure: why small sample size undermines the reliability of
                                                                   6,322 gunshot wound patients at a level I trauma center. J
                                                                   Trauma Acute Care Surg. 2014;76(1):2–9.                        neuroscience [erratum Nat Rev Neurosci. 2013;14(6):451].
ACKNOWLEDGMENTS                                                                                                                   Nat Rev Neurosci. 2013;14(5):365–376.
The authors would like to thank John Berrigan, research            15. Manley NR, Fabian TC, Sharpe JP, Magnotti LJ,
assistant at the Harvard Injury Control Research Center,           Croce MA. Good news, bad news: an analysis of 11,294
for his assistance with the undertaking of this study.             gunshot wounds (GSWs) over two decades in a single
                                                                   center. J Trauma Acute Care Surg. 2017;84(1):58–65.
                                                                   16. McCullough J. The Ultimate Guide to US Army Combat
CONFLICTS OF INTEREST
L. Klarevas has, in the past 2 years, served as an expert to the   Skills, Tactics and Techniques. New York, NY: Skyhorse;
states of Colorado and California in civil litigation that         2012.
involved the constitutionality of state restrictions on            17. Fox JA, DeLateur MJ. Mass shootings in America:
large-capacity magazines. The authors have no additional           moving beyond Newtown. Homicide Stud. 2014;18(1):
conﬂicts of interest to report.                                    125–145.



December 2019, Vol 109, No. 12            AJPH                                                                                      Klarevas et al.    Peer Reviewed        Research       1761

                                                                                                                                                              Def. Exhibit 54
                                                                                                                                                               Page 001921
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 83 of 106 Page ID
                                   #:10313




                              EXHIBIT G




                                                                Def. Exhibit 54
                                                                 Page 001922
                                                                                                                                                                                    Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 84 of 106 Page ID
                                                                                                                                                                                                                       #:10314
                                                                                                                                                                                                                                                   AAST 2018 PODIUM PAPER



                                                                                                                                                                                                   Changes in US mass shooting deaths associated with
                                                                                                                                                                                                      the 1994–2004 federal assault weapons ban:
                                                                                                                                                                                                              Analysis of open-source data
                                                                                                                                                                                                             Charles DiMaggio, PhD, MPH, Jacob Avraham, MD, Cherisse Berry, MD,
                                                                                                                                                                                                            Marko Bukur, MD, Justin Feldman, ScD, Michael Klein, MD, Noor Shah, MD,
                                                                                                                                                                                                             Manish Tandon, MD, and Spiros Frangos, MD, MPH, New York, New York
Downloaded from https://journals.lww.com/jtrauma by BhDMf5ePHKav1zEoum1tQfN4a+kJLhEZgbsIHo4XMi0hCywCX1AWnYQp/IlQrHD3XGJiJSDa6kLweJRC9c6iOWn8rPOyb+Y2lWHykD5qYRY= on 01/07/2019




                                                                                                                                                                                                                                  AAST Continuing Medical Education Article
                                                                                                                                                                                   Accreditation Statement                                                                       Disclosure Information
                                                                                                                                                                                   This activity has been planned and implemented in accordance with the Es-                    In accordance with the ACCME Accreditation Criteria, the American College of
                                                                                                                                                                                   sential Areas and Policies of the Accreditation Council for Continuing Medical               Surgeons, as the accredited provider of this journal activity, must ensure that anyone
                                                                                                                                                                                   Education through the joint providership of the American College of Surgeons                 in a position to control the content of J Trauma Acute Care Surg articles selected for
                                                                                                                                                                                   and the American Association for the Surgery of Trauma. The American                         CME credit has disclosed all relevant financial relationships with any commercial
                                                                                                                                                                                   College Surgeons is accredited by the ACCME to provide continuing medical                    interest. Disclosure forms are completed by the editorial staff, associate editors,
                                                                                                                                                                                   education for physicians.                                                                    reviewers, and all authors. The ACCME defines a `commercial interest' as “any
                                                                                                                                                                                   AMA PRA Category 1 Credits™                                                                  entity producing, marketing, re-selling, or distributing health care goods or services
                                                                                                                                                                                   The American College of Surgeons designates this journal-based CME activity for              consumed by, or used on, patients.” “Relevant” financial relationships are those (in
                                                                                                                                                                                   a maximum of 1 AMA PRA Category 1 Credit™. Physicians should claim only the credit           any amount) that may create a conflict of interest and occur within the 12’months
                                                                                                                                                                                   commensurate with the extent of their participation in the activity.
                                                                                                                                                                                                                                                                                preceding and during the time that the individual is engaged in writing the article. All
                                                                                                                                                                                       Of the AMA PRA Category 1 Credit™ listed above, a maximum of 1 credit meets
                                                                                                                                                                                                                                                                                reported conflicts are thoroughly managed in order to ensure any potential bias
                                                                                                                                                                                   the requirements for self-assessment.
                                                                                                                                                                                                                                                                                within the content is eliminated. However, if you’perceive a bias within the article,
                                                                                                                                                                                         Credits can only be claimed online                                                     please report the circumstances on the evaluation form.
                                                                                                                                                                                                                                                                                    Please note we have advised the authors that it is their responsibility to disclose within
                                                                                                                                                                                                                                                                                the article if they are describing the use of a device, product, or drug that is not FDA
                                                                                                                                                                                                                                                                                approved or the off-label use of an approved device, product, or drug or unapproved usage.
                                                                                                                                                                                                                                                                                Disclosures of Significant Relationships with
                                                                                                                                                                                                                                                                                Relevant Commercial Companies/Organizations
                                                                                                                                                                                                                                                                                by the Editorial Staff
                                                                                                                                                                                                                                                                                Ernest E. Moore, Editor: PI, research support and shared U.S. patents Haemonetics;
                                                                                                                                                                                                                                                                                PI, research support, Instrumentation Laboratory, Inc.; Co-founder, Thrombo Thera-
                                                                                                                                                                                   Objectives                                                                                   peutics. Associate Editors David Hoyt, Ronald V. Maier and Steven Shackford have
                                                                                                                                                                                   After reading the featured articles published in the Journal of Trauma and Acute
                                                                                                                                                                                                                                                                                nothing to disclose. Editorial staff and Angela Sauaia have nothing to disclose.
                                                                                                                                                                                   Care Surgery, participants should be able to demonstrate increased understanding
                                                                                                                                                                                   of the material specific to the article. Objectives for each article are featured at         Author Disclosures
                                                                                                                                                                                   the beginning of each article and online. Test questions are at the end of the article,      The authors have nothing to disclose.
                                                                                                                                                                                   with a critique and specific location in the article referencing the question topic.         Reviewer Disclosures
                                                                                                                                                                                   Claiming Credit                                                                              The reviewers have nothing to disclose.
                                                                                                                                                                                   To claim credit, please visit the AAST website at http://www.aast.org/ and click on          Cost
                                                                                                                                                                                   the “e-Learning/MOC” tab. You must read the article, successfully complete the               For AAST members and Journal of Trauma and Acute Care Surgery subscribers
                                                                                                                                                                                   post-test and evaluation. Your CME certificate will be available immediately upon            there is no charge to participate in this activity. For those who are not a member
                                                                                                                                                                                   receiving a passing score of 75% or higher on the post-test. Post-tests receiving a score    or subscriber, the cost for each credit is $25.
                                                                                                                                                                                   of below 75% will require a retake of the test to receive credit.
                                                                                                                                                                                   System Requirements
                                                                                                                                                                                   The system requirements are as follows: Adobe® Reader 7.0 or above installed; Internet Explorer® 7 and above; Firefox® 3.0 and above, Chrome® 8.0 and above, or
                                                                                                                                                                                   Safari™ 4.0 and above.
                                                                                                                                                                                   Questions
                                                                                                                                                                                   If you have any questions, please contact AAST at 800-789-4006. Paper test and evaluations will not be accepted.




                                                                                                                                                                                 From the Department of Surgery, Division of Trauma and Critical Care Surgery (C.D., J.A., C.B., M.B., J.F., M.K., N.S., M.T., S.F.), New York University School of Medicine, New
                                                                                                                                                                                     York, New York.
                                                                                                                                                                                 Address for reprints: Charles DiMaggio, PhD, MPH, Department of Surgery, New York University School of Medicine, 462 First Ave, NBV 15, New York, NY 10016-9196; email:
                                                                                                                                                                                     Charles.DiMaggio@nyumc.org.
                                                                                                                                                                                 77th Annual Meeting of AAST and the World Trauma Congress, Sep 26 - 29, 2018, San Diego, California.

                                                                                                                                                                                 DOI: 10.1097/TA.0000000000002060
                                                                                                                                                                                 J Trauma Acute Care Surg
                                                                                                                                                                                 Volume 86, Number 1                                                                                                                                                                        11
                                                                                                                                                                                                                                                                                                                                    Def. Exhibit 54
                                                                                                                                                                                                                                    Copyright © 2018 Wolters Kluwer Health, Inc. All rights reserved.
                                                                                                                                                                                                                                                                                                                                     Page 001923
     Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 85 of 106 Page ID
                                        #:10315                          J Trauma Acute Care Surg
DiMaggio et al.                                                                                                                               Volume 86, Number 1



     BACKGROUND:        A federal assault weapons ban has been proposed as a way to reduce mass shootings in the United States. The Federal Assault
                        Weapons Ban of 1994 made the manufacture and civilian use of a defined set of automatic and semiautomatic weapons and large
                        capacity magazines illegal. The ban expired in 2004. The period from 1994 to 2004 serves as a single-arm pre-post observational
                        study to assess the effectiveness of this policy intervention.
     METHODS:           Mass shooting data for 1981 to 2017 were obtained from three well-documented, referenced, and open-source sets of data, based on
                        media reports. We calculated the yearly rates of mass shooting fatalities as a proportion of total firearm homicide deaths and per US
                        population. We compared the 1994 to 2004 federal ban period to non-ban periods, using simple linear regression models for rates and a
                        Poison model for counts with a year variable to control for trend. The relative effects of the ban period were estimated with odds ratios.
     RESULTS:           Assault rifles accounted for 430 or 85.8% of the total 501 mass-shooting fatalities reported (95% confidence interval, 82.8–88.9) in
                        44 mass-shooting incidents. Mass shootings in the United States accounted for an increasing proportion of all firearm-related ho-
                        micides (coefficient for year, 0.7; p = 0.0003), with increment in year alone capturing over a third of the overall variance in the data
                        (adjusted R2 = 0.3). In a linear regression model controlling for yearly trend, the federal ban period was associated with a statisti-
                        cally significant 9 fewer mass shooting related deaths per 10,000 firearm homicides (p = 0.03). Mass-shooting fatalities were 70%
                        less likely to occur during the federal ban period (relative rate, 0.30; 95% confidence interval, 0.22–0.39).
     CONCLUSION:        Mass-shooting related homicides in the United States were reduced during the years of the federal assault weapons ban of 1994 to
                        2004. (J Trauma Acute Care Surg. 2019;86: 11–19. Copyright © 2018 American Association for the Surgery of Trauma.)
     LEVEL OF EVIDENCE: Observational, level II/IV.
     KEY WORDS:         Firearms; mass-shootings; assault weapons; epidemiology.




I ncreases in firearm-related injuries, particularly mass-shooting
  related fatalities, in the United States have contributed to a po-
larizing and sometimes contentious debate over gun ownership
                                                                                             In a study soon following the implementation of the 1994
                                                                                      ban, researchers reported a 55% decrease in the recovery of as-
                                                                                      sault weapons by the Baltimore City Police in the first 6 months
and limiting weapons characterized as assault weapons.1,2 De-                         of 1995, indicating a statistically significant 29 fewer such fire-
spite the increasing sense that there is an epidemic of indiscrim-                    arms in the population.11 In a 2009 study based on ICD9 exter-
inate firearm violence in our schools and public spaces, there is a                   nal cause of injury codes for patients younger than 18 years in the
paucity of public health evidence on the topic. Among a number                        United States, 11 states with assault and large-capacity magazine
of recommendations, a federal Assault Weapons Ban (AWB) has                           bans, as well as other firearm laws, were compared with 33 states
been proposed as a way to prevent and control mass shootings in                       without such restrictions. The incidence of firearm injuries per
the United States. In this article, we assess evidence for the effec-                 1,000 total traumatic injuries was significantly lower in states
tiveness of such a ban in preventing or controlling mass-shooting                     with restrictive laws, 2.2 compared with 5.9.12 In contrast, a
homicides in the United States.                                                       comprehensive 2001 evaluation of the AWB itself concluded
       While mass shootings occur in other industrialized nations,                    that there was “no evidence of reductions in multiple-victim
the United States is particularly prone to these crimes. In a recent                  gun homicides or multiple-gunshot wound victimizations”. The
30-year period, the United States had double the number of mass-                      authors cautioned their results should be “interpreted cautiously”
shooting incidents than the next 24 industrialized nations com-                       because of the short period since the ban's inception, and that
bined.3 Any public perception of recent increases in the number                       future assessments were warranted.13 More recent studies, while
of these events is borne out by analysis of available data.4 By one                   not primarily addressing the US Federal AWB have found re-
measure, there have been more deaths due to mass shootings in                         sults generally consistent with its effectiveness in preventing
the United States in the past 18 years than in the entire 20th cen-                   mass-shooting fatalities.14,15
tury.5 While there is some debate about the role of mental illness                           We believe sufficient time has passed and enough data
in mass shootings,6–8 many high-profile recent mass shootings                         have accumulated to treat the period from 1994 to 2004 as a nat-
(Aurora, CO; Roseburg, OR; San Bernadino, CA; Newtown,                                uralistic pre-post observational comparison period for the asso-
CT; Orlando; Las Vegas; Sutherland Springs, TX) have been                             ciation of the AWB with changes in mass-shootings in the United
characterized by the use of semiautomatic assault rifles,9 leading                    States. Because there is no authoritative source or registry, or
some to advocate for restrictions on the manufacture and sale of                      even a widely agreed upon definition for these incidents, we ob-
these weapons.                                                                        tained data from three open source references and restricted our
       While survey results indicate that researchers in criminol-                    analyses to only those incidents confirmed by all three sources.
ogy, law and public health rank an assault weapons ban as one of                      We assess evidence for the potential effectiveness of such a ban
the most effective measures to prevent mass shootings, and that                       in preventing and controlling mass-shooting homicides in the
67% of the US general population support such a ban,10 the                            United States. We hypothesized that the implementation of the
existing evidence on banning assault weapons is scant and                             Federal AWB contributed to a reduction in mass shooting deaths
sometimes contradictory. Most evidence is related to the Federal                      as measured by the number and rate of mass shooting fatalities
AWB of 1994, which made illegal the manufacture and use by                            before, during, and after the federal AWB.
civilians of a defined set of automatic and semiautomatic
weapons and large capacity magazines. Formally known as                                                              METHODS
“The Public Safety and Recreational Firearms Use Protection
Act”, the AWB was part of the broader “Violent Crime Control                               Mass incident shooting data were obtained from three in-
and Law Enforcement Act of 1994. The ban lasted 10 years,                             dependent, well-documented and referenced online sources:
expiring in 2004 when the US Congress declined to renew it.                           Mother Jones Magazine, the Los Angeles Times and Stanford

12                                                                                                  © 2018 American Association for the Surgery of Trauma.
                                                                                                                                 Def. Exhibit 54
                                              Copyright © 2018 Wolters Kluwer Health, Inc. All rights reserved.
                                                                                                                                  Page 001924
   Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 86 of 106 Page ID
                                      #:10316
J Trauma Acute Care Surg
Volume 86, Number 1                                                                                                               DiMaggio et al.



University.16–18 These sources have each been the basis for a             for trend with yearly rates based on (1) CDC WISQARS homi-
number of previous studies.19–26 Data from the three online               cide data ending in 2016, (2) extrapolated CDC WISQARS ho-
open-source references were combined. Analyses were restricted            micide data for 2017, and (3) population denominator-based
to incidents reported by all three sources. Entries were further re-      rates. We tested the robustness of our underlying modeling as-
stricted to those for which four or more fatalities (not including        sumptions with an alternate mixed-effects generalized linear model
the shooter) were reported, which meets the strictest definition          of yearly mass shooting fatality counts with an observation-level
of mass shootings as defined by the Federal Bureau of Investi-            random effect to account for overdispersion.
gation.27,28 Yearly homicide data were obtained from the US                      The study was determined to be exempt as nonidentifiable
Centers for Disease Control and Prevention Web-based Injury               data. The study data and analytic code are available for down-
Statistics Query and Reporting System (WISQARS) an online                 load at http://www.injuryepi.org/styled-2/.
database of fatal and nonfatal injury.29 Because 2017 data were
not yet available in the WISQARS system, data for firearm-
related homicide data for that year were obtained from a separate                                      RESULTS
online source.30                                                                  The three data sources listed incidents ranging in number
        A variable was created to indicate the 1994 to 2004 period        from 51 (LA Times) to 335 (Stanford) and in dates from 1966
as the federal ban period. We attempted to identify incidents in-         (Stanford) to 2018 (LA Times). There were a total of 51 reported
volving assault weapons. An assault weapon has been defined               cases of mass shootings between 1981 and 2017 confirmed by all
as semiautomatic rifle that incorporates military-style features          three sources. Forty-four of these incidents met the strictest criteria
such as pistol grips, folding stocks, and high-capacity detachable        for mass shootings (4 or more killed), totaling 501 all-weapon
magazines.31 In this study, assault weapons were identified               fatalities. In total 1,460 persons were injured or killed over
using the text search terms “AK,” “AR,” “MCX,” “assault,” “as-            the 37-year period, for a total case-fatality ratio of 34.3%
sault,” or “semiautomatic” in a text field for weapon details.            (95% CI, 31.9–36.8). The overall rate of mass shooting fatalities
These terms were based on descriptions of the federal assault             per 10,000 firearm-related homicides was 10.2 (95% CI,
ban legislative language.32 The total number of mass shooting             9.4–11.2). There was an increase in the all-weapon yearly
fatalities and injuries were aggregated by year and merged with           number of mass-shooting fatalities in the United States during
the yearly firearm homicide data.                                         the study period, (Fig. 1) and evidence of a decrease in case fatal-
        The rate of mass shooting fatalities per 10,000 firearm ho-       ity in the post-2010 period (Fig. 2). Incidents in which weapons
micide deaths was calculated. For the years covered by the data           were characterized as assault rifles accounted for 430 or 85.8%
sources, we calculated (1) the total and yearly number of mass-           of mass-shooting fatalities (95% CI, 82.8–88.9). Weapons char-
shooting incidents that met the strictest criteria and were con-          acterized as assault rifles accounted for all mass-shooting fatal-
firmed by all three sources, (2) the number of all weapon (assault        ities in 15 (62.5%) of the 24 (95% CI, 42.6–78.9) years for which
and nonassault weapons) mass-shooting fatalities, and (3) the             a mass-shooting incident was reported, accounting for a total of
case-fatality ratio of all-weapon mass-shooting fatalities per 100        230 fatalities in those years.
total mass-shooting fatalities and injuries. The yearly case-fatality             Between 1981 and 2017, mass shootings in the United States
ratio was plotted with overlying Loess line for trend and standard        accounted for an increasing proportion of all firearm-related ho-
error limits. We also plotted the yearly rate of mass shooting fa-        micides, with increment in year accounting for nearly 32% of
talities per 10,000 firearm-related homicides with an overlying           the overall variance in the data. During the years in which the
simple linear model with year as the predictor for (1) the total          AWB was in effect, this slope decreased, with an increase in the
period, and (2) for preban, ban, and postban periods.                     slope of yearly mass-shooting homicides in the postban period
        We evaluated assumptions of normality and linearity of
the data using graphical methods such as density plots and Q-Q
normal plots as well as summary statistics. We tested the hypoth-
esis that the federal ban period was associated with a decrease in
the number and rate of mass-shooting fatalities in the United
States with a multiple linear regression model, with total homi-
cide-based mass-shooting fatality rate as the outcome variable, a
dichotomous indicator variable for the federal ban period as the
predictor variable, and year as a control variable for trend over
time. We calculated the relative risk of mass shooting fatalities
during the federal ban period compared to nonban periods by
using the “epitab” function of the R “epitools” package. This es-
timate is based on the ratio of the fatality rate during the ban pe-
riod divided by the fatality rate during the nonban period. All
results are presented with two-sided p values with a significance
level of 0.05 and/or 95% confidence intervals (CI). We conducted
subgroup analysis with data restricted to incidents in which an
assault-type weapon was explicitly noted.
        We conducted analyses to test the sensitivity of our results
to the choice of denominator with linear regression models controlling    Figure 1. Mass shooting deaths. United States 1981–2017.

© 2018 American Association for the Surgery of Trauma.                                                                                        13
                                                                                                                Def. Exhibit 54
                                       Copyright © 2018 Wolters Kluwer Health, Inc. All rights reserved.
                                                                                                                 Page 001925
     Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 87 of 106 Page ID
                                        #:10317                          J Trauma Acute Care Surg
DiMaggio et al.                                                                                                         Volume 86, Number 1




Figure 2. Case fatality per 100 total mass-shooting injuries with
loess smoothing line for trend and standard error bounds.
United States 1981–2017.

(Fig. 3). A similar pattern was evident in data restricted to those
                                                                        Figure 4. Mass-shooting shooting deaths per 10,000
incidents characterized as involving assault weapons (Fig. 4).
                                                                        firearm-related homicides restricted to incidents involving assault
       In a linear regression model controlling for yearly trend,       weapons with linear trends for preban, ban, and postban periods.
the federal ban period was associated with a statistically signifi-     United States 1981–2017.
cant 9 fewer mass shooting–related deaths per 10,000 firearm
homicides per year (Table 1). The model indicated that year             restricted to just those incidents characterized by the use of an
and federal ban period alone accounted for nearly 40% of all            assault weapon indicated that seven preventable deaths during
the variation in the data (adjusted R2 = 0.37). A subanalysis           the ban period were due to assault weapons alone (Table 2).
                                                                               The risk of mass shooting fatalities during the federal van
                                                                        period was 53 per 140,515 total firearm homicides compared
                                                                        with 448 per 348,528 during the nonban periods, for a risk ratio
                                                                        of 0.30 (95% CI, 0.22–0.39). The calculated risk ratio for the
                                                                        association of the federal ban period with mass-shooting fatali-
                                                                        ties as a proportion of all firearm-related homicides was 0.29
                                                                        (95% CI, 0.22–0.29), indicating that mass shooting fatalities
                                                                        were 70% less likely to occur during the federal ban period.
                                                                               The results of our sensitivity analyses were consistent with
                                                                        our main analyses for total mass shooting fatalities. In a linear
                                                                        regression analysis controlling for yearly trend and restricted to
                                                                        the period ending in 2016 using just CDC WISQARS homicide
                                                                        data as the denominator, the effect of ban period was associated
                                                                        with a statistically significant eight fewer mass shooting related
                                                                        deaths per 10,000 firearm homicides per year (coefficient for
                                                                        ban period, 8.0; p = 0.05). In a similar model using extrapolated
                                                                        CDC WISQARS homicide data for 2017 instead of Online Gun
                                                                        Violence Archive data as the denominator, the effect of ban


                                                                        TABLE 1. Linear Regression Effect of 1994–2004 Federal Assault
                                                                        Weapon Ban on Mass-Shooting Deaths per 10,000 Firearm
                                                                        Homicides, United States, 1981–2017
                                                                        Variable          Estimate        Std. Error        t           p
                                                                        (Intercept)        −1409.4          333.0         −4.2        0.0002
Figure 3. Mass shooting deaths per 10,000 firearm-related               Year                   0.7            0.2          4.3        0.0001
homicides with linear trends for preban, ban, and postban
                                                                        Ban Period            −8.6            3.9         −2.2        0.03
periods. United States 1981–2017.

14                                                                                    © 2018 American Association for the Surgery of Trauma.
                                                                                                             Def. Exhibit 54
                                     Copyright © 2018 Wolters Kluwer Health, Inc. All rights reserved.
                                                                                                              Page 001926
   Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 88 of 106 Page ID
                                      #:10318
J Trauma Acute Care Surg
Volume 86, Number 1                                                                                                                              DiMaggio et al.



                                                                          it must be interpreted in the context of the overall number of
TABLE 2. Linear Regression Effect of 1994–2004 Federal Assault
                                                                          such fatalities, which ranges from none to 60 in any given year
Weapon Ban on Mass-Shooting Deaths Characterized by Use of
Assault Weapon per 10,000 Firearm Homicides, United                       in our data. However, if our linear regression estimate of 9 fewer
States, 1981–2017                                                         mass shooting–related deaths per 10,000 homicides is correct,
                                                                          an assault weapons ban would have prevented 314 of the 448
Variable         Estimate        Std. Error         t            p
                                                                          or 70% of the mass shooting deaths during the nonban periods
(Intercept)      −1219.7           333.9          −3.7         0.0009     under study. Notably, this estimate is roughly consistent with
Year                 0.6             0.2           3.7         0.0008     our odds ratio estimate and Poisson model results.
Ban                 −6.7             3.9          −1.7         0.09              Our results add to the documentation that mass shooting–
                                                                          related homicides are indeed increasing, most rapidly in the
                                                                          postban period, and that these incidents are frequently associated
period was associated with a statistically significant 9 fewer            with weapons characterized as assault rifles by the language of
mass shooting related deaths per 10,000 firearm homicides per             the 1994 AWB. We did not find an increase in the case fatality
year (coefficient for ban period, 8.6; p = 0.03). A model based           ratio of mass-shooting deaths to mass-shooting injuries. This
on the total yearly US population as the denominator, the effect          might at first seem counterintuitive and paradoxical. The destruc-
of ban period was associated with a statistically significant 0.4         tive effect of these weapons is unequivocal. They are engineered
fewer mass shooting related deaths per 10,000,000 population              to cause maximum tissue damage rapidly to the greatest number
(coefficient for ban period, 0.4; p = 0.02).                              of targets. However, it may be that the use of these kinds of
       The results of a mixed-effects generalized linear Poisson          weapons results in indiscriminate injury with additional rounds
model of yearly mass shooting fatality counts with an observa-            more likely to injure more people increasing the denominator
tion-level random effect to account for overdispersion were very          in a case-fatality ratio. By contrast, the use of nonassault weapons
similar whether the offset variable was the number of total fire-         may result in more precise targeting of victims. It is also possible
arm deaths or the population size. In either case, the assault            that improvements in trauma care are driving down case fatal-
weapons ban period was associated with an approximately                   ity.37 Also, it is worth noting that in absolute terms, there were
85% reduction in mass shooting fatalities (Table 3).                      many more fatalities outside the ban period and that survivable
                                                                          injury comes with its own physical, emotional, and economic
                            DISCUSSION                                    costs, which have been estimated at US $32,237 per hospital
                                                                          admission.38
       Recently, 75% of members of the American College of                       Despite US federal funding restrictions on firearm-related
Surgeons Committee on Trauma endorsed restrictions to “civilian           research dating to 1996,39,40 there is a small but growing number
access to assault rifles (magazine fed, semiautomatic, i.e.,              of analyses of mass shooting violence in the United States.
AR-15),”33 and 76% of the Board of Governors were in favor                Many articles have focused on the mental health aspects of these
of a limit to “… civilian access to ammunition designed for mil-          incidents,41–43 or on social effects like increased firearm acqui-
itary or law enforcement use (that is, armor piercing, large mag-         sition following mass shootings.44,45 However, fewer studies
azine capacity).”34 In 2015, the American College of Surgeons             have taken a strictly public health or clinical approach. Among
joined seven of the largest most prestigious professional health          these, an autopsy-based study of the incidence and severity of
organizations in the United States and the American Bar Asso-             mass-shooting casualties concluded the wound patterns differed
ciation to call for “restricting the manufacture and sale of              sufficiently from combat injuries to require new management
military-style assault weapons and large-capacity magazines               strategies, indicating there is much to be learned from a system-
for civilian use.”35 This analysis adds evidence to support these         atic epidemiological perspective.46 Recently, there have been
recommendations.                                                          calls to remove such funding restrictions from both academics
       No observational epidemiologic study can answer the ques-          and elected officials from across the political spectrum.47,48
tion whether the 1994 US federal assault ban was causally related                Our choice of data and analytic approach may reasonably
to preventing mass-shooting homicides. However, this study adds           be debated. We chose to base our analyses on the yearly rate of
to the evidence by narrowly focusing our question on the potential        mass shooting fatalities per 10,000 overall firearm homicides.
effect of a national assault weapon ban on mass shootings as mea-         This is not a population-based risk estimate, but is in fact a risk
sured through the lens of case fatality. While the data are amena-        as commonly used in the epidemiologic literature which is es-
ble to a number of additional analyses, such as stratification by         sentially a probability statement, that is, the number of events
location (e.g. school vs. nonschool) or by characterization of
large-capacity magazines versus non large-capacity magazine,
we chose to focus only on year of occurrence and total number             TABLE 3. Exponentiated Coefficients Generalized Linear
of fatalities. In this way, we relied on the least subjective aspects     Poisson Model
of the published reports. We believe our results support the con-                                 Homicide Offset                        Population Offset
clusion that the ban period was associated with fewer overall             Variable           Estimate            95% CI              Estimate             95% CI
mass-shooting homicides. These results are also consistent with           Year                  0.6                0.2                  3.7               0.0008
a similar study of the effect of a 1996 ban on assault type weapons       Ban                  −6.7                3.9                 −1.7               0.09
in Australia after which mass-shooting fatalities dropped to zero.36
       While the absolute effects of our regression analyses ap-               Effect of 1994–2004 federal assault weapon ban on mass-shooting death counts. United
                                                                          States, 1981–20017.
pears modest (7 to 9 fewer deaths per 10,000 firearm-homicides),

© 2018 American Association for the Surgery of Trauma.                                                                                                         15
                                                                                                                          Def. Exhibit 54
                                       Copyright © 2018 Wolters Kluwer Health, Inc. All rights reserved.
                                                                                                                           Page 001927
     Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 89 of 106 Page ID
                                        #:10319                          J Trauma Acute Care Surg
DiMaggio et al.                                                                                                                   Volume 86, Number 1



that occurred over the number of times that event could occur. It                An assault weapon ban is not a panacea, nor do our anal-
is the risk of a homicide occurring as a result of a mass shooting.      yses indicate that an assault weapon ban will result in fewer
It may be considered a strong assumption to build mass shooting          overall firearm-related homicides. It is important to recognize
death rates based on the overall firearm homicide rate. The de-          that suicides make up the majority of firearm-related deaths in
mographics of most homicide victims may differ appreciably               the United States, accounting for 60.7% of 36,252 deaths from
from those of mass shooting victims. We selected this approach           firearms in 2015.51 However, while this is a critically important
from among a number of imperfect potential denominators, be-             issue in its own right, suicides differ fundamentally from mass-
lieving that basing the rates on the number of firearm-homicides         shootings, and are unlikely to be affected by an assault weapons
partly controls for secular trends in overall homicides and fire-        ban. Also, compared with the 501 mass-shooting fatalities we
arm availability. Our sensitivity analyses indicate that our results     counted, there were 489,043 firearm-related homicides in the
were robust to most any choice of denominator. We chose linear           United States. Public health efforts should be directed at reduc-
regression as our primary model because it was straightforward,          ing all gun violence and must be multipronged, including
accessible to most readers, accounted for linear trends in the           targeted initiatives to address mental illness and reducing access
data, and returned results in the metric in which we were most           to weapons in those with a propensity for violence. However,
interested, that is, changes in the rate of fatalities. Our compara-     taken in the context of the increase in mass shootings in the
tive Poisson model results were essentially consistent with the          United States, these results support the conclusion that the fed-
primary model.                                                           eral AWB of 1994 to 2004 was effective in reducing mass shoot-
        These analyses are subject to a number of additional lim-        ing–related homicides in the United States, and we believe our
itations and caveats, primary among which is that there is no au-        results support a re-institution of the 1994 federal assault
thoritative source of data on mass shooting, and any one source          weapons ban as a way to prevent and control mass shooting fa-
may be biased and incomplete. It was for this reason that we             talities in the United States.
chose to combine three independent sources of data, each with
its own strengths and weaknesses, and base our analyses only             DISCLOSURE
on those numbers that were verified by all three sources. We fur-        The authors have no conflicts of interest to declare.
ther restricted our analyses to only the number of fatalities and        There are no federal or nonfederal funding sources associated with this study.
the year in which the incident occurred, and to the strictest defi-
nition of mass shootings as defined by the Federal Bureau of In-
vestigation.27,28 Even with this approach, the data remain
imprecise and subject to differing definitions. We attempted to
                                                                                                       REFERENCES
compensate for this by framing our questions as precisely as              1. Wolchover N. Why gun control is so contentious in the US. LiveScience. 20
possible, following the advice of the scientist and statistician             July 2012 https://www.livescience.com/21741-gun-control-second-
John Tukey to pursue, “… an approximate answer to the right                  amendment.html. Accessed 10 August 2018.
question ...(rather) than the exact answer to the wrong question...”      2. Bond S. Students take the lead in US gun control debate. Financial Times. 23
        In this study, we failed to falsify the hypothesis that the          February 2018. https://www.ft.com/content/9341021e-1818-11e8-9376-
                                                                             4a6390addb44. Accessed 10 August 2018.
AWB was associated with a decrease in mass shooting fatalities            3. Lemieux F. 6 things to know about mass shootings in America. Scientific
in the United States. However, it is important to note that our              American. 13 June 2016. https://www.scientificamerican.com/article/6-
model did not include important and potentially confounding                  things-to-know-about-mass-shootings-in-america/. Accessed 6 June 2018.
factors like state-level and local differences in assault weapon          4. Webster DW. The true effect of mass shootings on Americans. Annals of In-
laws following the sun downing of the federal AWB. Additional                ternal Medicine. 16 May 2017. The http://annals.org/aim/fullarticle/
analyses including such variables and using approaches like pro-             2624992/true-effect-mass-shootings-americans. Accessed 6 June 2018.
                                                                          5. Katsiyannis A, Whitford DK, Ennis RB. Historical examination of United
pensity score matching and regression discontinuity49 with data              States intentional mass school shootings in the 20th and 21st centuries: im-
further aggregated to state and local levels are necessary to test           plications for students, schools, and society. Child Fam Stud. (19 April
the strength and consistency of our results.                                 2018). https://doi.org/10.1007/s10826-018-1096-2.
        Federally referenced denominator data were not available          6. Follman M. Mass shootings: maybe what we need is a better mental-health
for the last year of the study. We chose to use data from the Online         policy. Mother Jones. 9 November 2012. https://www.motherjones.com/
                                                                             politics/2012/11/jared-loughner-mass-shootings-mental-illness/. Accessed
Gun Violence Archive to account for firearm homicide in 2017.                11 August 2018.
This resource is a nonpartisan not-for-profit group founded and           7. Carey B. "Are mass murderers insane? Usually not, researchers say". New
maintained by a retired computer systems analyst and gun advo-               York Times. 8 November 2017. https://www.nytimes.com/2017/11/08/
cate.50 The alternative would have been to extrapolate from the              health/mass-murderers-mental-illness.html. Accessed 11 August 2018.
CDC data, but the 15,593 firearm-related homicides reported               8. Duwe G, Rocque M. Actually, there is a clear link between mass shootings
by the Online Gun Violence Archive in 2017 was more consis-                  and mental illness. Los Angeles Times. 23 February 2018. http://www.
                                                                             latimes.com/opinion/op-ed/la-oe-duwe-rocque-mass-shootings-mental-
tent with the 14,415 reported by CDC in 2016 compared with                   illness-20180223-story.html. Accessed 11 August 2018.
the 11,599 predicted by an extrapolation and returned more con-           9. Gillin J, Greenberg J, Jacobson L, Valverde M. The facts on mass shootings
servative estimates of the increased rate of recent mass shoot-              in the United States. Politifact. 8 November 2017. http://www.politifact.com/
ings. We note there were many years in which the number of                   truth-o-meter/article/2017/nov/08/facts-mass-shootings-united-states/. Ac-
mass-shooting fatalities is listed as zero. There were, in fact, fa-         cess 6 June 2018.
                                                                         10. Sanger-Katz M, Bui Q. How to reduce mass shooting deaths? Experts rank
talities and incidents in those years that could meet a definition           gun laws. New York Times. 5 October 2017. https://www.nytimes.com/
of mass shooting, but they were not reported by all three sources,           interactive/2017/10/05/upshot/how-to-reduce-mass-shooting-deaths-
or did not meet the strict criteria we set for this analysis.                experts-say-these-gun-laws-could-help.html. Accessed 6 June 2018.

16                                                                                     © 2018 American Association for the Surgery of Trauma.
                                                                                                                    Def. Exhibit 54
                                      Copyright © 2018 Wolters Kluwer Health, Inc. All rights reserved.
                                                                                                                     Page 001928
   Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 90 of 106 Page ID
                                      #:10320
J Trauma Acute Care Surg
Volume 86, Number 1                                                                                                                                  DiMaggio et al.


11. Weil DS, Knox RC. The Maryland ban on the sale of assault pistols and high-      36. Chapman S, Alpers P, Jones M. Association between gun law reforms and
    capacity magazines: estimating the impact in Baltimore. Am J Public Health.          intentional firearm deaths in Australia, 1979-2013. JAMA. 2016;316(3):
    1997;87(2):297–298.                                                                  291–299.
12. Safavi A, Rhee P, Pandit V, Kulvatunyou N, Tang A, Aziz H, Green D,              37. DiMaggio C, Ayoung-Chee P, Shinseki M, Wilson C, Marshall G, Lee DC,
    O'Keeffe T, Vercruysse G, Friese RS, et al. Children are safer in states with        Wall S, Maulana S, Leon Pachter H, Frangos S. Traumatic injury in the U.S.:
    strict firearm laws: a national inpatient sample study. J Trauma Acute Care          in-patient epidemiology 2000-2011. Injury. 2016;47(7):1393–1403.
    Surg. 2014;76(1):146–150; discussion 150–1.                                      38. Peek-Asa C, Butcher B, Cavanaugh JE. Cost of hospitalization for firearm
13. Koper CS, Roth JA. The impact of the 1994 Federal Assault Weapon ban on              injuries by firearm type, intent, and payer in the U.S. Inj Epidemiol. 2017;
    gun violence outcomes: an assessment of multiple outcome measures and                4(1):20.
    some lessons for policy evaluation. J Quant Criminol. 2001; Vol. 17, No. 1.      39. Wexler L. "gun shy: how a lack of funds translates to inadequate research on
14. Gius M. The impact of state and federal assault weapons bans on public mass          gun violence in America". Hopkins Bloomberg Public Health Fall. 2017;
    shootings. Applied Economics Letters. 2015;22(4):281–284.                            https://magazine.jhsph.edu/2017/fall/features/cassandra-crifasi-hopkins-
15. Lemieux F, Bricknell S, Prenzler T. Mass shootings in Australia and the              moderate-gun-owner-gun-policy-researcher/how-the-dickey-amendment-
    United States, 1981-2013. Journal of Criminological Research, Policy and             affects-gun-violence-research.html. Access 5 June 2018.
    Practice. 1(3):131–142.                                                          40. Greenberg J. Spending bill's gun research line: does it nullify dickey amend-
16. Follman M, Aronsen G, Pan D, Caldwell M. US mass shootings, 1982-2018:               ment? Politifact. 27 March 2018. http://www.politifact.com/truth-o-meter/
    data from mother Jones’ investigation. Mother Jones. 2012; https://www.              article/2018/mar/27/spending-bills-gun-research-line-does-it-matter/.
    motherjones.com/politics/2012/12/mass-shootings-mother-jones-full-data/.             Accessed 6 June 2018.
    Accessed 3 June 2018.                                                            41. Pinals DA, Anacker L. Mental illness and firearms: legal context and clinical
17. The Los Angeles times staff. “Deadliest U.S. mass shootings”, 1984-2017.             approaches. Psychiatr Clin North Am. 2016;39(4):611–621.
    Los Angeles Times. Oct 1, 2017, timelines latimes.com/deadliest-shooting-        42. Leiner M, De la Vega I, Johansson B. Deadly mass shootings, mental health,
    rampages/. Accessed 29 August 2018.                                                  and policies and regulations: what we are obligated to do!. Front Pediatr.
18. Stanford mass shootings in America, courtesy of the Stanford Geospatial              2018;6:99.
    Center and Stanford libraries. 2016. Available at: https://library.stanford.     43. Swartz MS, Bhattacharya S, Robertson AG, Swanson JW. Involuntary outpa-
    edu/projects/mass-shootings-america. Accessed 29 August 2018.                        tient commitment and the elusive pursuit of violence prevention. Can J
19. Fox JA, Levin J, Fridel EE. Extreme Killing: Understanding Serial and Mass           Psychiatry. 2017;62(2):102–108.
    Murder. Sage Publications; 2018.
                                                                                     44. Studdert DM, Zhang Y, Rodden JA, Hyndman RJ, Wintemute GJ. Handgun
20. Dillon L. Mass Shootings in the U.S.: An Exploratory Study of the Trends             acquisitions in California after two mass shootings. Ann Intern Med. 2017;
    from 1982–2012. PhD thesis; 2014.                                                    166(10):698–706.
21. Lankford A. Public mass shooters and firearms: a cross-national study of 171     45. Stroebe W, Leander NP, Kruglanski AW. The impact of the Orlando mass
    countries. Violence Vict. 2016;31(2):187.                                            shooting on fear of victimization and gun-purchasing intentions: not what
22. Lowe SR, Galea S. The mental health consequences of mass shootings.                  one might expect. PLoS One. 2017;12(8):e0182408.
    Trauma Violence Abuse. 2017;18(1):62–82.
                                                                                     46. Smith ER, Shapiro G, Sarani B. The profile of wounding in civilian public
23. Fox JA, Fridel EE. The tenuous connections involving mass shootings, men-            mass shooting fatalities. J Trauma Acute Care Surg. 2016;81(1):86–92.
    tal illness, and gun laws. Violence Gend. 2016;3(1):14–19.
                                                                                     47. Behrman P, Redding CA, Raja S, Newton T, Beharie N, Printz D. Society of
24. Luca M, Malhotra DK, Poliquin C. The impact of mass shootings on gun pol-            Behavioral Medicine (SBM) position statement: restore CDC funding for
    icy. Harvard Business School NOM Unit Working Paper No. 2016;1:16–126.               firearms and gun violence prevention research. Transl Behav Med. 2018.
25. Buchholtz LK. Command-directed mental health evaluations and mental
                                                                                     48. Wong S. "GOP chairman: congress should rethink CDC ban on gun violence
    health related discharges from the U.S. military: an argument for command
                                                                                         research". The Hill. 15 February 2018 http://thehill.com/homenews/house/
    authority. J Health Care Finance. 2016.
                                                                                         374149-gop-chairman-congress-should-rethink-cdc-ban-on-gun-violence-
26. Bradley K. Code blue: the expanding field of tactical/battlefield medicine.          research. Accessed 5 June 2018.
    J Law Enforcement. 2017;6(2).
                                                                                     49. Basu S, Meghani A, Siddiqi A. Evaluating the health impact of large-scale
27. Smart R. Mass shootings: definitions and trends. RAND Corporation.                   public policy changes: classical and novel approaches. Annu Rev Public
    https://www.rand.org/research/gun-policy/analysis/supplementary/mass-                Health. 2017;38:351–370.
    shootings.html. Accessed 2 June 2018.
                                                                                     50. Drange M. The Kentucky gun owner who developed his own count of gun
28. Krouse WJ, Richardson DJ. Mass Murder with Firearms: Incidents and
                                                                                         violence in the US. The Guardian. 23 April 2016. https://www.
    Victims, 1999–2013. Washington, D.C.: Congressional Research Service,
                                                                                         theguardian.com/world/2016/apr/23/kentucky-gun-owner-gun-violence-
    R44126 2015.
                                                                                         archive-mark-bryant. Accessed 5 June 2018.
29. Centers for Disease Control and Prevention. CDC’s WISQARS (web-based
                                                                                     51. Murphy SL, Xu J, Kochanek KD, Curtin SA, Elizabeth Arias E. National Vi-
    injury statistics query and reporting system). https://www.cdc.gov/injury/
    wisqars/fatal.html. Accessed 12 February 2018.                                       tal Statistics Reports. Volume 66, Number 6 November 27, 2017. Deaths: Fi-
                                                                                         nal Data for 2015. Centers for Disease Control and Prevention.
30. The online gun violence archive: past summary ledgers. http://www.
     gunviolencearchive.org/past-tolls. Accessed 12 February 2018.
31. Studdert DM, Donohue JJ, Mello MM. Testing the immunity of the firearm                                        DISCUSSION
    industry to tort litigation. JAMA Intern Med. 2017;177(1):102–105.                       Ernest E. "Gene" Moore, MD (Denver, Colorado): Thank
32. Public Safety and Recreational Firearms Act. P.L. 103-322, Title XI. 103rd       you, Dr. Rotondo and Dr. Reilly. Can I please have the discus-
    Cong. (1994).                                                                    sion video. [sounds of a gun shooting]. Well, that is the AR15
33. Kuhls DA, Campbell BT, Burke PA, Allee L, Hink A, Letton RW,                     rifle. Literally, 30 potential lethal shots delivered within 10 sec-
    Masiakos PT, Coburn M, Alvi M, Lerer TJ, et al. Survey of American Col-
    lege of Surgeons Committee on trauma members on firearm injury: consen-
                                                                                     onds. Is this safe to have in our society?
    sus and opportunities. J Trauma Acute Care Surg. 2017;82(5):877–886.                     I congratulate Dr. DiMaggio and his colleagues from
34. Puls M, Kuhls D, Campbell B, Burke P, Michelassi F, Stewart R. Survey of         NYU for their superb presentation on a very timely issue. The
    the American College of Surgeons Board of governors on firearm injury            AAST has had a long-term interest in reducing gun violence in
    prevention: consensus and opportunities. Bull Am Coll Surg. 2017;                the United States, and has recently published our 14-point ap-
    102(10):30–36.
                                                                                     proach. Access to assault rifles is one of them. At a reductionist
35. Weinberger SE, Hoyt DB, Lawrence HC 3rd, Levin S, Henley DE, Alden ER,
    Wilkerson D, Benjamin GC, Hubbard WC. Firearm-related injury and death
                                                                                     level, mass shootings are the net result of (1) a deranged person
    in the U.S.: a call to action from 8 health professional organizations and the   intending to kill random individuals in a populated area, and (2)
    American Bar Association. Ann Intern Med. 2015;162(7):513–516.                   the use of an assault rifle. Since we seem to be unable to identify

© 2018 American Association for the Surgery of Trauma.                                                                                                             17
                                                                                                                                Def. Exhibit 54
                                              Copyright © 2018 Wolters Kluwer Health, Inc. All rights reserved.
                                                                                                                                 Page 001929
     Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 91 of 106 Page ID
                                        #:10321                          J Trauma Acute Care Surg
DiMaggio et al.                                                                                                           Volume 86, Number 1



the active shooter preemptively, we are left with the alternative                In sum, this study adds to overwhelming evidence that as-
solution of eliminating the weapon.                                       sault rifles are an essential component in the dramatic escalation
       The presentation today provides evidence that a federal as-        of mass shootings in the United States. While the scientific data
sault weapon ban can reduce mass shootings. According to our              to support a federal ban on civilian assault rifles is imperfect due
recent national trauma surgeon surveys, three-fourths of us in            to inadequate research support, I submit collectively the existing
the audience, including me, would like to believe the analysis;           information argues strongly for enactment of this measure, and
but I think we need to consider some of the potential limitations.        compliment the authors for their timely contribution.
       Many of these issues relate to the fact that research support             Sheldon H. Teperman, MD (Bronx, New York): Dr.
for gun violence control in the United States remains frustrat-           DiMaggio, your home institution, Bellevue, plays a seminal role
ingly suppressed and fundamentally inadequate. The general                in the trauma center safety of our nation.
lack of information, low quality of data, and need to merge data                 In fact, right now, your trauma medical director is not
sets from diverse sources – medical, coroner, police, legal, and          present with us, but he is at home on guard for the U.N. General
behavioral – compounded by scarce funding and public contro-              Assembly. But in New York, we don't see long-gun injuries. New
versy, undermine research to inform policy and enlighten the              York has the Safe Act, and there is an assault weapons ban. So
public. The fact that you had to compare three open-access data-          why is it so important to America's trauma center – Bellevue –
bases to be certain that the reported mass shootings occurred un-         that we see a national ban on assault rifles?
derscores this deficiency.                                                       Charles E. Lucas, MD (Detroit, Michigan): Thank you
       Furthermore, there is no definition of a mass shooting, al-        for your nice presentation. How many of these incidents oc-
though you employed perhaps the most acceptable at the mo-                curred in an inner-city environment, where most of the victims
ment – the FBI's definition. Could you explain for us the                 that we treat have received multiple wounds which were pur-
rationale for this definition?                                            posely inflicted in order to compete competitively for the distribu-
       You present an analysis of 44 events with four or more             tion of heroin and other drugs? Also, how many of the assailants
deaths, including the shooter, from 1981 to 2017 – a 36-year period;      were African-American?
whereas, others suggest a much higher incidence, such as Klaveras,               Martin A. Croce, MD (Memphis, Tennessee): Thank you.
who reported 69 shootings of six or more over the past 27 years.          I want to commend the authors for an excellent study, and really,
       Identifying all known mass shootings per year during a             not so much to ask any questions but I rise to put out a plea to the
study period would be useful to appreciate the overall trends,            membership that this issue is a public health problem.
as your data somewhat understates the magnitude of mass shoot-                   This is not a right versus left problem, this is not a Second
ings in the United States.                                                Amendment problem. This is a public health problem.
       You employed the Gun Violence Archive to estimate ho-                     And to quote Wayne Meredith at one of the recent Board
micides in 2017. Why did you not use this source for mass                 meetings, "Our primary goal is to reduce the number of bullet
shootings? The Archive has reported an alarming 261 mass                  holes in people.” So I implore the Membership to correct this
shootings – defined as six or more shot – thus far in 2018. None-         dearth of research that is going on about gun violence in order
theless, in the sample you studied, assault rifles accounted for          to promote a public health approach, so that we can reduce the
greater than 85 percent of the fatalities, and this is the key issue.     number of bullet holes in people.
       You have evaluated the impact of the federal assault rifle                Deborah A. Kuhls, MD (Las Vegas, Nevada): And to carry
ban by analyzing the rate of mass shootings per 10,000 firearm            on that thought, I would urge the authors to incorporate the pub-
homicide deaths per year to adjust for confounders. This would            lic health data from the CDC when it is available, because part of
assume that the factors influencing mass shootings are the same           the methodological issues for this paper is that one data set was
as those for homicides, which seems very unlikely. You have               used for a certain period of time.
idicated that you analyzed mass-shooting fatalities per population               But for the last year, the CDC data was not used because it
per year; perhaps you could elaborate more about this analysis.           was not available, so I would urge you to not only do that anal-
       Another confounder as acknowledged in the presentation             ysis, but I would also urge the Journal of Trauma to consider an
is the impact of individual state limitations on magazine capac-          update to that article when that is available. Thank you.
ity. The first state to enforce these limitations was New Jersey in              Charles DiMaggio, MPH, PhD (New York, New York):
1990, and now at least eight states and Washington, D.C., have            Thank you very much for all these comments and questions.
these restrictions in effect. How can we distinguish the effects                 Dr. Moore, so with regard to your observation about the
of this policy? And could this be a potential bridge to ultimately        reductionist approach to looking at this particular issue, that puts
reestablish a national assault rifle ban?                                 me in the mind very much of the traditional epidemiologic triad
       You have also calculated the case fatality of all weapons in       of agent, host, and environment, and if you break one link in that
mass shootings per 100 total shootings, finding a decrease since          connection, you can break the transmission. In this case, we could
2010. While you conjecture this may be due to indiscriminate in-          call assault weapons one link, whether it's agent or host, we
jury from assault rifles or possibly attributed to better trauma          can decide.
care, I am uncertain how this is relevant to the issue of banning                With regards to the rationale for the definition, I think it's
assault rifles. The Las Vegas shooting is a cogent example of             reflective of the lack of research in this area.
how these data may be misleading.                                                A case definition is an essential and critical first step in
       Finally, there is the issue of so-called falsification that        any epidemiologic investigation, and you can see that we are
could be addressed by examining other causes of trauma mortal-            barely there. I think the FBI definition makes sense, I think it's
ity during this time period.                                              the oldest one, I think it's informed by expert consensus.

18                                                                                    © 2018 American Association for the Surgery of Trauma.
                                                                                                               Def. Exhibit 54
                                       Copyright © 2018 Wolters Kluwer Health, Inc. All rights reserved.
                                                                                                                Page 001930
   Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 92 of 106 Page ID
                                      #:10322
J Trauma Acute Care Surg
Volume 86, Number 1                                                                                                               DiMaggio et al.



       And I think all the other definitions are based in some            results are robust and invariant to the choice of denominator in
form on that, which is why we chose it. And I would urge that if          this case.
we are going to be doing this research going forward, probably it                Can we distinguish local effects, and could this possibly
would be best if we all had the consensus that that be the definition.    be a bridge to reestablishing an assault rifle ban? The short an-
       Why did we not use the Gun Violence Archive to estimate            swer is yes and yes. We can distinguish local effects.
some of these results, and why are our numbers so much smaller                   We took a very broad approach on this particular study as
than some of the other numbers? I have to agree, our numbers              a first pass on the data. But, there are data sources (and even
are very much an under-count.                                             within the data sources we used) where you can tease out local,
       We restricted our analysis to these three databases. And so        municipal and state policies.
the limiting factor was the one database. And I can tell you it was              Also, we can link our data to other sources that have those
the LA Times – they had the fewest number. And if it wasn't in the        variables. There are statistical methods available that will not
LATimes, then the other databases didn't contribute to this data set.     only account for those variables, but also allow us to measure
       We felt that the important aspect of this particular study         or estimate in some way the contribution of local or regional var-
was to demonstrate the relative effects, merits or associations           iation in these policies to the overall effectiveness.
with the assault weapon ban as opposed to documenting the ab-                    The issue of the case fatality rate is very interesting and
solute numbers.                                                           challenging. I want to note that there was a paper in JAMA on
       So the Gun Archive, for example, defines mass shootings            September 11th – just a couple of weeks ago – looking at mass
as four or more deaths or injuries. That really raises the number         shooter fatalities, that came essentially to the same conclusion –
of deaths that can be included. We didn't include it, but I think         that there has been this recent decrease.
going forward we absolutely should.                                              In our paper, in this write-up, we look at three potential ex-
       With regard to the analysis using population denomina-             planations, and one of them is, first of all, it's just a matter of de-
tors, we agree, actually, that gun homicides are an imperfect             nominator. These are indiscriminate weapons.
denominator. We also felt that population was an imperfect                       You have someone shooting at a large group of people,
denominator. And again, as we keep on circling around, it has             and there are going to be more injuries and more casualties,
to do with the data in this case.                                         and it just inflates the denominator in this case.
       We did feel that gun homicides captured something about gun               The second thing is, the obverse of that, is single-fire
availability and criminality in the United States, although homicides     weapons, guns, are very personal weapons. They're usually char-
themselves differ very much from these mass shooting fatalities.          acterized by someone who knows who they want to kill. And fi-
       We do note that our population-based results essentially           nally, we feel that perhaps there may be some improvement by
mirrored the gun homicide results, indicating that, at least for          the folks in this room in treating these.
the relative effects and benefits of the assault weapons ban, the                I'm going to close at this point, given the time constraints.




© 2018 American Association for the Surgery of Trauma.                                                                                        19
                                                                                                                Def. Exhibit 54
                                       Copyright © 2018 Wolters Kluwer Health, Inc. All rights reserved.
                                                                                                                 Page 001931
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 93 of 106 Page ID
                                   #:10323




                              EXHIBIT H




                                                                Def. Exhibit 54
                                                                 Page 001932
     Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 94 of 106 Page ID
                                        #:10324
     JMIR PUBLIC HEALTH AND SURVEILLANCE                                                                                                                         Post et al

     Original Paper

     Impact of Firearm Surveillance on Gun Control Policy: Regression
     Discontinuity Analysis

     Lori Post1, PhD; Maryann Mason1, PhD; Lauren Nadya Singh1, MPH; Nicholas P Wleklinski2, MD; Charles B Moss3,
     PhD; Hassan Mohammad1; Tariq Z Issa2, BA; Adesuwa I Akhetuamhen2, MD; Cynthia A Brandt4, MD, MPH; Sarah
     B Welch1, MPH; James Francis Oehmke1, PhD
     1
         Buehler Center for Health Policy and Economics, Feinberg School of Medicine, Northwestern University, Chicago, IL, United States
     2
         Feinberg School of Medicine, Northwestern University, Chicago, IL, United States
     3
         Institute of Food and Agricultural Sciences, University of Florida, Gainsville, FL, United States
     4
         Yale Center for Medical Informatics, Yale School of Medicine, Yale University, New Haven, CT, United States

     Corresponding Author:
     Lori Post, PhD
     Buehler Center for Health Policy and Economics
     Feinberg School of Medicine
     Northwestern University
     420 E Superior
     Chicago, IL, 60611
     United States
     Phone: 1 203 980 7107
     Email: lori.post@northwestern.edu


     Abstract
     Background: Public mass shootings are a significant public health problem that require ongoing systematic surveillance to test
     and inform policies that combat gun injuries. Although there is widespread agreement that something needs to be done to stop
     public mass shootings, opinions on exactly which policies that entails vary, such as the prohibition of assault weapons and
     large-capacity magazines.
     Objective: The aim of this study was to determine if the Federal Assault Weapons Ban (FAWB) (1994-2004) reduced the
     number of public mass shootings while it was in place.
     Methods: We extracted public mass shooting surveillance data from the Violence Project that matched our inclusion criteria
     of 4 or more fatalities in a public space during a single event. We performed regression discontinuity analysis, taking advantage
     of the imposition of the FAWB, which included a prohibition on large-capacity magazines in addition to assault weapons. We
     estimated a regression model of the 5-year moving average number of public mass shootings per year for the period of 1966 to
     2019 controlling for population growth and homicides in general, introduced regression discontinuities in the intercept and a time
     trend for years coincident with the federal legislation (ie, 1994-2004), and also allowed for a differential effect of the homicide
     rate during this period. We introduced a second set of trend and intercept discontinuities for post-FAWB years to capture the
     effects of termination of the policy. We used the regression results to predict what would have happened from 1995 to 2019 had
     there been no FAWB and also to project what would have happened from 2005 onward had it remained in place.
     Results: The FAWB resulted in a significant decrease in public mass shootings, number of gun deaths, and number of gun
     injuries. We estimate that the FAWB prevented 11 public mass shootings during the decade the ban was in place. A continuation
     of the FAWB would have prevented 30 public mass shootings that killed 339 people and injured an additional 1139 people.
     Conclusions: This study demonstrates the utility of public health surveillance on gun violence. Surveillance informs policy on
     whether a ban on assault weapons and large-capacity magazines reduces public mass shootings. As society searches for effective
     policies to prevent the next mass shooting, we must consider the overwhelming evidence that bans on assault weapons and/or
     large-capacity magazines work.

     (JMIR Public Health Surveill 2021;7(4):e26042) doi: 10.2196/26042




     https://publichealth.jmir.org/2021/4/e26042                                                             JMIR Public Health Surveill 2021 | vol. 7 | iss. 4 | e26042 | p. 1
                                                                                                                                  (page number not for citation purposes)
XSL• FO
RenderX
                                                                                                                                       Def. Exhibit 54
                                                                                                                                        Page 001933
    Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 95 of 106 Page ID
                                       #:10325
     JMIR PUBLIC HEALTH AND SURVEILLANCE                                                                                                          Post et al

     KEYWORDS
     firearm surveillance; assault weapons ban; large-capacity magazines; guns control policy; mass shootings; regression lines of
     discontinuity

                                                                           weapons and ammunition formats that are designed to enable
     Introduction                                                          rapid discharge, which is a key feature in mass shooting
     Background                                                            incidents [24,47]. Other types of gun deaths may not be
                                                                           responsive to the FAWB or LCM bans. As an example, Extreme
     Approximately 44,000 people are killed and an additional              Risk Protection Orders or “Red Flag” orders [43,48], which
     100,000 people are injured by a gun each year in the United           temporarily prohibit at-risk individuals from owning or
     States [1,2]. Mass shooting fatalities, as a particular type of gun   purchasing firearms, may be effective for preventing firearm
     injury event, account for <1% of all gun deaths [3] and have          suicides or domestic violence homicides [49] but less effective
     largely been ignored until recently [4,5]; yet, mass shooting         for public mass shooters [50,51]. The prohibition of LCMs may
     events occur multiple times per year [6]. This information is         have no impact on firearm suicide because suicide decedents
     based on insights from firearm surveillance performed by a            only require one bullet to kill themselves [52].
     variety of researchers, and state and federal agencies on
     incidence, prevalence, risk factors, injuries, deaths, and            Several studies during and after the FAWB attempted to
     precipitating events, similar to the surveillance of infectious       determine if gun policy that restricts the production and sale of
     diseases such as COVID-19 [7-21]. Teutch and Thacker [22]             assault weapons and LCMs decreased gun deaths [53,54]. These
     defined public health surveillance as                                 initial studies make meaningful contributions to the literature
                                                                           because they describe what constitutes assault weapons,
          the ongoing systematic collection, analysis, and                 magazine capacity, ballistics, and loopholes in the FAWB
          interpretation of health data, essential to the planning,        legislation [3,53-57]. However, these studies have found little
          implementation, and evaluation of public health                  to no evidence that these policies have had any overall effect
          practice, closely integrated to the dissemination of             on firearm homicides, gun lethality, or overall crime [58-61].
          these data to those who need to know and linked to               Since deaths from public mass shootings comprise less than 1%
          prevention and control.                                          of all homicides based on our definition, testing whether or not
     Not only do surveillance systems generate hypotheses to test          the FAWB/LCM ban has an impact on homicide would wash
     but they also provide the data to test them.                          out the effect. Since the FAWB/LCM ban may be effective at
     The Federal Assault Weapons Ban (FAWB, also known as the              specific types of gun deaths, sampling must be limited to specific
     Public Safety and Recreational Firearms Use Protection Act)           types of shooters over overall gun deaths or tests for lethality
     included a ban on the manufacture for civilian use or sale of         [62,63]. Finally, the variation in research findings is related to
     certain semiautomatic firearms defined as assault weapons as          differences in research design, sampling frame, and case
                                                                           definition of a public mass shooting [3,53-56,64,65].
     well as certain large-capacity magazines (LCMs). The Act was
     in effect for 10 years from 1994 until it sunsetted in 2004.          Our study differs from other studies that evaluated the efficacy
     Semiautomatic weapons (rapid fire) and assault weapons (second        of the FAWB because we used economic methods and a
     grip plus other features) are distinct; however, the two are often    different outcome variable. Specifically, we focused on whether
     incorrectly conflated as similar [23-26]. Semiautomatic weapons       the FAWB resulted in fewer public mass shooting “events,”
     are defined as weapons that automatically load another cartridge      whereas other studies evaluated the number of gun injuries and
     into a chamber, preparing the weapon for firing, but requiring        deaths that occurred during the course of a mass shooting.
     the shooter to manually release and press the trigger for each
     round [23-26]. By contrast, automatic weapons are similarly           Objective
     self-loading, but allow for a shooter to hold the trigger for         The aim of this study was to test whether curbing access to
     continuous fire [27]. Furthermore, the FAWB also prohibited           certain types of guns and magazines will decrease mass shooting
     certain ammunition magazines that were defined as                     events. We sought to empirically answer if there was a
     “large-capacity” cartridges [28] containing more than 10 bullets      relationship between the FAWB and a reduction in mass
     [29]. These LCMs can feed ammunition to semiautomatic                 shooting events.
     weapons that do not meet the criteria of being considered assault
     weapons. Furthermore, LCMs are considered one of the most             Methods
     important features of the FAWB as research has found a
     relationship between bans on LCMs and casualty counts at the          Data Source
     state level [30-34]. The 10-year federal ban was signed into law      We created a firearm surveillance system based on the National
     by President Clinton on September 13, 1994 [28].                      Institute of Justice–funded Violence Project dataset, which
     Firearm surveillance data have been used to test potential policy     culled mass shooting events from 1966 to 2019 [6]. Consistent
     responses to prevent mass shootings, including the FAWB               with earlier studies, we rely on the original Federal Bureau of
     [32,34-39], Extreme Risk Protection Orders (also known as red         Investigation (FBI) definition of a massacre, specifically where
     flag laws) [40-45], and federal and state LCM bans [31,32,46].        4 or more people are killed within a single timeframe. We
     In particular, it seems likely that the FAWB and LCM bans             differentiate our mass shootings from others in that our inclusion
     have potential to affect mass shootings because they regulate         criteria require the shootings to have occurred in a public setting.

     https://publichealth.jmir.org/2021/4/e26042                                              JMIR Public Health Surveill 2021 | vol. 7 | iss. 4 | e26042 | p. 2
                                                                                                                   (page number not for citation purposes)
XSL• FO
RenderX
                                                                                                                     Def. Exhibit 54
                                                                                                                      Page 001934
    Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 96 of 106 Page ID
                                       #:10326
     JMIR PUBLIC HEALTH AND SURVEILLANCE                                                                                                           Post et al

     We adapted this definition to only include massacres that              sample” exercise because even though the sample extends to
     involved gun deaths of 4 or more victims to isolate a particular       2019, the FAWB ended in 2004; thus, this exercise would not
     type of mass shooter [66]. Many firearm surveillance systems           pick up events in the past 15 years that would have augmented
     that include mass shootings use a lower threshold of persons           or compromised the effects of the FAWB. The difference
     shot and many do not include deaths. An FBI report on active           between the modeled number of public mass shootings and the
     shooters in mass shooting events identified planning and               projected counterfactual number of public mass shootings could
     preparation behaviors that are central to prevention [67]. This        provide an estimate of the number of public mass shootings that
     more narrow definition isolates premeditation, whereas broader         the FAWB prevented.
     definitions may include shooters that are more reactive [68].
                                                                            We performed a regression of the 5-year moving average of
     Our case definition does not include family annihilators or
                                                                            public mass shootings on the US population in millions, the
     felony killers because familicides are defined by the
                                                                            homicide rate, and discontinuity variables to capture both the
     victim-offender relationship, public massacres are defined by
                                                                            effects of the FAWB and its discontinuation. We did not
     location, and felony killings are distinguished by motive [69].
                                                                            introduce a trend line for the entire sample period because it is
     This differentiation is consistent with other mass shooting
                                                                            highly collinear with the population variable. For the period of
     studies [70-72].
                                                                            the FAWB’s implementation, we originally introduced an
     We examined the annual number of public mass shootings                 intercept shift, time trend, and shift in the homicide rate; for the
     occurring between 1966 and 2019 that resulted in 4 or more             post-FAWB period, we introduced an intercept shift and a time
     fatalities. The hypothesis was that the FAWB reduced the               trend. Due to collinearity, we retained only the trend shift in
     number of public mass shootings per year during the period of          the final model for the FAWB period; for the post-FAWB
     the ban. We used regression discontinuity analysis to test the         period, we retained both the intercept and the trend shift.
     hypothesis. Regression discontinuity analysis is a standard
     economist tool used in policy analysis taking advantage of             Results
     quasi-experimental designs [65,73].
                                                                            We identified a total of 170 public mass shooting events, the
     Analyses                                                               primary outcome variable, with 4 or more fatalities between
     Regression discontinuity analysis allows for discontinuities or        1966 and 2019. The 5-year cumulative number of public mass
     shifts in both the intercept and the slope of the trend line at both   shootings is shown in Figure 1, providing a visualization of the
     the onset and sunset of the FAWB. That is, we introduced               impacts of the FAWB on the number of shootings. The first
     intercept shift parameters in 1995 and 2005, and trend shift           mass shooting occurred in 1966; hence, the first data point for
     parameters for the periods 1995-2004 and 2005-2019. A                  the cumulative number of shootings over the previous 5 years
     statistically significant shift in a parameter indicates a             occurs in 1970. For 1966 and 1967, the cumulative number of
     discontinuity (ie, a finding that the FAWB had a statistically         public mass shootings was 3. This number then increased to 12
     significant effect on the number of public mass shootings). We         in 1993 and declined to 3 in 2004. After 2004, the cumulative
     tested for statistical significance of the intercept and trend shift   number of public mass shootings increased to 81 in 2019. The
     parameters both independently and jointly. All statistical             last year of the ban, 2004, experienced the fewest public mass
     inference was based on a significance level set at .05. We used        shootings through 2019.
     the Huber-White robust residuals, which attenuate problems of
                                                                            The regression results showed excellent explanatory power
     autocorrelation, heteroscedasticity, and some types of model
     misspecification [74].                                                 (R2=0.94). The coefficient on population was positive and
                                                                            statistically significant (.044, P<.001). This coefficient means
     We then used the estimated model for two types of                      that for every increase in population of 1 million people, there
     counterfactual analysis. First, we used the model to predict the       are an additional .044 public mass shooting events per year.
     number of public mass shootings that would have occurred had           The coefficient on the homicide rate was negative and
     the FAWB not been in place. The difference between this                statistically significant (–.249, P=.01). The coefficient on the
     counterfactual prediction and the modeled number of incidents          time trend for the FAWB period captures the effect of the
     with the FAWB in place provided an estimate of the number of           FAWB; this coefficient was negative and statistically significant
     public mass shootings that the FAWB prevented.                         (–.187, P=.001). Using prediction models in combination with
     Second, we projected forward the number of public mass                 regression slopes, we estimate that 11 public mass shootings
     shootings that would have occurred had the FAWB been                   were avoided due to the FAWB. The intercept discontinuity for
     permanent (ie, continued from 2004 through to the end of the           2005-2019 was negative and statistically significant (–2.232,
     sample period). We note that in some sense, this is an “out of         P=.001), and the trend coefficient was positive and statistically
                                                                            significant (.081, P=.001).




     https://publichealth.jmir.org/2021/4/e26042                                               JMIR Public Health Surveill 2021 | vol. 7 | iss. 4 | e26042 | p. 3
                                                                                                                    (page number not for citation purposes)
XSL• FO
RenderX
                                                                                                                      Def. Exhibit 54
                                                                                                                       Page 001935
    Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 97 of 106 Page ID
                                       #:10327
     JMIR PUBLIC HEALTH AND SURVEILLANCE                                                                                                                 Post et al

     Figure 1. Public mass shooting trend line using five year moving averages (1966-2019).




     These results are graphed in Figure 2 in which the black stars             and the green lines represents the predicted number of public
     represent the actual data and the green line represents the                mass shootings averted by the FAWB. The model predicts that
     predicted numbers of public mass shootings from the regression             11 public mass shootings were averted over the period of
     discontinuity model. A bending of the trend during the FAWB                1995-2004.
     period to become downward sloping at the end of the period is
                                                                                The blue diamonds represent the projected effects of a
     apparent, as is the return of the upward trajectory upon
                                                                                continuation of the FAWB through 2019 based on the observed
     expiration of the FAWB. The red squares represent the projected
                                                                                trend from 1995 to 2004. This projection indicates that 30 public
     numbers of public mass shootings during the FAWB period had
                                                                                mass shootings would have been prevented from 2005 to 2019
     there been no FAWB. The difference between the red squares
                                                                                had the FAWB been left in place.
     Figure 2. Regression lines from discontinuity analysis of the federal assault weapons ban (1994-2004).




     https://publichealth.jmir.org/2021/4/e26042                                                     JMIR Public Health Surveill 2021 | vol. 7 | iss. 4 | e26042 | p. 4
                                                                                                                          (page number not for citation purposes)
XSL• FO
RenderX
                                                                                                                            Def. Exhibit 54
                                                                                                                             Page 001936
    Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 98 of 106 Page ID
                                       #:10328
     JMIR PUBLIC HEALTH AND SURVEILLANCE                                                                                                        Post et al

                                                                         mass shootings was increasing. During enactment of the FAWB,
     Discussion                                                          there was a downward trend of mass shooting events. After the
     Principal Findings                                                  FAWB was lifted, public mass shootings increased dramatically.
                                                                         Firearm homicides in general follow no such patterns.
     In total, 1225 people were killed in a mass shooting over the
     past 53 years with more than half occurring in the last decade,     This effect was not found in the work of Koper, Roth, and
     a function of increases in mass shootings and weapon lethality      colleagues [53-55]; however, their inclusion of all gun homicides
     [62,63,75]. Public mass shooting fatalities and injuries far        masks the ban’s effect on mass shootings. Even though Peterson
     outpace population growth [75]. Between 1966 and 2019, the          and Densley’s [77] work focused on perpetrator histories and
     US population increased by 67% [76], whereas public mass            not the FAWB, their findings that ease of gun access is
     shooting deaths increased by over 5-fold. The rise in public        characteristic of public mass shooters further supports our study.
     mass shootings throughout the sample period is in fact partially    We restricted the inclusion criteria to public mass shootings to
     a function of population growth and homicide rate, along with       specifically test the effectiveness of the FAWB on public mass
     the effects of the FAWB and its removal. An increase in the US      shooting events.
     population of 1 million people was associated with an increase      Regardless of the FAWB, bringing a semiautomatic rifle with
     of .040 (P<.005) public mass shootings per year. During the         high magazine capacity to a massacre significantly increases
     post-FAWB period, the increase in population from                   the number of fatalities and injuries. The increase in deaths is
     approximately 300 million in 2005 to 330 million in 2019 should     a function of rapid fire and increased ballistic energy. The
     be associated with an increase of 1.2 public mass shootings per     increase in injuries is also a function of rapid fire and
     year, compared to the actual increase of 4 public mass shootings    high-capacity magazines, enabling the shooter to shoot more
     per year in the data (5-year moving average). After controlling     people in crowded venues quickly before the crowd can disperse
     for population growth and homicide rate, a positive and             or hide. When controlling for the FAWB, the use of assault
     statistically significant coefficient (.081, P=.001) on the         rifles decreased by half during implementation of the ban and
     2005-2018 trend was seen. This further indicates a separate,        tripled after the ban was lifted. This is a particularly important
     nonpopulation trend of increasing violence operating during         finding given that the FAWB had loopholes and that overall
     the post-FAWB period. The negative coefficient on the homicide      violent crime is decreasing [78]. First, all people with an assault
     rate invalidates the hypothesis that decreases in the numbers of    weapon prior to the FAWB were allowed to retain their
     public mass shootings are simply reflections of an overall          semiautomatic weapons [54,64]. Second, without a buyback
     decreasing homicide rate. The negative intercept discontinuity      program, semiautomatic weapons remained in the community
     is consistent with an effect of the FAWB that persists somewhat     [54,64]. Third, the ban did not target some military assault-like
     beyond the immediate end of the ban. The positive trend             weapons [54,64]. Finally, a major loophole found in gun control
     coefficient is consistent with the hypothesis that the FAWB was     legislation is that buyers can bypass background checks by
     associated with a decrease in the number of public mass             purchasing their weapons and ammunition from gun shows,
     shootings, as the expiration of the FAWB was associated with        through illegal purchasing, or legally purchasing their guns and
     a shift from a downward trend to an upward trend in the number      ammunition from another gun owner [57,63,79-87]. Even with
     of public mass shootings per year.                                  these loopholes and issues, there was still a significant reduction
     The most striking finding from this study is that there was a       in public mass shootings during the FAWB. These loopholes
     reduction in the number of public mass shooting events while        indicate that most people who purchase assault weapons do not
     the FAWB was in place. Using prediction models in                   become mass shooters; however, mass shooters require assault
     combination with regression slopes, we estimate that 11 public      weapons and LCMs to carry out a mass shooting. Ban
     mass shootings were avoided due to the FAWB. By projecting          effectiveness might have improved if all assault weapons were
     what would have happened if the FAWB remained in place, we          included in the FAWB.
     found that there would have been significantly fewer public         Some recent studies have specifically analyzed the effects of
     mass shootings if the FAWB had remained in place to 2019.           LCM bans on the incidence of public mass shootings. In a
     Remarkably, although it is intuitive that the removal of assault    review of state legislation, Webster et al [88] found that bans
     weapons and magazine clips will reduce the lethality of a mass      of LCMs were associated with a significant reduction in the
     shooting, we observed an inverse relationship between               incidence of fatal public mass shootings. This study shows that
     weapons/ammunition and mass shooting events, meaning that           the FAWB, which included a ban on LCMs, was associated
     mass shooters may be less likely to perpetrate a mass shooting      with fewer fatalities and injuries during mass shootings in
     without rapid fire military-style weapons. This is an independent   addition to fewer public mass shooting events. Koper et al [27]
     effect, which indirectly leads to fewer injuries and deaths.        previously reported that 19% of public mass shootings resulting
     DiMaggio et al [64] also found evidence of a decrease in public     in 4 or more fatalities included the use of LCMs, while only
     mass shootings during the ban; however, their study period was      10% involved an assault weapon. Klarevas et al [29] found a
     shorter and was restricted to 51 public mass shootings. Unlike      similar pattern in shootings of 6 or more people, in which 67%
     our study, they implicitly modeled public mass shootings as a       of shooters utilized LCMs, whereas only 26% utilized an assault
     random instance of general gun homicides that had a high death      weapon. Because our study only looked at effects of the FAWB,
     count [64]. In contrast, our findings suggest that public mass      which included an LCM ban, we were only able to determine
     shootings are a unique type of premeditated gun violence. We        the combined effects of limiting assault weapons and LCMs.
     found that prior to enactment of the FAWB, the rate of public       To be clear, the reduction in the number of public mass
     https://publichealth.jmir.org/2021/4/e26042                                            JMIR Public Health Surveill 2021 | vol. 7 | iss. 4 | e26042 | p. 5
                                                                                                                 (page number not for citation purposes)
XSL• FO
RenderX
                                                                                                                   Def. Exhibit 54
                                                                                                                    Page 001937
    Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 99 of 106 Page ID
                                       #:10329
     JMIR PUBLIC HEALTH AND SURVEILLANCE                                                                                                          Post et al

     shootings, and resulting fatalities and injuries, may be a function   resulted in better tracking of public mass shootings or increased
     of the ban on assault weapons, assault weapons plus LCMs, or          media coverage. Because our study specifically targeted the
     only LCMs. We cannot separate out their independent effects           federal legislation, we omitted state-level gun policies such as
     at the national level.                                                state-level prohibitions on certain types of guns, LCMs, or more
                                                                           lethal types of bullets. It is likely that the internet serves as a
     Unlike our study, Webster et al [88] did not evaluate the
                                                                           contagion and as a guide to potential mass shooters, allowing
     incidence of assault weapons used in public mass shootings.
                                                                           them to access weapons and multiple stories about other mass
     Rather, they focused on fatalities from public mass shootings
                                                                           shooters [62,67,89,90].
     vs public mass shooting events. Although Webster et al [88]
     utilized the FBI Supplemental Homicide Report as their dataset,       Conclusions
     which is a voluntary reporting measurement system prone to            In summary, public mass shootings are a unique and specific
     errors in reporting, their findings are applicable to our analysis.   type of homicide by a gun. We found evidence that public mass
     Limitations                                                           shootings are qualitatively different from general homicides
                                                                           because after the FAWB expired, mass shooting events increased
     Although we found statistically significant decreases during the
                                                                           while general homicides decreased. The increase in public mass
     FAWB, we cannot isolate aspects of the policy that are attributed
                                                                           shootings was more dramatic in the final 10 years of the study
     to the decline. Most notably, the FAWB also included LCMs
                                                                           period following the end of the FAWB. We suspect that these
     during the ban. It may be that the type of gun and/or the type
                                                                           outcomes may be improved by removing existing semiautomatic
     of magazine resulted in a decline. Indeed, assault weapons and
                                                                           weapons with large bullet capacity by creating a buyback
     LCMs provide the means to carry out a mass shooting; however,
                                                                           program for all rapid-firing weapons. Moreover, the legislation
     there are likely other factors beyond this study that partially
                                                                           would be strengthened if it closed loopholes that allow gun
     explain the radical increase in public mass shootings in the
                                                                           buyers to get around the background check legislation and other
     post-FAWB period. For example, the FAWB was in place from
                                                                           purchase prohibitions by exempting gun shows and internet or
     1994 to 2004, which is the same time period that the US
                                                                           person-to-person purchases, which were exempted from the
     population largely adopted the internet, along with associated
                                                                           FAWB and LCM ban [87].
     social communication software and websites. This may have

     Acknowledgments
     The Violence Project Mass Shooter database generated data for our surveillance. This study was financially supported by the
     Buehler Endowment at Feinberg School of Medicine.

     Conflicts of Interest
     None declared.

     References
     1.      Web-based Injury Statistics Query and Reporting System. Centers for Disease Control and Prevention, Injury Prevention
             and Control. 2020 Jul 01. URL: https://www.cdc.gov/injury/wisqars/index.html [accessed 2021-01-15]
     2.      Christensen AJ, Cunningham R, Delamater A, Hamilton N. Introduction to the special issue on gun violence: addressing
             a critical public health challenge. J Behav Med 2019 Aug;42(4):581-583. [doi: 10.1007/s10865-019-00075-8] [Medline:
             31367923]
     3.      Drake B. Mass shootings rivet national attention, but are a small share of gun violence. Pew Research Center. 2013 Sep
             17. URL: https://www.pewresearch.org/fact-tank/2013/09/17/
             mass-shootings-rivet-national-attention-but-are-a-small-share-of-gun-violence/ [accessed 2020-12-10]
     4.      Bowers TG, Holmes ES, Rhom A. The nature of mass murder and autogenic massacre. J Police Crim Psych 2009 Nov
             7;25(2):59-66. [doi: 10.1007/s11896-009-9059-6]
     5.      Delisi M, Scherer AM. Multiple homicide offenders. Crim Justice Behav 2016 Jun 30;33(3):367-391. [doi:
             10.1177/0093854806286193]
     6.      Mass shooter database. The Violence Project. 2020. URL: https://www.theviolenceproject.org/ [accessed 2021-01-14]
     7.      Shelby D. Association between adult alcohol misuse, adult mental health, and firearm storage practices in households with
             children: findings from the Behavioral Risk Factor Surveillance System (BRFSS). MPH Thesis. ScholarWorks @ Georgia
             State University. 2021 Dec 09. URL: https://scholarworks.gsu.edu/iph_theses/725 [accessed 2021-01-08]
     8.      Loder R, Mishra A, Atoa B, Young A. Spinal injury associated with firearm use. Cureus 2021 Mar 16;13(3):e13918 [FREE
             Full text] [doi: 10.7759/cureus.13918]
     9.      Mueller KL, Trolard A, Moran V, Landman JM, Foraker R. Positioning public health surveillance for observational studies
             and clinical trials: The St. Louis region-wide hospital-based violence intervention program data repository. Contemp Clin
             Trials Commun 2021 Mar;21:100683 [FREE Full text] [doi: 10.1016/j.conctc.2020.100683] [Medline: 33385095]




     https://publichealth.jmir.org/2021/4/e26042                                              JMIR Public Health Surveill 2021 | vol. 7 | iss. 4 | e26042 | p. 6
                                                                                                                   (page number not for citation purposes)
XSL• FO
RenderX
                                                                                                                     Def. Exhibit 54
                                                                                                                      Page 001938
   Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 100 of 106 Page ID
                                       #:10330
     JMIR PUBLIC HEALTH AND SURVEILLANCE                                                                                                       Post et al

     10.     Horn DL, Butler EK, Stahl JL, Rowhani-Rahbar A, Littman AJ. A multi-state evaluation of the association between mental
             health and firearm storage practices. Prev Med 2021 Apr;145:106389. [doi: 10.1016/j.ypmed.2020.106389] [Medline:
             33385422]
     11.     Gunn JF, Boxer P. Gun laws and youth gun carrying: results from the youth risk behavior surveillance system, 2005-2017.
             J Youth Adolesc 2021 Mar;50(3):446-458. [doi: 10.1007/s10964-020-01384-x] [Medline: 33420890]
     12.     Rozel J, Soliman L, Jain A. The gun talk: how to have effective conversations with patients and families about firearm
             injury prevention. In: Zun LS, Nordstrom K, Wilson MP, editors. Behavioral Emergencies for Healthcare Providers.
             Switzerland: Springer; Jan 05, 2021:465-473.
     13.     Keyes KM, Kandula S, Olfson M, Gould MS, Martínez-Alés G, Rutherford C, et al. Suicide and the agent–host–environment
             triad: leveraging surveillance sources to inform prevention. Psychol Med 2021 Mar 05;51(4):529-537. [doi:
             10.1017/s003329172000536x]
     14.     Bluestein G, Hallerman T. Future directions for firearm injury intervention, policy, and research. In: Lee LK, Fleeger EW,
             editors. Pediatric Firearm Injuries and Fatalities: The Clinician's Guide to Policies and Approaches to Firearm Harm
             Prevention. Switzerland: Springer; Feb 06, 2021:223-234.
     15.     Oehmke J, Moss C, Singh L, Oehmke T, Post L. Dynamic panel surveillance of COVID-19 transmission in the United
             States to inform health policy: observational statistical study. J Med Internet Res 2020 Oct 05;22(10):e21955 [FREE Full
             text] [doi: 10.2196/21955] [Medline: 32924962]
     16.     Oehmke J, Oehmke T, Singh L, Post L. Dynamic panel estimate-based health surveillance of SARS-CoV-2 infection rates
             to inform public health policy: model development and validation. J Med Internet Res 2020 Sep 22;22(9):e20924 [FREE
             Full text] [doi: 10.2196/20924] [Medline: 32915762]
     17.     Post L, Benishay E, Moss C, Murphy R, Achenbach C, Ison M, et al. Surveillance metrics of SARS-CoV-2 transmission
             in central Asia: longitudinal trend analysis. J Med Internet Res 2021 Feb 03;23(2):e25799 [FREE Full text] [doi:
             10.2196/25799] [Medline: 33475513]
     18.     Post LA, Issa TZ, Boctor MJ, Moss CB, Murphy RL, Ison MG, et al. Dynamic public health surveillance to track and
             mitigate the US COVID-19 epidemic: longitudinal trend analysis study. J Med Internet Res 2020 Dec 03;22(12):e24286
             [FREE Full text] [doi: 10.2196/24286] [Medline: 33216726]
     19.     Post LA, Lin JS, Moss CB, Murphy RL, Ison MG, Achenbach CJ, et al. SARS-CoV-2 wave two surveillance in East Asia
             and the Pacific: longitudinal trend analysis. J Med Internet Res 2021 Feb 01;23(2):e25454 [FREE Full text] [doi:
             10.2196/25454] [Medline: 33464207]
     20.     Post L, Marogi E, Moss CB, Murphy RL, Ison MG, Achenbach CJ, et al. SARS-CoV-2 surveillance in the Middle East
             and North Africa: longitudinal trend analysis. J Med Internet Res 2021 Jan 15;23(1):e25830 [FREE Full text] [doi:
             10.2196/25830] [Medline: 33302252]
     21.     Post LA, Argaw ST, Jones C, Moss CB, Resnick D, Singh LN, et al. A SARS-CoV-2 surveillance system in Sub-Saharan
             Africa: modeling study for persistence and transmission to inform policy. J Med Internet Res 2020 Nov 19;22(11):e24248
             [FREE Full text] [doi: 10.2196/24248] [Medline: 33211026]
     22.     Teutsch S, Thacker S. Planning a public health surveillance system. Epidemiol Bull 1995 Mar;16(1):1-6. [Medline: 7794696]
     23.     Jacobs J, Fuhr Z. The Safe Act: New York's ban on assault weapons and large capacity magazines. Crim Law Bull 2017
             Jun 29;53(1):4 [FREE Full text]
     24.     Wallace EG. Assault weapon myths. South Ill Univ Law J 2018 Nov 18;43:193. [doi: 10.4135/9781452229300.n127]
     25.     Kopel D, Lowy J, Rostron A. Heller and "Assault Weapons". Campbell Law Rev 2018 Feb 02;40(2):461-480 [FREE Full
             text]
     26.     Pfau MW. Defining the deadly: definitional argument and the assault weapons ban controversy. Argum Advocacy 2020
             Jul 20;56(3):155-173. [doi: 10.1080/10511431.2020.1793276]
     27.     Koper CS, Johnson WD, Nichols JL, Ayers A, Mullins N. Criminal use of assault weapons and high-capacity semiautomatic
             firearms: an updated examination of local and national sources. J Urban Health 2018 Jun;95(3):313-321 [FREE Full text]
             [doi: 10.1007/s11524-017-0205-7] [Medline: 28971349]
     28.     United States Congress House Committee on the Judiciary. Subcommittee on Crime and Criminal Justice. Public Safety
             and Recreational Firearms Use Protection Act. In: Hearing before the Subcommittee on Crime and Criminal Justice of the
             Committee on the Judiciary, House of Representatives, One Hundred Third Congress, second session, on H.R. 3527.
             Washington, DC: US Government; Apr 25, 1994.
     29.     Klarevas L, Conner A, Hemenway D. The effect of large-capacity magazine bans on high-fatality mass shootings, 1990–2017.
             Am J Public Health 2019 Dec;109(12):1754-1761. [doi: 10.2105/ajph.2019.305311]
     30.     Kleck G. Large-capacity magazines and the casualty counts in mass shootings. Justice Res Policy 2016 Jun 01;17(1):28-47.
             [doi: 10.1177/1525107116674926]
     31.     Abbasi J. Large-capacity magazine bans linked with fewer mass shootings, deaths. JAMA 2020 Jan 14;323(2):108-109.
             [doi: 10.1001/jama.2019.20457] [Medline: 31851333]
     32.     Koper CS. Assessing the potential to reduce deaths and injuries from mass shootings through restrictions on assault weapons
             and other high‐capacity semiautomatic firearms. Criminol Public Policy 2020 Jan 10;19(1):147-170. [doi:
             10.1111/1745-9133.12485]

     https://publichealth.jmir.org/2021/4/e26042                                           JMIR Public Health Surveill 2021 | vol. 7 | iss. 4 | e26042 | p. 7
                                                                                                                (page number not for citation purposes)
XSL• FO
RenderX
                                                                                                                  Def. Exhibit 54
                                                                                                                   Page 001939
   Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 101 of 106 Page ID
                                       #:10331
     JMIR PUBLIC HEALTH AND SURVEILLANCE                                                                                                        Post et al

     33.     Towers S, Wallace D, Hemenway D. Temporal trends in public mass shootings: high-capacity magazines significantly
             increase fatality counts, and are becoming more prevalent. medRxiv preprint server. 2019 Dec 15. URL: https://www.
             medrxiv.org/content/10.1101/2019.12.12.19014738v1 [accessed 2021-04-17]
     34.     Webster DW, McCourt AD, Crifasi CK, Booty MD, Stuart EA. Evidence concerning the regulation of firearms design,
             sale, and carrying on fatal mass shootings in the United States. Criminol Public Policy 2020 Jan 30;19(1):171-212. [doi:
             10.1111/1745-9133.12487]
     35.     Lowy J. Comments on assault weapons, the right to arms, and the right to live. Harv J Law Public Policy 2020;43(2):375-386
             [FREE Full text]
     36.     Kim A. United States gun policy and the effect on mass shootings. California State University Northridge Scholarworks
             Open Access Repository. Northridge, CA: CSU Northridge University Library; 2020 Aug 25. URL: http://hdl.handle.net/
             10211.3/217278 [accessed 2020-12-06]
     37.     Pfau MW. Defining the deadly: definitional argument and the assault weapons ban controversy. Argum Advocacy 2020
             Jul 20;56(3):155-173. [doi: 10.1080/10511431.2020.1793276]
     38.     Balakrishna M, Wilbur KC. How the Massachusetts Assault Weapons Ban Enforcement Notice changed firearm sales.
             SSRN J 2021 Feb 4:1-51 [FREE Full text] [doi: 10.2139/ssrn.3779510]
     39.     Soto L, Chheda S, Soto J. Reducing fatalities in mass attacks and the related matter of gun control policy following the El
             Paso August 2019 shooting. Tex Hisp J Law Policy 2020;26:85.
     40.     Nagin DS, Koper CS, Lum C. Policy recommendations for countering mass shootings in the United States. Criminol Public
             Policy 2020 Jan 10;19(1):9-15. [doi: 10.1111/1745-9133.12484]
     41.     Gay C. 'Red Flag' laws: how law enforcement's controversial new tool to reduce mass shootings fits within current Second
             Amendment jurisprudence. Boston Coll Law Rev 2020 Apr 30;61(4):1491-1533 [FREE Full text]
     42.     Nielsen D. Disarming dangerous persons: how Connecticut's Red Flag Law saves lives without jeopardizing constitutional
             protections. Quinnipiac Health Law J 2020;23(3):253.
     43.     Blocher J, Charles J. Firearms, extreme risk, and legal design: “Red Flag” laws and due process. Virginia Law Rev 2020
             Oct 19;106(6):1285.
     44.     Kopel DB. Red Flag Laws: proceed with caution. Law Psychol Rev 2020 Jul 16:forthcoming [FREE Full text] [doi:
             10.2139/ssrn.3653555]
     45.     Blodgett S. Dementia, guns, Red Flag laws: Can Indiana's Statute balance elders' constitutional rights and public safety?
             NAELA J 2020 Sep;16:1-22 [FREE Full text]
     46.     Kerr S. "What We Need Is Bullet Control": could regulation of bullets reduce mass shootings? In: Crews G, editor. Handbook
             of Research on Mass Shootings and Multiple Victim Violence. Hershey, PA: IGI Global; Oct 2019:432-446.
     47.     Moore EE. Another mass shooting: Time to ban the assault rifle. J Trauma Acute Care Surg 2018 Jun;84(6):1036. [doi:
             10.1097/TA.0000000000001863] [Medline: 29799817]
     48.     Delaney GA, Charles JD. A double-filter provision for expanded Red Flag laws: a proposal for balancing rights and risks
             in preventing gun violence. J Law Med Ethics 2020 Dec;48(4_suppl):126-132. [doi: 10.1177/1073110520979412] [Medline:
             33404308]
     49.     Honberg RS. Mental illness and gun violence: research and policy options. J Law Med Ethics 2020 Dec;48(4_suppl):137-141.
             [doi: 10.1177/1073110520979414] [Medline: 33404306]
     50.     Laqueur HS, Wintemute GJ. Identifying high‐risk firearm owners to prevent mass violence. Criminol Public Policy 2019
             Dec 16;19(1):109-127. [doi: 10.1111/1745-9133.12477]
     51.     Pallin R, Schleimer JP, Pear VA, Wintemute GJ. Assessment of extreme risk protection order use in California from 2016
             to 2019. JAMA Netw Open 2020 Jun 01;3(6):e207735 [FREE Full text] [doi: 10.1001/jamanetworkopen.2020.7735]
             [Medline: 32556258]
     52.     Hurka S, Knill C. Does regulation matter? A cross‐national analysis of the impact of gun policies on homicide and suicide
             rates. Regul Gov 2018 Dec 21;14(4):787-803. [doi: 10.1111/rego.12235]
     53.     Koper C, Roth J. The impact of the 1994 Federal Assault Weapon Ban on gun violence outcomes: an assessment of multiple
             outcome measures and some lessons for policy evaluation. J Quant Criminol 2001 Mar;17(1):33-74.
     54.     Koper C, Woods D, Roth J. Updated Assessment of the Federal Assault Weapons Ban: Impacts on Gun Markets and Gun
             Violence, 1994-2003. Report to the National Institute of Justice, United States Department of Justice. 2004 Jul. URL: https:/
             /www.ojp.gov/pdffiles1/nij/grants/204431.pdf [accessed 2020-12-11]
     55.     Roth J, Koper C, Adams W, Johnson S, Marcotte J, McGready J, et al. Impact Evaluation of the Public Safety and Recreational
             Firearms Use Protection Act of 1994 Final Report. Urban Institute. Washington, DC: The Urban Institute; 1997 Mar 13.
             URL: https://www.urban.org/research/publication/
             impact-evaluation-public-safety-and-recreational-firearms-use-protection-act-1994/view/full_report [accessed 2021-02-10]
     56.     Webster D, Vernick J, McGinty E, Alcorn T. Regulating Gun Sales: An Excerpt from Reducing Gun Violence in America:
             Informing Policy with Evidence and Analysis. Baltimore, MD: Johns Hopkins University Press; 2013.
     57.     Jacobs J. Can Gun Control Work? (Studies in Crime and Public Policy). Oxford: Oxford University Press; Oct 14, 2004.



     https://publichealth.jmir.org/2021/4/e26042                                            JMIR Public Health Surveill 2021 | vol. 7 | iss. 4 | e26042 | p. 8
                                                                                                                 (page number not for citation purposes)
XSL• FO
RenderX
                                                                                                                    Def. Exhibit 54
                                                                                                                     Page 001940
   Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 102 of 106 Page ID
                                       #:10332
     JMIR PUBLIC HEALTH AND SURVEILLANCE                                                                                                      Post et al

     58.     Lee LK, Fleegler EW, Farrell C, Avakame E, Srinivasan S, Hemenway D, et al. Firearm laws and firearm homicides: a
             systematic review. JAMA Intern Med 2017 Jan 01;177(1):106-119. [doi: 10.1001/jamainternmed.2016.7051] [Medline:
             27842178]
     59.     Gius M. An examination of the effects of concealed weapons laws and assault weapons bans on state-level murder rates.
             Appl Econ Lett 2013 Nov 26;21(4):265-267. [doi: 10.1080/13504851.2013.854294]
     60.     Cook P, Goss K. The Gun Debate: What Everyone Needs to Know. New York: Oxford University Press; May 01, 2014.
     61.     Cook P, Goss K. The Gun Debate: What Everyone Needs to Know, 2nd Edition. New York: Oxford University Press; Apr
             16, 2020.
     62.     Lankford A, Silver J. Why have public mass shootings become more deadly? Criminol Public Policy 2019 Dec 16;19(1):37-60.
             [doi: 10.1111/1745-9133.12472]
     63.     Schiff M. IZA Discussion Paper 12784: Greater US gun ownership, lethality and murder rates: analysis and policy proposals.
             IZA Institute of Labor Economics. 2019 Nov 27. URL: https://www.iza.org/publications/dp/12784/
             greater-us-gun-ownership-lethality-and-murder-rates-analysis-and-policy-proposals [accessed 2021-04-17]
     64.     DiMaggio C, Avraham J, Berry C, Bukur M, Feldman J, Klein M, et al. Changes in US mass shooting deaths associated
             with the 1994–2004 federal assault weapons ban: Analysis of open-source data. J Trauma Acute Care Surg 2019
             Jan;86(1):11-19. [doi: 10.1097/ta.0000000000002060]
     65.     World Telecommunication/ICT Indicators Database 2020 (24th Edition). International Telecommunications Union. Geneva:
             International Telecommunications Union; 2021 Jan. URL: https://www.itu.int/en/ITU-D/Statistics/Pages/publications/wtid.
             aspx [accessed 2021-04-17]
     66.     Lopez G. America's unique gun violence problem, explained in 17 maps and charts. Vox. 2021 Mar 23. URL: https://www.
             vox.com/policy-and-politics/2017/10/2/16399418/boulder-colorado-mass-shooting-gun-violence-statistics-charts [accessed
             2021-03-29]
     67.     Silver J, Simons A, Craun S. A study of the pre-attack behaviors of active shooters in the United States between 2000 and
             2013. FBI Documents. Washington, DC: US Department of Justice, Federal Bureau of Investigations; 2018. URL: https:/
             /www.fbi.gov/file-repository/pre-attack-behaviors-of-active-shooters-in-us-2000-2013.pdf/view [accessed 2020-10-25]
     68.     DeFoster R, Swalve N. Guns, culture or mental health? Framing mass shootings as a public health crisis. Health Commun
             2018 Oct;33(10):1211-1222. [doi: 10.1080/10410236.2017.1350907] [Medline: 28841045]
     69.     Fridel EE. A multivariate comparison of family, felony, and public mass murders in the United States. J Interpers Violence
             2021 Feb;36(3-4):1092-1118. [doi: 10.1177/0886260517739286] [Medline: 29294976]
     70.     Duwe G. Mass murder in the United States: a history. Jefferson, NC: McFarland & Company; Jan 07, 2007.
     71.     Fox J, Levin J. Mass confusion concerning mass murder. Criminologist 2015;40(1):8-11 [FREE Full text] [doi:
             10.4135/9781412950619.n277]
     72.     Fox JA, Levin J. Firing back: the growing threat of workplace homicide. An Am Acad Pol Soc Sci 2016 Sep 08;536(1):16-30.
             [doi: 10.1177/0002716294536001002]
     73.     Stevenson AJ, Flores-Vazquez IM, Allgeyer RL, Schenkkan P, Potter JE. Effect of removal of Planned Parenthood from
             the Texas Women’s Health Program. N Engl J Med 2016 Mar 03;374(9):853-860. [doi: 10.1056/nejmsa1511902]
     74.     Freedman DA. On the so-called “Huber Sandwich Estimator” and “Robust Standard Errors”. Am Statistician 2006
             Nov;60(4):299-302. [doi: 10.1198/000313006x152207]
     75.     Duwe G. Mass shootings are getting deadlier, not more frequent. Politico Magazine. 2017 Oct 04. URL: https://www.
             politico.com/magazine/story/2017/10/04/mass-shootings-more-deadly-frequent-research-215678/ [accessed 2021-01-30]
     76.     Population Trends. United States Census Bureau. 2019. URL: https://www.census.gov/ [accessed 2019-08-26]
     77.     Peterson J, Densley J. We have studied every mass shooting since 1966. Here's what we've learned about the shooters. Los
             Angeles Times. 2019 Aug 04. URL: https://www.latimes.com/opinion/story/2019-08-04/
             el-paso-dayton-gilroy-mass-shooters-data [accessed 2020-02-01]
     78.     Klingner DE, Williams E. Topic: Public Safety. Public Integrity 2019 Mar 06;21(2):220-224. [doi:
             10.1080/10999922.2019.1565268]
     79.     Hand C. Gun control and the Second Amendment. Minneapolis, MN: ABDO; Dec 15, 2016.
     80.     Popovits A. Dominican University of California Political Science & International Studies (Senior Thesis). 2020 May. URL:
             https://tinyurl.com/se3vrmd6 [accessed 2020-12-01]
     81.     Miller SV. What Americans think about gun control: evidence from the General Social Survey, 1972-2016. Soc Sci Quart
             2018 Nov 18;100(1):272-288. [doi: 10.1111/ssqu.12555]
     82.     Kellner D. School shootings, societal violence and gun culture. In: Shapiro H, editor. The Wiley Handbook on Violence
             in Education: Forms, Factors, and Preventions. Medford, MA: John Wiley & Sons, Inc; 2018:53-68.
     83.     Schildkraut J. Assault weapons, mass shootings, and options for lawmakers. Rockefeller Institute of Government. 2019
             Mar 22. URL: https://rockinst.org/issue-area/assault-weapons-mass-shootings-and-options-for-lawmakers/ [accessed
             2021-02-11]
     84.     Jacobs J, Fuhr Z. The potential and limitations of universal background checking for gun purchasers. Wake Forest J Law
             Policy 2017;7(2):537-583.


     https://publichealth.jmir.org/2021/4/e26042                                          JMIR Public Health Surveill 2021 | vol. 7 | iss. 4 | e26042 | p. 9
                                                                                                               (page number not for citation purposes)
XSL• FO
RenderX
                                                                                                                  Def. Exhibit 54
                                                                                                                   Page 001941
   Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 103 of 106 Page ID
                                       #:10333
     JMIR PUBLIC HEALTH AND SURVEILLANCE                                                                                                               Post et al

     85.     Braga AA, Brunson RK, Cook PJ, Turchan B, Wade B. Underground gun markets and the flow of illegal guns into the
             Bronx and Brooklyn: a mixed methods analysis. J Urban Health 2020 Sep 04:online ahead of print. [doi:
             10.1007/s11524-020-00477-z] [Medline: 32888157]
     86.     Chai C. Gun control: can we take a shot at it? AMASS 2019;24(2):34-36.
     87.     Goldberg J. The case for more guns (and more gun control). The Atlantic. 2012 Dec. URL: https://www.theatlantic.com/
             magazine/archive/2012/12/the-case-for-more-guns-and-more-gun-control/309161/ [accessed 2020-11-20]
     88.     Webster DW, McCourt AD, Crifasi CK, Booty MD, Stuart EA. Evidence concerning the regulation of firearms design,
             sale, and carrying on fatal mass shootings in the United States. Criminol Public Policy 2020 Jan 30;19(1):171-212. [doi:
             10.1111/1745-9133.12487]
     89.     Lankford A, Madfis E. Media coverage of mass killers: content, consequences, and solutions. Am Behav Sci 2018 Mar
             20;62(2):151-162. [doi: 10.1177/0002764218763476]
     90.     Kien S, Begay T, Lee A, Stefanidis A. Social media during the school shooting contagion period. Violence Gender 2019
             Dec 01;6(4):201-210. [doi: 10.1089/vio.2019.0043]

     Abbreviations
               FAWB: Federal Assault Weapons Ban
               FBI: Federal Bureau of Investigation
               LCM: large-capacity magazine




               Edited by G Eysenbach, T Sanchez; submitted 19.02.21; peer-reviewed by T Alcorn; comments to author 12.03.21; revised version
               received 24.03.21; accepted 30.03.21; published 22.04.21
               Please cite as:
               Post L, Mason M, Singh LN, Wleklinski NP, Moss CB, Mohammad H, Issa TZ, Akhetuamhen AI, Brandt CA, Welch SB, Oehmke JF
               Impact of Firearm Surveillance on Gun Control Policy: Regression Discontinuity Analysis
               JMIR Public Health Surveill 2021;7(4):e26042
               URL: https://publichealth.jmir.org/2021/4/e26042
               doi: 10.2196/26042
               PMID: 33783360




     ©Lori Post, Maryann Mason, Lauren Nadya Singh, Nicholas P Wleklinski, Charles B Moss, Hassan Mohammad, Tariq Z Issa,
     Adesuwa I Akhetuamhen, Cynthia A Brandt, Sarah B Welch, James Francis Oehmke. Originally published in JMIR Public Health
     and Surveillance (https://publichealth.jmir.org), 22.04.2021. This is an open-access article distributed under the terms of the
     Creative Commons Attribution License (https://creativecommons.org/licenses/by/4.0/), which permits unrestricted use, distribution,
     and reproduction in any medium, provided the original work, first published in JMIR Public Health and Surveillance, is properly
     cited. The complete bibliographic information, a link to the original publication on https://publichealth.jmir.org, as well as this
     copyright and license information must be included.




     https://publichealth.jmir.org/2021/4/e26042                                                  JMIR Public Health Surveill 2021 | vol. 7 | iss. 4 | e26042 | p. 10
                                                                                                                        (page number not for citation purposes)
XSL• FO
RenderX
                                                                                                                           Def. Exhibit 54
                                                                                                                            Page 001942
Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 104 of 106 Page ID
                                    #:10334




                                EXHIBIT I




                                                                 Def. Exhibit 54
                                                                  Page 001943
             Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 105 of 106 Page ID
                                                 #:10335                               Opinion



                                           Regulating Assault Weapons and Large-Capacity Magazines
                    VIEWPOINT
                                           for Ammunition

                Philip J. Cook, PhD        Mass public shootings in the US account for a small frac-     The 1994 Federal Assault Weapons Ban extended the
                Duke University,           tion of all firearm-related homicides, but have an out-  regulationofmilitary-styleweaponstoincludesomesemi-
                Durham,                    sized role in stoking the public’s concern with firearm  automatic firearms. These weapons fire 1 round of am-
                North Carolina.
                                           violence. The vivid instances of attacks on people in    munition for each pull of the trigger, and are capable of
                                           churches, schools, and offices and at other public gath- firing at a rate of roughly 1 per second. The 1994 Assault
                John J. Donohue, PhD,
                JD                         ering places do vastly disproportionate damage to peace  Weapons Ban ended the legal manufacture and import of
                Stanford University,       of mind by creating a sense of peril in places that should
                                                                                                    specified firearms, as well as ammunition-feeding de-
                Stanford, California.      feel safe. These attacks have been increasing in fre-    vices (magazines) that held more than 10 rounds of am-
                                           quency and deadliness in recent years. As reducing this  munition. At the time, most prohibited assault weapons
                                           particular type of firearm violence becomes more ur-     were equipped with detachable magazines that held 30
                                           gent, the case for a variety of prevention measures be-  rounds and could accept magazines that could hold as
                Viewpoint pages 1177,
                                           comes even stronger.                                     many as 50 or 100 rounds, thus making it possible to fire
                1179, 1181, 1183, 1185,
                1187, 1189, 1193, 1195,         This Viewpoint focuses on a measure that is highly  dozens of rounds without pausing to reload.2
                and 1197 and Editorial     specific to the gun violence problem—stringent regula-        The 1994 federal ban on new assault weapons had
                page 1201                  tion of assault weapons and large-capacity magazines     gapingloopholes.First,thefederalbandidnotrestrictpos-
                                           (LCMs) for ammunition. Federal law banned the intro-     session or transactions of existing assault weapons and
                Supplemental               duction of new LCMs and military-style semiautomatic     LCMs. Second, manufacturers found ways to slightly
                content                    firearms between 1994 and 2004, but that regulation      modify the design of some of the banned weapons so that
                                           ended in 2004 and Congress did not renew it. Now, years  they met the letter of the law while preserving the military
                                           later, the nation is experiencing the dire effects of op-appearance and the possibility of accepting LCMs and
                                           ening the door to the manufacture and import of these    firing high-powered ammunition quickly. Still, there is evi-
                                           weapons; it is time to close that door.                  dence that the ban had some salutary effect on mass
                                                                                                    public shootings.
                                           History and Current Status of Bans                            The LCM ban, also in effect during 1994 to 2004,
                                           The history of federal bans on weapons of mass was not subject to the redesign problem because it pro-
                                           destruction goes back to the 1934 National Firearms vided a bright line that was difficult for manufacturers
                                           Act. Among other provisions, the Act required sub- to overcome. There were, however, an estimated 25 mil-
                                           machine guns and other firearms capable of fully lion LCMs in circulation when the ban was enacted, and
                                                                                                                      those remained in circulation, but with no
                                                                                                                      new additions.2 It was not just assault
                                           Current estimates suggest that                                             weapons     (as defined) that were de-
                                                                                                                      signed to use LCMs, but a variety of other
                                           approximately 20 million assault                                           semiautomatic firearms as well, so the
                                           weapons are owned by private                                               LCM ban had much broader scope.
                                                                                                                           When the law expired in 2004,
                                           individuals in the US, with millions                                       manufacturing and importations of LCMs
                                           of new assault weapons manufactured                                        and previously banned weapons re-
                                           and imported each year.                                                    sumed, and a surge of sales followed.
                                                                                                                      Current estimates suggest that approxi-
                                           automatic fire (ie, firing several shots with a single mately 20 million assault weapons are owned by pri-
                                           pull of the trigger) to be registered with the federal vate individuals in the US, with millions of new assault
                                           government.1 All transactions involving such weapons weapons manufactured and imported each year.3 The
                                           were taxed at $200, a high confiscatory amount at the industry initially advertised these weapons as “assault
                                           time. The registration and tax requirement remained in rifles,” and continues to promote them with military al-
                                           place, although inflation has substantially undercut the lusions but has now rebranded this type of weapon as
                                           force of the transfer fee. The Act was expanded by the “modern sporting rifle.”
                                           Congress in 1986 to end the sale of new fully automatic       Seven states have some version of a ban or stringent
                Corresponding
                Author: Philip J.          weapons. There is every reason to believe that these restrictions on assault weapons: California, Connecticut,
                Cook, PhD, Sanford         restrictions have been effective. Even though the Hawaii, Maryland, Massachusetts, New Jersey, and
                School of Public Policy,   Thompson submachine gun was a notorious gangster New York, as well as the District of Columbia.4 These laws
                Duke University,
                                           weapon in the 1920s, fully automatic weapons of any are being challenged in the courts as a violation of the
                PO Box 90545,
                Durham, NC 27708           kind are rarely used in crime in modern times or in mass Second Amendment, but have survived these chal-
                (pcook@duke.edu).          public shootings.1                                       lenges to date.

                jama.com                                                                                (Reprinted) JAMA September 27, 2022 Volume 328, Number 12   1191

                                                         © 2022 American Medical Association. All rights reserved.                        Def. Exhibit 54
Downloaded From: https://jamanetwork.com/ by a Columbia University Libraries User on 09/27/2022
                                                                                                                                           Page 001944
                Case 8:17-cv-00746-JLS-JDE Document 151-8 Filed 05/26/23 Page 106 of 106 Page ID
                  Opinion Viewpoint                 #:10336


                  Evidence of Potential Effectiveness of a National Ban                           ing in Port Arthur, Tasmania, in which a young man killed 35 people
                  A review conducted by the RAND Corporation concluded that the                   with a semiautomatic rifle. Swift action by the federal and state leg-
                  handful of published studies on the effect of the ban on mass pub-              islatures produced legislation that banned not only manufacture and
                  lic shootings was “inconclusive” due in part to flaws in the analysis           import, but private possession of semiautomatic rifles. To ease the
                  used by the 3 studies with positive findings.4 But it is unlikely the           transition, a series of firearm buybacks were instituted, and 1 million
                  surge in mass public shootings that involved assault weapons and                weapons were ultimately relinquished, estimated to be one-third of
                  LCMs that occurred after the ban would have happened if the ban                 all privately owned guns. Australia had 11 mass shootings during the
                  had remained in place. The logic is straightforward. The sales of these         decade prior to the ban,9 and 1 since then (a family killing in 2018 that
                  weapons, which had declined during the ban, expanded greatly fol-               would not count as a mass public shooting by the US definition).
                  lowing its repeal, making them more widely available to everyone                     The Australian experience is illustrative as a proof of concept for
                  including would-be mass murderers.                                              other countries, including the US. Of note, the ban covered all semi-
                        To document recent trends in such mass public shootings re-               automatic rifles, not just those with the specific features sugges-
                  quires a precise definition. One common definition for mass pub-                tive of use in warfare as opposed to hunting. The ban on posses-
                  lic shootings has several elements,5,6 including: (1) a minimum of              sion of existing guns rather than only on the introduction of new guns
                  4 homicides; (2) a public location; and (3) circumstance not attrib-            greatly accelerated its apparent effectiveness.
                  utable to robbery, other felonious activity, or commonplace con-
                  flict in families or among acquaintances. A comprehensive compi-                Potential Next Steps
                  lation of such events is the Violence Project’s database of mass                On July 29, 2022, the US House of Representatives passed the
                  shootings in the US,7 which includes the number of people killed and            Assault Weapons Ban of 2022. To a large extent this bill reinsti-
                  injured in each event and the type of weapon or weapons used.                   tuted the 1994 ban, including the ban on the sale of new semiauto-
                        Information from this database indicates that in the years fol-           matic firearms deemed to be assault weapons, and of new LCMs
                  lowing when the law expired in 2004, the number of mass shoot-                  holding more than 10 rounds. An important innovation is that for
                  ing incidents greatly increased and the number of fatalities in-                LCMs, the bill only allows continued possession and use of existing
                  creased even more. During the period from 2015 to 2019, the number              devices, but not transfer. However, given the reality that the US Sen-
                  of incidents reached 33 (or 6.6 per year), which was almost twice               ate will not enact this bill, it is useful to consider other approaches.
                  the number during the decade the Federal Assault Weapons Ban                         States could institute or expand assault weapon bans. Indeed,
                  was in effect (eFigure and eTable in the Supplement). The number                just a ban on LCMs would be a promising first step, impeding ac-
                  of fatalities from shootings that involved banned weapons de-                   cess to these products by individuals who could otherwise use them
                  creased during the second half of the ban (2000-2004) and then                  to fire multiple rounds of ammunition at large numbers of people
                  surged during subsequent periods, reaching a total of 271 during                before law enforcement can be mobilized to stop the killing.
                  2015 to 2019. It was during that 5-year interval from 2015 to 2019
                  that 5 of the top-10 deadliest mass public shootings in US history oc-          Conclusions
                  curred, and all were committed with assault weapons.8 The num-                  In 2017, the New York Times polled “32 current or retired academics
                  ber of fatalities resulting from mass public shootings with other weap-         in criminology, public health and law, who have published exten-
                  ons has remained relatively flat.                                               sively in peer-reviewed academic journals on gun policy”10 to ask
                                                                                                  them what measures would be most effective in dealing with the
                  The Australian Ban on Rapid-Fire Weapons                                        mass shooting problem in the US, and an assault weapons ban was
                  The Australian experience has factored into the debate over reinsti-            deemed overall by this panel to be the single most effective mea-
                  tuting the assault weapons ban in the US. In Australia, the impetus             sure. The evidence in support of a ban has grown tragically stron-
                  for banning semiautomatic weapons was a 1996 mass public shoot-                 ger since then.10


                  ARTICLE INFORMATION                                 3. Bump P. Tallying America’s fascination with         www.theviolenceproject.org/mass-shooter-
                  Conflict of Interest Disclosures: Dr Donohue        AR-15-style rifles. Accessed September 6, 2022.        database/
                  reported serving as an expert witness for various   https://www.washingtonpost.com/politics/2022/          8. Wikipedia. Mass shootings in the United States.
                  government entities on matters related to assault   05/26/tallying-americas-fascination-with-ar-15-        Accessed August 31, 2022. https://en.wikipedia.
                  weapons bans based on his research in this area.    style-rifles/                                          org/wiki/Mass_shootings_in_the_United_States
                                                                      4. Smart R, Morral AR, Smucker S, et al. The Science   9. Chapman S, Alpers P, Jones M. Association
                  REFERENCES                                          of Gun Policy. RAND; 2020.                             between gun law reforms and intentional firearm
                  1. Cook PJ, Goss KA. The Gun Debate: What           5. Duwe G. Patterns and prevalence of lethal mass      deaths in Australia, 1979-2013. JAMA. 2016;316(3):
                  Everyone Needs to Know. 2nd ed. Oxford University   violence. Criminol Public Policy. 2020;19(1):17-35.    291-299. doi:10.1001/jama.2016.8752
                  Press; 2020.                                        doi:10.1111/1745-9133.12478                            10. Sanger-Katz M, Bui Q. How to reduce mass
                  2. Koper CS. An updated assessment of the federal   6. Smart R, Schell TL. Mass shootings in the United    shooting deaths? experts rank gun laws. Published
                  assault weapons ban: impacts on gun markets and     States. Accessed September 6, 2022. https://           October 5, 2017. Accessed September 6, 2022.
                  gun violence, 1994-2003. Accessed September 6,      www.rand.org/research/gun-policy/analysis/             https://www.nytimes.com/interactive/2017/10/05/
                  2022. https://www.ojp.gov/pdffiles1/nij/grants/     essays/mass-shootings.html                             upshot/how-to-reduce-mass-shooting-deaths-
                  204431.pdf                                          7. Violence Project. Mass shooter database:            experts-say-these-gun-laws-could-help.html
                                                                      version 5.0. Accessed August 30, 2022. https://




         1192     JAMA September 27, 2022 Volume 328, Number 12 (Reprinted)                                                                                           jama.com

                                                              © 2022 American Medical Association. All rights reserved.                              Def. Exhibit 54
Downloaded From: https://jamanetwork.com/ by a Columbia University Libraries User on 09/27/2022
                                                                                                                                                      Page 001945
